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                                                                                                                                      CI    Check if this is an
                                                                                                                                            amended filing




Official      Form      101


The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called        a joint
case -and     in joint cases, these forms use you to ask for information  from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information       is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information       as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.




Gldentify           Yourself
                                    About    Debtor 1 :                                                   About    Debtor 2 (Spouse        Only in a Joint Case):

1.    Your full name

      Write the name that is on     Robert                                                                 Suzanne
      your government-issued        First name                                                             First name
      picture identification (for
      example, your driver's        Nathan                                                                 p
      license or passport).
                                    Middle name                                                            Middle name

      Bring your picture
                                    Reicher                                                                Carter-Reicher
      identification to your
      meeting with the trustee.     Last name and Suffix (Sr., Jr., II, Ill)                               Last name and Suffix (Sr., Jr., II, Ill)




2.    All other names you have
      used in the last 8 years      Robert    N Reicher                                                    Suzanne       Carter-Reicher
                                    Robert    Reicher                                                      Suzanne       Reicher
      Include your married or
      maiden names.




3,    Only the last 4 digits of
      your Social Security
      number or federal             xxx-xx-2469                                                            xxx-xx-3144
      Individual Taxpayer
      Identification number
      (ITIN)




Official Form 101                                 Voluntary   Petition   for Individuals   Filing for Bankruptcy                                                    page 1
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Debtor 1      Robert      Nathan   Reicher
Debtor 2      Suzanne       P Carter-Reicher                                                                                  CaSe num5er      (rfknown)




                                        About     Debtor      1:                                                      About    Debtor     2 (Spouse      Only   in a Joint   Case):


4.    Any business     names and
      Employer   Identification
      Numbers   (EIN) you have           CI I have not used any business            name or EiNs.                     ffl I have not used any business           name or EINs.

      used
         'nkhelas'8yea's AW                     The    Reicher       Company
      Include trade names and           Business      name(s)                                                         Business    name(s)
      dorng business as names

                                        EIN                                                                           EIN




5.    Where    you live                                                                                               If Debtor   2 lives    at a different     address:

                                        37300       Medjool        Avenue
                                        Palm Desert,    CA 92211
                                        Number, Street, City, State & ZIP Code                                        Number,     Street, City, State & ZIP Code

                                        Riverside
                                        County                                                                        County

                                        If your mailing address     is different from the one                         If Debtor 2's mailing address is different  from yours, fill it
                                        above, fill it in here. Note that the court will send any                     in here. Note that the court will send any notices to this
                                        notices to you at this mailing address.                                       mailing address.




                                         Number,      P.0.    Box, Street,   City, State & ZIP Code                   Number,     P.0.    Box, Street,     City, State & ZIP Code




6.    Why you are choosing               Check one:                                                                   Check one:
      this district to file for
      bankruptcy
                                         ffl     Overthelast180daysbeforefilingthispetition,                          H        Over the last 180 days before filing this petition,         I
                                                  have lived in this district      longer than in any                          have lived in this district      longer than in any other
                                                 other district.                                                               district.


                                         €       I have another reason.                                               €        I have another     reason.
                                                 Explain. (See 28 u.s.c.          § '1408.)                                    Explain.   (See 28 u.s.c. § 1408.)




Official   Form 101                                     Voluntary      Petition   for Individuals   Filing   for Bankruptcy                                                           page 2
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Debtor 4    Robert Nathan Reicher
DebOr 2     Suzanne  P Carter-Reicher                                                                               Case number    (ifknown)




C!Tell         theCourtAboutYourBankruptcy
                                        Case
7.    The chapter of the          Check one. (For a brief description of each, see Notice Requrred by 1l U.S.C. § 342(b) for IndMduals                    Filrng for Bankruptcy
      Bankruptcy Code you are     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

      choosing
           tofileunder ,               Chapter 7

                                  []    Chapter 11

                                  CI Chapter 12

                                  €     Chapter 13




8.    How you will pay the fee    §         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                            about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                            order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                            a pre-printed address.
                                  0         I need to pay the fee in installments.    If you choose this option, sign and attach the Application          for Indrviduals to Pay
                                            The Filing Fee in Installments (Official Form 1 03A).
                                  []        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                            but is not required to, waive your Fee, and may do so only iFyour income is less than 1 50'!"O or the official poverty line that
                                            applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                            the Applrcation to Have the Chapter 7 Filing Fee Waived (Official Form 1 03B) and file it with your petition.



9.    Have you filed for          ffl No.
      bankruptcy within the
      last 8 years?               € Yes.
                                                 District                                     When                                 Case number
                                                 District                                     When                                 Case number
                                                 District                                     When                                 Case number




10. Are any bankruptcy            ffl NO
      cases pending or being
      filed by a spouse who is    € Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                 Debtor                                                                           Relationship   to you
                                                 District                                      When                               Case number, if known
                                                 Debtor                                                                           Relationship   to you
                                                 District                                      When                               Case number, if known



11.   Do you rent your                            Go to line 12.
                                  N No.
      residence?
                                  € Yes.          Has your landlord obtained an eviction judgment against you?

                                                             No. Go to line 12.

                                                             Yes. Fill out Initral Statement About an Evictron Judgment Against You (Form 101 A) and file it as part of
                                                             this bankruptcy petition.




Official Fotm 101                                Voluntary     Petition   for Individuals   Filing for Bankruptcy                                                        page 3
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Debtor     1       Robert          Nathan               Reicher
Debtor2           Suzanne                P Carter-Reicher                                                                                                       CaSe number       (rfknown)




GReport                         AboutAnyBusinesses
                                                YouOwnasaSoleProprietor
12.    Are     you     a sole       proprietor
       of any full- or part-time                             ffi NO,         Go to Part 4.
       business?

                                                             €     Yes.      Name      and location         of business

       A sole proprietorship                   is a
       business         you operate                as                        Name      of business,         if any
       an individual,            and is not a
       separate         legal     entity       such
       as a corporation,
       partnership,             or LLC.
                                                                             Number,        Street,     City,    State   & ZIP Code
       If you have         more      than one
       sole proprietorship,                use a
       separate        sheet       and attach
       it to this petition.                                                  Check the appropriate box to descrrbe your                       business.'

                                                                             []          Health Care Business              (as defined      in 11 u.s.c.       § 101(27A))

                                                                             0           SingleAsset Real Estate (as defined in 11 u.s.c. § 101(51B))
                                                                             0           Stockbroker (as defined in 11 u.s.c.                     § 101(53A))
                                                                             0           Commodity Broker (as defined in 11 u.s.c.                         § 101(6))
                                                                             [1          None of the above

13.    Are     you     filing     under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosrng to
       Chapter         41 of the                             proceed under Subchapter V so that it can set appropriate deadlrnes. If you indicate that you are a small business debtor or
       Bankruptcy               Code,         and            you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
       are you        a small        business                cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 u.s.c.
       debtor        or a debtor              as             § 1116(1)(B).
       derined        by 1l       U.S.C.           §
      1182(1)?

                                                             H No.           I amnotfilingunderChapter11.
       For a definition            of small
       business         debtor,      see 11
       u.s.c.        § 101(51       D).
                                                             €     No.        am filing      under      Chapter      11, butl    am NOT a small         business       debtor   according     to the definition    in the Bankruptcy
                                                                             Code.


                                                             0     Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code,                                             and
                                                                             I do not choose            to proceed       under   Subchapter        V of Chapter     11.


                                                              []   Yes.      I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1)of the Bankruptcy Code,                                         andl
                                                                             choose      to proceed        under      Subchapter      V of Chapter      11.




C!!f!!lReportif YouOwnorHaveAnyHazardous
                                      Property
                                            orAnyProperty
                                                       ThatNeeds
                                                               Immediate
                                                                     Attention
t4. Do you own or haveany                                    H No.
       property         that      poses        or is
       alleged  to pose a threat                             €     Yes.
       of imminent   and                                                  What    is the hazard?
       identifiable             hazard        to
       public        health       or safety?
       Or do you          own       any
       property         that      needs                                   If immediate       attention      is
       immediate            attention?                                    needed,     why     is it needed?


       For example,              do you own
      perishable          goods,         or
       livestock       that must           be fed,                        Where     is the property?
       or a buHdrng             that needs
       urgent      repairs?
                                                                                                                         Number, Street, City. State & Zip Code




Official     Form 101                                                      Voluntary         Petition      for    Individuals      Filing   for   Bankruptcy                                                                 page   4
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Debtor 1      Robert    Nathan   Reicher
Debtor 2      Suzanne     P Carter-Reicher                                                                                 Cafe     number   0fknown)


mExplain               YourEfforts
                                 to Receive
                                         aBriefing
                                                 AboutCreditCounseling
                                      About        Debtor   1:                                                     About        Debtor   2 (Spouse   Only   in a Joint    Case):
15.   Tell the court whether           You must check one.'                                                        You must check one:
      you have received    a           ffl    I received a briefing from an approved credit                        H       I received a briefing from an approved credit
      briefing about credit                   counseling    agency within the 180 days before I                            counseling    agency within the 180 days before I filed
      counseling.                             filed this bankruptcy    petition, and I received a                          this bankruptcy    petition, and I received a certificate of
                                              certificate of completion.                                                   completion.
      The law requires that you
      receive a briefing about                Attach a copy of the certificate and the payment                             Attach a copy of the certificate and the payment            plan, if
      credit counseling before                plan, if any, that you developed with the agency.                            any, that you developed with the agency.
      you file for bankruptcy.
      You must truthfully check        [I     I received    a briefing from an approved       credit               0       I received  a briefing from an approved      credit
      one of the following                    counseling      agency within the 4 80 days before I                         counseling     agency within the 180 days before I filed
      choices. If you cannot do               filed this bankruptcy       petition, but I do not have                      this bankruptcy     petition, but I do not have a certificate
      so, you are not eligible to             a certificate    of completion.                                              of completion.
      file.
                                              Within 14 days afker you file this bankruptcy                                Within 14 days affer you file this bankruptcy petition, you
      If you file anyway, the court           petition, you MUST file a copy of the certificate         and                MUST file a copy of the certificate and payment plan, if
      can diSmiss your case, you              payment plan, if any.                                                        any.
      will lose whatever filing fee
      you paid, and your               []     I certify that I asked for credit counseling                         []      I certify that I asked for credit counseling    services
      creditors can begin                     services   from an approved     agency, but was                              from an approved       agency, but was unable to obtain
      collection activities again.            unable to obtain those services      during the 7                            those services     during the 7 days after I made my
                                              days after I made my request, and exigent                                    request, and exigent circumstances        merit a 30-day
                                              circumstances      merit a 30-day temporary   waiver                         temporary     waiver of the requirement.
                                              of the requirement.
                                                                                                                           To ask for a 30-day temporary waiver of the requirement,
                                              To ask for a 30-day temporary waiver of the                                  attach a separate sheet explaining what efforts you made
                                              requirement,  attach a separate sheet explaining                             to obtain the briefing, why you were unable to obtain it
                                              what efforts you made to obtain the briefing, why                            before you filed for bankruptcy, and what exigent
                                              you were unable to obtain it before you filed for                            circumstances    required you to file this case.
                                              bankruptcy, and what exigent circumstances
                                              required you to file this case.                                              Your case may be dismissed if the court is dissatisfied
                                                                                                                           with your reasons for not receiving a briefing before you
                                              Your case may be dismissed if the court is                                   filed for bankruptcy.
                                              dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                                    If the court is satisfied with your reasons, you must still
                                              If the court is satisfied with your reasons, you must                        receive a briefing within 30 days after you file. You must
                                              still receive a briefing within 30 days after you file.                      file a certificate from the approved agency, along with a
                                              You must file a certificate from the approved                                copy of the payment plan you developed, if any. If you do
                                              agency, along with a copy of the payment plan you                            not do so, your case may be dismissed.
                                              developed, if any. If you do not do so, your case
                                                                                                                           Any extension of the 30-day deadline is granted             only for
                                              may be dismissed.
                                                                                                                           cause and is limited to a maximum of 15 days.
                                              Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15
                                              days.
                                       [3     I am not required     to receive a briefing       about               0      I am not required  to receive        a briefing    about   credit
                                              credit counseling      because of:                                           counseling   because of:

                                              []       Incapacity.                                                         [1      Incapacity.
                                                         have a mental illness or a mental deficiency                              I have a mental illness or a mental deficiency that
                                                       that makes me incapable of realizing or                                     makes me incapable of realizing or making rational
                                                       making rational decisions about finances.                                   decisions about Finances.


                                              0        Disability.                                                         0       Disability.
                                                       My physical disability causes me to be                                      My physical disability causes me to be unable to
                                                       unable to participate in a briefing in person,                              participate in a briefing in person, by phone, or
                                                       by phone, or through the internet, even afker I                             through the internet, even after I reasonably tried to
                                                       reasonably tried to do so.                                                  do so.


                                              [1       Active duty.                                                        []      Active duty.
                                                       I am currently on active military    duty in a                               am currently on active     military   duty in a military
                                                       military combat zone.                                                       combat zone.

                                              If you believe you are not required to receive a                             If you believe you are not required to receive a briefing
                                              briefing about credit counseling, you must file a                            about credit counseling, you must file a motion for waiver
                                              motion for waiver credit counseling with the court.                          of credit counseling with the court.




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Debtor 1       Robert      Nathan            Reicher
Debtor 2       Suzanne         P Carter-Reicher                                                                                                    Cage number          fifknown)


mAnswer                   TheseQuestions
                                       for Reporting
                                                   Purposes
1 €i.   What kind      of debts    do                           Are your        debts primarily   consumer     debts? Consumer debts are defined                             in 1l    LI.S.C. § 101(8)      as 'incurred         by an
        you have?                                               individual      primarily for a personal, family, or household purpose."

                                                                [:] No. Go to line 16b.

                                                                ffl Yes. Go to line 4 7.
                                                  16b.          Are your debts primarily   business                  debts? Business debts are debts that you incurred to obtain
                                                                money for a business or investment                  or through the operation of the business or investment.

                                                                €    No. Go to line 16c.

                                                                [:] Yes. Go to line 17.
                                                  1 6C.         State the type of debts you owe that are not consumer                         debts or business         debts




17.     Are you filing     under                  [1 H(,        I am not filing under Chapter             7. Go to line 18.
        Chapter 7?


        Do you estimate that                      B Ye,         I am filing under Chapter 7. Do you estimatethat afkerany exemptpropertyis excludedand administrativeexpenses
        affer any exempt                                        are paid that funds will be available               to distribute     to unsecured       creditors?
        property  is excluded           and
        administrativeexpenses                                   @ No
        are paid that funds        will
        be available      for                                   [1 Yes
        distribution     to unsecured
        creditors?


18.     How many Creditors    do                                                                                    €     1,000-5,000                                           Cl ;is,ooi-so,ooo
                                                  ffl i -o
        you estimate that you
                                                  []   50-99                                                        €     5001-10,000                                           0     so,ooi-ioo,ooo
        owe?
                                                  [] 10os99                                                         €     10,001-25,000                                         €     MorethanlOO,OOCI

                                                  [] 200-999

19.     How much do you                           0 so - s=io,ooo                                                   Cl $1,000,001         - $10 million                         €     $500,000,00'l      -$'l     billion
        esttmate  your assets           to
                                                  [1 @so,ooi- $IO0,000                                              Cl $10,000,OO'l        - $50   million                      €     61,000,000,001        - $IO billion
        be worth?
                                                  N sioo,oo-i - $500iOOO                                            € $50,000,001          - $100 million                       0     $10,000,000,001           - $50 billion

                                                  [] $500,001 - $1 million                                          € $100,000,001           -$500million                       []    More than $50 billion


20.     How much do you                           € so - $50,000                                                                                                                €     $500,000,001       -$1      billion
                                                                                                                    B $1,000,001          - $10 million
        estimate your liabilities
                                                  Cl $50,001 - $100,00 €)                                           0 $10,000,001          - $50   million                      €     $1,CX)0,000,001           - $10 billion
        to be?
                                                  € si 00,001 - $500,000                                            []    $50,000,001      - $1 00 million                      €     $* 0,000,000,QC)I          - $50 billion
                                                  €    $500,001      - $1 million                                   Cl $100,000,001          - $500 million                     [:l    More than $50 billion



             Sign      Below

For you                                           I have examined         this petition,       and I declare      under penalty       of perjury   that the information          provided     is true and correct.

                                                  If I have chosen to file under Chapter 7, I am aware thatl may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 14,
                                                  Llnited States Code. I understand   the relief available under each chapter, and I choose to proceed under Chapter 7.

                                                  If no atforney      represents      me and I did not pay or agree to pay someone                        who is not an attorney           to help me fill out this
                                                  document,       I have obtained        and read      the notice required by 11 u.s.c. 9 342(b).

                                                  I request     relief in accordance           with the chapter     of title 11, United States           Code,   specified      in this petition.

                                                  I understan                       false statement,                     ing property,    or obtaining      money     or property       by fraud in connection              with a

                                                  bankrupt.cyldn resultin                            up(o$250,CDp,
                                                                                                               ori                                     ;,yp                                                             .3i4


                                                  SRlognbaetrtureNoaftDheabntoRre1icher                                           '         SSulgznaffitl7opfDCeabrtoterr2-Reicher                                  '
                                                  Executedon                    SEP 2 9 2021                                                Executed      on                          SEP 2 9 2021
                                                                        MM / DD / YYYY                                                                           MM / DD / YYYY




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Debtor 4            Robert Nathan Reicher
De5fOr 2            Suzanne P Carter-Reicher                                                                                                    CaSe num5er   (rfknown)




For your          attorney,     if you    are     , the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented            by one                    under Chapter 7, 11,      , or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                                 for which the             eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 u.s.c. § 342(b)
If you     are not      represented         by   and, in a case in            707(b)(4%D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney,          you     do not     need    schedules    filed '       petition is incorrect.
to file    this     page.
                                                                                                                                                              SEP 2 9 2021
                                                                                                                                         Date
                                                                                       Debtor                                                         MM / DD / YYYY

                                                 Jenny       L.         ing,        . 207033
                                                 Printed   name

                                                 J. DOLING             LAW     PC
                                                 Firm name

                                                 36-915 Cook Street, Suite 101
                                                 Palm Desert, CA 92211
                                                 Number, Street, City, State & ZIP Code

                                                 Contact phone         (760)884-4444                                               Email address        jd@JDL.law
                                                 207033           CA
                                                 Bar number & State




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                                                       STATEMENT  OF RELATED CASES
                                                   INFORMATION   REQUIRED BY LBR 1015-2
               UNITED          STATES             BANKRUPTCY    COURT, CENTRAL DISTRICT                                                 OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or fomier domestic partner, an affiliate of the debtor, any
        copartnership      or joint venture         of which      debtor     is or formerly            was a general         or limited         partner,       or member,       or any
        corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
        and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
        assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
Debtor filed a Chapter 13 Bankruptcy on or about 1980, in the Central District of California,Santa                                              Ana Division.         Case   number
unknown, case was discharged.

2.      (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
        Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
        debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
        debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
        complete number and title of each such prior proceeding, date tiled, nature oT the proceeding, the Bankruptcy Judge
        and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
        any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
 None



3.      (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
        previously been filed by or against the debtor, or any of its affiliates or subsidiaries,   a director of the debtor, an officer
        of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
        of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
        or corporations    owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
        such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
        still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
        A/B that was filed with any such prior proceeding(s).)
None


4.      (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
        been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
        proceeding,     date filed, nature of proceeding,    the Bankruptcy  Judge and court to whom assigned, whether still
        pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
        that was filed with any such prior proceeding(s).)
None



I declare,     under penalty of perjury, that the foregoing                   is true and correct.

Executed       at   Palm      Desert                                       , Califomia.
                                                                                                                Robert    Nathan      Reicher

Date:                          SEP 2 9 2(121                                                                    Signalu,re of Debtor I



                                                                                                                Suzariny'P      Carter-Reicher
                                                                                                                Signature       ofDebtor 2




                        This form is mandatory.   It has been appmved   for use in the United States    Bankniptg   Court for the Central   Distrii   of Califomia.

October 2018                                                                     rsg-z                   F 1015-2.1.STMT.RELATED.CASES
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                                                                                                                                                                                   []    Check    if this is an
                                                                                                                                                                                         amended         filing




Official                  Form         1 06Sum
Summary                         of Your        Assets            and       Liabilities             and         Certain     Statistical               Information                                 12/15
Be as complete     and accurate   as possible.   If two married people are filing together,   both are equally responsible   for supplying                                                          correct
information.  Fill out all of your schedules   first; then complete   the information   on this form. If you are filing amended   schedules                                                          affer you file
your original  forms, you must fill out a new Summary         and check the box at the top of this page.


5Summarize                             Your Assets

                                                                                                                                                                                        Your assets
                                                                                                                                                                                        Value of what you own

1.          Schedule   A/B: Property   (Official Form 1 06A/B)
            1a. Copy line 55, Total real estate, from Schedule                       A/B.                                                                                                                   288,100.00


            1 b. Copy line 62, Total personal                 property,   from Schedule       A/B.                                                                                                                50,639.00

            1 c. Copy line 63, Total of all property               on Schedule       A/B.                                                                                                                    338,739.00

§Summarize                             Your     Liabilities

                                                                                                                                                                                        Your liabilities
                                                                                                                                                                                        Amount you owe

2.          Schedule D: Credrtors Who Have Clarms Secured                            by Property (Official Form 1 06D)
            2a. Copy the total you listed in Column A, Amount                        of claim, at the bottom of the last page of Part 1 of Schedule                         D...                            193,964.00


 3.         Schedule            E/F: Creditors Who Have Unsecured Claims (Official Form 1 06E/F)
            3a. Copy            the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule                            E/F..                                                                       0.00


            3b. Copy the total claims from Part 2 (nonpriorityunsecuredclaims)from line 6j of ScheduleE/F............................                                                    $               1,01 9,431,00


                                                                                                                                                     Your   total   liabilities



§Summarize                              Your    Income        and Expenses

 4.         Schedule /.' Your Income (Official Form 1061)
            Copy your combined monthly income from line 12 of Schedule                                   /..                                                                                                             0.00


 5.         Schedule J.' Your Expenses (Official Form 1 06J)
            Copy your monthly expenses from line 22c of Schedule                             J..                                                                                                                   4,394.00


JAnswer                            These Questions for Administrative and Statistical Records
 6.         AreyoufilingforbankruptcyunderChapters7,11,orl3?
            0        No.Youhavenothingtoreportonthispartoftheform.Checkthisboxandsubmitthisformtothecourtwithyourotherschedules.


            N        Yes
 7.         What         kind    of debt    do you have?


            H        Your debts are primarily consumer debts. Consumerdebts are those"incurred by an individualprimarilyfor a personal,family, or
                     householdpurpose."11 U.S.C. F3101(8). Fill out lines 8-9g for statisticalpurposes.28 u.s.c. § 159.

            [1       Your debts are not primarily    consumer                   debts.      You have nothing          to report on this part of the form. Check this box and submit this form to
                     the court with your other schedules.
 Official         Form      1 06Sum              Summary         of Your    ASsets     and Liabilities           and Certain   Statistical      Information                                       page      1 of 2

Soffwate        Copyright   (c) 1996-2021   Best Case, LLC - www.beslcase    com                                                                                                                  Best Case Bankruptcy
                  Case 6:21-bk-15157-MH                                           Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                            Desc
                                                                                  Main Document   Page 10 of 73
  De5tOr 1             Robert      Nathan         Reicher
  Debtor2              Suzanne           P Carter-Reicher                                                                   Case number      (if known)


 8.        From the Statement     of Your Current Monthly /ncome: Copy your total current                                     monthly   income from Official    Form
           1 22A-1 Line 1l ; OR, Form 1 22B Line 41 ; OR, Form 1 22C-1 Line 14.



 9.        Copy    the following            special      categories       of claims        from   Part 4, line 6 of Schedule     E/F:


                                                                                                                                           Total   claim
           From Part 4 on Schedule     E/F, copy the following:
           9a. Domestic support obligations (Copy line 6a.)                                                                                 $                        0.00

           9b. Taxes and certain other debts you owe the government.                                  (Copy line 6b.)                       $                        0.00

           9c. Claims       for death or personal            injury while you were intoxicated.             (Copy line 6c.)                 $                        0.00

           9d. Student          loans. (Copy line 6f.)                                                                                      $              35,783.00

           9e. Obligations arising out of a separation                         agreement     or divorce   that you did not report as
               priority claims. (Copy line 6g.

           9f. Debts to pension             or profit-sharing       plans, and other similar debts.            (Copy line 6h.)                                       0.00



           9g. Total.      Add lines 9a through             9f.




Official    Form 4 06Sum                                          Summary         of Your    Assets     and Liabilities   and Certain    Statistical   Information                 page 2 of 2
Software    Copynght     (c) 1996-2021     Best Case.   LLC - www   beslcase     com                                                                                        Best Case   Bankruptcy
                      Case 6:21-bk-15157-MH                                                Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                                                                           Desc
                                                                                           Main Document   Page 11 of 73




                                                                                                                                                                                                                                   CI          Check        iT this is an
                                                                                                                                                                                                                                               amended          filing




Official                 Form              106A/B
ScheduleA/B:Pro                                                             perty                                                                                                                                                          12/15

In each category, separately   list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible    for supplying   correct
information.   If more space is needed, attach a separate sheet to this form. On the top of any additional   pages, write your name and case number (if known)
Answer every question.


E2!f!lDescribe
            EachResidence,
                        Building,Land,or OtherRealEstateYouOwnor HaveanInterestln
L     DO you own or have any legal or equitable                               interest    in any residence,            building,       land, or similar      property?


      CI NO. GO to Part 2.
      N Yes.         Where is the property?




1.1                                                                                                 What is the property'.               Check all that apply
           37300         Medjool            Avenue                                                     §       Single-family          home                                             Do not deduct secured claims or exemptions. Put
           Street    address,    if available.   or other     description                                                                                                              the amount of any secured claims on Schedule D:
                                                                                                       7       Duplex
                                                                                                                    ormulti-unit
                                                                                                                             building                                                  Credr[ors Who Have Clarms Secured by Property.
                                                                                                       €       Condominium             or cooperative


                                                                                                       []      Manufactured           or mobile home
                                                                                                                                                                                        Current value of the                             Current      value of the
           Palm        Desert                         CA              92211-0000                       []      Land                                                                     entire property?                                 portion      you own?
           City                                       Staie                  ZIP Code                  €       Investment        property                                                           $430,000.00                                       $288,100.00
                                                                                                       [I      Timeshare
                                                                                                                                                                                        Describe the nature of your ownership    interest
                                                                                                       €       Other                                                                    (such as fee simple, tenancy by the entireties,   or
                                                                                                    Who has an interest                in the property?           Check one             a life estate), if known.

                                                                                                       € Debtor 1 only                                                                  Joint       tenant

           Riverside             County                                                                Cl Debtor 2 only
           County
                                                                                                       € Debtor 1 and Debtor2 only
                                                                                                                                                                                        §       Check if this is community                          property
                                                                                                       N At least one of the debtors and another                                                (see    instructions)

                                                                                                    Other information                you wish to add about this item, such as local
                                                                                                    property      identification          number:

                                                                                                    Debtors            residence:              3 bedroom/              2 bath,         1,664        square              feet,    built      1998.
                                                                                                    Purchased                 on 11716/2018.                Debtors            used         funds         received              from       the       sale      of
                                                                                                    their      prior      California             residence             to   purchase             this       house           with       their         mother
                                                                                                    as Joint           Tenants.


                                                                                                    Pursuant             to    the     published            data       from      the     California               Association                   of
                                                                                                    Realtors,            the     median           price     for       a SFR      in the         calendar                year     prior         to    2021      for
                                                                                                    Riverside            County              is $456,000.             The     average           is $457,474.
                                                                                                    https://www.car.org/en/marketdata/data/countysalesactivity




 2.     Add         the dollar         value     of the        portion       you   own      for    all of your         entries        from     Part 1, including              any entries           for
        pages         you       have     attached           for Part 1. Write            that     number       here...............                           ......                                        =>




WDescribe                        YourVehicles


Official      Form 106A/B                                                                                   Schedule           A/B:    Property                                                                                                                      page   1
Software Copyighf (c) 1996-2021 Best Case, LLC - www bestcase.com                                                                                                                                                                                     Best Case Bankruptcy
                      Case 6:21-bk-15157-MH                                               Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                                              Desc
                                                                                          Main Document   Page 12 of 73
 Debtor         1           Robert         Nathan           Reicher
 De5iOr         2           Suzanne           P Carter-Reicher                                                                                                 Case    number        (rrhnown)


Do you own, lease, or have legal or equitable      interest  in any vehicles,   whether                                                       they are registered   or not? Include              any vehicles        you own         that
someone  else drives. If you lease a vehicle, also report it on Schedule    G: Executory                                                      Contracts  and Unexpired   Leases.


3. Cars,            vans,     trucks,       tractors,         sport     utility   vehicles,       motorcycles


     [:I No

     8     Yes



     3.1      Make:              Mercedes                                                 Who has an interest              in the property?       Check one              Do not deduct secured claims or exemptions. Put
                                                                                                                                                                         the amount of any secured claims on Schedule D:
              Model:             ML350                                                    €      Debtor 1 only                                                           Creditors Who Have Claims Secured by Property.
              Year:              204 1                                                    €      Debtor 2 only
                                                                                                                                                                         Current value of the                   Current value of the
              Approximate            mileage:                          86,000             ffl Debtor 1 and Debtor 2 only                                                 entire property?                       portion you own?
              Other information:                                                          Cl At least one of the debtors and another


                                                                                          N Check         if this is community         property                                         $7,000.00                               $7,000.00
                                                                                                 (see instructions)




4. Watercraft,                aircraft,      motor          homes,      ATVs      and    other      recreational           vehicles,    other     vehicles,    and    accessories
     Examples.'             Boats,      trailers,    motors,      personal        watercraft,       fishing     vessels,      snowmobiles,        motorcycle     accessories


     €     No

     fflyes


     4.1      Make:              (,1l,15 (,;y        DS                                   Who has an interest              in the property ? Check one
                                                                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                                                                                                                         the amount of any secured claims on Schedule D:
              Model:            (Golf        Cart)                                        €      Debtor 1 only                                                           CredRors Who Have Clarms Secured by Property.
              Year:             1994                                                      €      Debtor 2 only
                                                                                                                                                                          Current value of the                  Current    value of the
                                                                                          N Debtor 1 and Debtor 2 only                                                    entire property?                      portion    you own?
              Other information:                                                          Cl At least one of the debtors and another
                                                                                          N Check         if this is community         propeny                                            $500.00                                  $500.00
                                                                                                 (see instnictions)




 5     Add the dollar value of the portion                                you own for all of your entries       from                   Part   2, including     any entries         for
      .pages you have attached    for Part                              2. Write that number   here...   .........                                                             ...........=>



gj)%!lDescribe
            YourPersonal
                      andHousehold
                                Items
 Do you          own        or have        any      legal    or equitable         interest       in any       of the following         items?                                                             Current         value     of the
                                                                                                                                                                                                          portion         you     own?
                                                                                                                                                                                                          Do not deduct            secured
                                                                                                                                                                                                          claims     or exemptions.
6. Household                 goods   and furnishings
    Examples:                Major appliances,   furniture,                  linens,    china,     kitchenware
      CI No
      ffl Yes.         Describe.....




                                                              goods
                                                                  andfurnishings
                                                        H$7o2u5seFhMovld   (no
                                                                             single
                                                                                 item
                                                                                    worth
                                                                                      morethan                                                                                                                                    $4,000.00


7. Electronics
         Examples:           Televisions and radios: audio, video, stereo, and digital equipment;                                          computers, printers, scanners:               music    collections;      electronic       devices
                             including        cell phones,            cameras,     media        players,      games
      CI No
      ffl Yes.         Describe.....




                                                                              tablet,
                                                                        tpcrhinter, (2)iPhone
                                                                                          XR,
                                                                                            digital
                                                        4caTmeleervai,sAionsl,edsemskat,oWpa,                                                                                                                                     $1,000.00



Official      Form      106A/B                                                                         Schedule        A/B:     Property                                                                                                    page   2
Software Copyright (c) S996-2021 Best Case, LLC - www beslcase com                                                                                                                                                         Best Case Bankruptcy
                   Case 6:21-bk-15157-MH                                        Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                             Desc
                                                                                Main Document   Page 13 of 73
 Debtor 1              Robert          Nathan     Reicher
 Debtor 2              Suzanne           P Carter-Reicher                                                                                    Case number          (rfknown)

8. Collectibles           of value
    Examples.'           Antiques and figurines; paintings, prints, or other artwork                       books, pictures,      or other art objects;       stamp, coin, or baseball    card collections;
                         other collections, memorabilia,  collectibles
      ffl No
      € Yes.        Describe.....

9. Equipment              for sports       and hobbies
      Examples:          Sports, photographic,             exercise,   and other hobby equipment                bicycles,    pool tables, golf clubs, skis: canoes and kayaks;           carpentry   tools;
                         musical instruments
      €    NO

      ffl Yes.      Describe.....


                                                (2) golf     clubs     sets,      bicycle                                                                                                            $225.00


10.    Firearms
        Examples.'         Pistols,      rifles, shotguns,     ammunition,           and related   equipment
      Th No
      [] Yes.       Describe.....

3<. Clothes
     Examples:             Everyday        clothes,   furs, leather      coats, designer       wear, shoes,      accessories
      €    No

      Th Yes.       Describe.....


                                                Wearing        apparel                                                                                                                               $700.00



12.    Jewelry
        Examples:          Everyday        jewelry,   costume     jewelry,      engagement         rings, wedding     rings, heirloom      jewelry,    watches,     gems, gold, silver
      CI No

      Th Yes.       Describe.....


                                                iMiscellaneous           jewelry                                                                                                                     $500.00



13.    Non-farm  animals
       Examples: Dogs, cats, birds, horses
      m No
      € Yes.        Describe.....

14. Any other             personal        and household          items    you did not already           list, including      any health      aids you did not list
      H No
      [:] Yes.      Give specificinformation.....



15.        Add the dollar value of all of your entries                       from      Part 3, including       any entries     for pages     you have attached
           for Part 3. Write that number here




WDescribe                     YourFinancial
                                         Assets
 Do you own             or have any legal or equitable                 interest        in any of the following?                                                                   Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

16.    Cash
        Examples:          Money you have in your wallet,                in your home, in a safe deposit             box, and on hand when you file your petition
      €    NO

      ffl yes,,,,,,,,,,,,,,,,,,,,,,,

                                                                                                                                                      Cash                                           $100.00




Official    Form 1 06A/B                                                                    Schedule    A/B: Property                                                                                    page 3
Software    Copyighl     (c) 1996-2021     Best Case, LLC - www bestcase       com                                                                                                          Best Case Bankruptcy
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  Debtor 1                 Robert         Nathan      Reicher
  Debtor 2                Suzanne            P Carter-Reicher                                                                                       Case number          (ifknown)


17.         Deposits        of money
            Examples.' Checking, savings, or other financial accounts certificates of deposit; shares in credit unions, brokerage                                                       houses,     and other similar
                                institutions.      If you have multiple         accounts        with the same institution,       list each.
       € NO
       NYeSiiiiiiiiiiiiiiiiiiiiiiii                                                                    Institutionname:


                                                     17.1.        Checkingaccount                      Bank      of America         - 91 1 3                                                                      $1,907.00


                                                                  Business         checking
                                                     17.2.        account                              UnionBank-8155                                                                                                $109.00


                                                                  Joint       Checking
                                                     17.3.        account                              Union        Bank   - 9500                                                                                $20,519.00


                                                                  Prepaid        separate
                                                     17.4.        account                              Bank     of America          EDD    Debit     Card      - 1112                                                  $22.00


18.        Bonds,        mutual       funds,      or publicly      traded      stocks
            Examples.'         Bond funds,         investment       accounts      with brokerage        firms, money       market accounts
       N No
       [I     Yes..................                              nstitution     or issuer name:


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses,                                                             including        an interest       in an LLC, partnership,             and
            joint    venture
       @ No
       € Yes. Give specificinformation                          about them...................
                                                         Name of entity:                                                                             'Vo of ownership:

20. Government                     and corporate         bonds       and other       negotiable       and non-negotiable            instruments
        Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       N No
      € Yes. Give specific information                         about them
                                                        Issuer name:


21.        Retirement          or pension          accounts
       Examples.' Interests in IRA, ERISA, Keogh, 4(] (k), 403(b), thrift savings accounts,                                             or other pension       or profit-sharing         plans
      N No
      € Yes. List each account separately.
                                                     Type of account:                                 Institution     name:

22. Security              deposits          and prepayments
            Your share of all unused                deposits      you have made so that you may continue                      service    or use from a company
         Examples.'Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications                                                    companies,            or others
      ffl No
      €       Yes......................                                                               Institution     name or individual:


23. Annuities                (A contract        for a periodic      payment      of money        to you, either for life or for a number           of years)
      ffl No
      [1 yB5,,,,.......                         Issuer name and description.


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 u.s.c. §§ 530(b%1), 529A(b), and 529(b)(1).
    N No
   € Yes.............      nstitution name and description. Separately file the records of any interests. l1 u.s.c. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1 ), and rights                                                       or powers            exercisable      for your    benefit
   ffi No
      [] Yes. Give specific information                        about them...


Official       Form      1 06A/B                                                                 Schedule      A/B: Property                                                                                                page    4
Software Copyright          (c) 1996-2021    Best Case, LLC - www besfcase.com                                                                                                                               Best Case Bankruptcy
                  Case 6:21-bk-15157-MH                                          Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                                    Desc
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  Debtor 1             Robert       Nathan            Reicher
  Debtor 2           Suzanne             P Carter-Reicher                                                                                          Case number        (rfknown)

26.        Patents, copyrights, trademarks, trade secrets, and other intellectual property
           Examples: Internet domain names, websites, proceeds from royalties and licensing                                            agreements
      N No
      € Yes.       Give specific          information        about them...

27. Licenses,   franchises, and other general intangibles
     Examples.' Building permits, exclusive licenses, cooperative                                    association       holdings,     liquorlicenses,     professional      licenses
      N No
      € Yes.       Give specificinformation                    about them...

 Money         or property       owed        to you?                                                                                                                                       Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

28. Tax refunds             owed        to you
      N No
      € Yes. Give specific               information         about them, including         whether       you already        filed the returns and the tax years.......



29. Family         support
           Examples:      Past due or lump sum alimony,                      spousal    support,    child support,          maintenance,     divorce    settlement,      property     settlement
      N No
      € Yes. Give specific               information......



30. Other        amounts         someone              owes     you
           Examples.'     Unpaid wages, disability insurance payments,                        disability        benefits,     sick pay, vacation       pay, workers'      compensation,       Social Security
                          benefits: unpaid loans you made to someone                          else
      N No
      CI Yes.      Give specific          information..

31. Interests           in insurance          policies
           Examples:      Health,       disability,     or life insurance;       health savings       account      (HSA);      credit, homeowner's,        or renter's    insurance
      [1 No

      N Yes. Name the insurance                       company        of each policy and list its value.
                                                        Companyname:                                                                   Beneficiary:                                          Surrender   or refund
                                                                                                                                                                                             value:


                                                       Whole         life   insurance      policy        with    State
                                                        Farm                                                                           Spouse                                                            $13,290.00


                                                       Whole         life   insurance      policy        with    State
                                                        Farm                                                                           Spouse                                                                $441.00


                                                       Whole         life   insurance      policy        wtth    New
                                                        York      Life                                                                 Spouse                                                                $326.00


32. Any interest            in property          that is due you from             someone          who    has died
           If you are the beneficiary            of a living trust, expect proceeds                from a life insurance           policy, or are currently    entitled    to receive     properky because
           someone has died.
      ffl No
      [] Yes.      Give specific          information..



33. Claims against third                   parties, whether   or not you have filed a lawsuit or made                                a demand      for payment
     Examples.' Accidents,                  employment   disputes. insurance claims, or rights to sue
      ffi No
      [] Yes.      Describe       each claim.........




Official     Form 106A/B                                                                    Schedule        A/B: Property                                                                                        page       5

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 Debtor 1               Robert        Nathan          Reicher
 Debtor 2               Suzanne             P Carter-Reicher                                                                                     Case number (rf known)

34. Other contingent                   and unliquidated              claims of every nature, including                  counterclaims       of the debtor   and rights to set off claims
      N No
      € Yes. Describe each claim.........

35. Any financial                assets you did not already                  list
      CI No
      € Yes. Give specific information..


                                                                       FOR DISCLOSURE                      PURPOSES             ONLY

                                                                      100% of Debtor's  present   and future interest  in and right to
                                                                      receive Social Security   Benefits,   (See 42 u.s.c. § 407(a).
                                                                      The right of any person   to any future payment    under this
                                                                       subchapter     shall not be transferable      or assignable,    at law or
                                                                       in equity,  and none of the moneys         paid or payable    or rights
                                                                       existing   under this subchapter      shall be subject     to execution,
                                                                       levy, attachment,     garnishment,    or other legal process,       or to
                                                                       the operation     of any bankruptcy     or insolvency     law. See 42
                                                                       u.s.c. § 407(a).). The exact amount to be received is
                                                                       unknown,    but could be calculated   by multiplying     Debtor's
                                                                       current  annual  benefits by Debtor's   life expectency,    if
                                                                                                                                                                                                      $0.00




 36.        Add the dollar value of all of your entries from Part 4, including                                      any entries for pages you have attached
            for Part 4. Write that number here...



WDescribe                       AnyBusiness-Related
                                               Property
                                                     YouOwnorHave
                                                                anInterest
                                                                        In.Listanyrealestate
                                                                                           inPart1.
37.       Do you      own   or have    any    legal   or equitable     interest     in any   business-related       property?

      ffl No. Go to Part 6.
      €    Yes.    Go to line 38.




                              Property
tlfeysOcur0ibwenAOnryhaFvaeraqan- You
                                    OwnorHave
                                           anInterest
                                                 In.
              alnntderCesoti;nlnmfaerrmcilaalnFd:srlhs:n,gll-nRPealanteld
46. Do you own or have any legal or equitable                                     interest    in any farm- or commercial               fishing-related   property?
           @ No. Go to Part 7.
           €   Yes.     Go to line 47.




mDescribe                             AllProperty
                                               YouOwnorHave
                                                          anInterest
                                                                  inThatYouDidNotListAbove
53. Do you have other property of any kind you did not already                                              list?
     Examples: Season tickets, country club membership
      ffl No
      CI Yes. Give specific information.........

 54.        Add the dollar value of all of your entries from Part 7. Write that number                                          here




Official       Form 106A/B                                                                     Schedule A/B: Property                                                                                  page 6
SoTlware Copynghl           (c) 1996-2021    Best Case, LLC - www.bestcase.com                                                                                                             Best Case Bankruptcy
                   Case 6:21-bk-15157-MH                                                 Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                        Desc
                                                                                         Main Document   Page 17 of 73
 Debtor       1       Robert          Nathan        Reicher
 Debtor       2       Suzanne           P Carter-Reicher                                                                                           Case   number   (ifknown)


gList                    the Totals        of Each Part of this Form


 55.       Part 1 : Total      real    estate,      line     2                                                                                                                 $288,100.00
 56.       Part    2: Total    vehicles,         line   5                                                                            $7,500.00
 57.       Part    3: Total    personal          and    household              items,         line     j5                            $6,425.00
 58.       Part    4: Total    financial         assets,         line   36                                                          $36,714.00
 59.       Part    5: Total    business-related                   property,       line    45                                             $0.00
 60.       Part    6: Total    farm-       and    fishing-related              property,              line     52                        $0.00
 61.       Part    7: Total    other       property         not     listed,line          54                                               $0.00

 62.       Total    personal      property.           Add    lines       56 through           61...                                 $50,639,00    Copy personalpropertytotal      $50,639.00

 63.       Total    of all property          on Schedule                A/B.   Add line 55 + line 62




Official     Form 106A/B                                                                                     Schedule   A/B:   Property                                                   page   7
SoTtwareCopyright (c) 1096-2021 Best Case. LLC - www bestcase com                                                                                                              Best Case Bankruptcy
                Case 6:21-bk-15157-MH                                      Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                      Desc
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                                                                                                                                                               €      Check if this is an
                                                                                                                                                                     amended     filing


Official          Form 1 06C
Schedule                        C: The                 Property                  You       Claim             as      Exempt                                                                        4/19


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule NB.' Property (Official Form 1 06A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2.' Addrtional Page as necessary. On the top of any additional pages. write your name and
case number (if known).

For each item of property        you claim as exempt, you must specify the amount of the exemption           you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively,         you may claim the full fair market value of the property      being exempted  up to the amount     of
any applicable    statutory    limit. Some exemptions-such        as those for health aids, rights to receive certain benefits,  and tax-exempt   retirement
funds-may      be unlimited      in dollar amount. However,   if you claim an exemption     of I 00% of fair market value under a law that limits the
exemption    to a particular     dollar amount and the value of the property    is determined     to exceed that amount, your exemption     would be limited
to the applicable    statutory     amount.

jldentify                     the Property           You Claim       as Exempt

 1.   Which      set of exemptions              are you claiming?          Check one only, even if your spouse          is filing with you.

       ffl You are claiming           state and federal nonbankruptcy exemptions. 11 u.s.c. § 522(b%3)
      €     You are claiming          federal    exemptions.         11 u.s.c.   § 522(b)(2)

 2.   For any property            you list on Schedule               NB   that you claim   as exempt,       fill in the information     below.

      Brief description of the property and line on                        Current value of the    Amount of the exemption            you claim       Specific laws that allow exemption
      Scheduie NB that lists this property                                 portion you own
                                                                           Copy the value from         Check only one box for each exemption.
                                                                           Schedule NB

      37300MedjoolAvenuePalmDesert,                                              $288,l00.oo       ,                              $456,000.00
                                                                                                                                                      c.c.p.       § 704.730    Debtor
      CA 92211                                                                                                                                        claims       1 00%   of fair   market
      Line from Schedule              NB: 1.1                                                          €     1 00% of fair market value, up to        value    up to statutory            limits
                                                                                                             any applicable statutory limit


      2011      Mercedes          ML350         86,000       miles                                                                                    c.c.p.       § 704.010    Debtor
                                                                                   $7,000.00           s                               $3,325.00
      Line from Schedule              NB: 3.1                                                                                                         claims       100%    of fair   market
                                                                                                       Cl 1 00% of fair market value, up to           value    up to statutory            limits
                                                                                                             any applicable    statutory      limit


      Household              goods       and    furnishings
                                                                                                                                       $4,000.00      c.c.p.       § 704.020    Debtor
                                                                                   $4,000.00           s
      (no    single      item     worth         more     than    $725                                                                                 claims       100%    of fair   market
       FMV)                                                                                            €     l00%offairmarketvalue,upto               value    up to statutory            limits
       Line from Schedule             NB: 6.1                                                                any applicable statutory         limit


      4 Televisions,             desktop,         printer,                                                                                            c.c.p.       § 704.020    Debtor
                                                                                   $1,000.00           s                               $1 ,ooo.oo
      tablet,     (2) iPhone            XR, digital       camera,                                                                                     claims       1 00%   of fair   market
      Apple      smartwatch                                                                            []    1 00% of fair market value, up to        value    up to statutory            limits
       Line from Schedule             NB: 7.1                                                                any applicable statutory limit


      (2) golf       clubs      sets,     bicycle
                                                                                      $225.00          s                                   $225.00    c.c.p.       § 704.020    Debtor
       Line from Schedule             NB: 9.1                                                                                                         claims       100%    of fair   market
                                                                                                       €     1 00% of fair market value, up to        value    up to statutory            limits
                                                                                                             any applicable statutory limit




Official    Form 106C                                                Schedule    C: The PropertyYou          Claim   as Exempt                                                            page 1 of 3
SoTtware Copyright    (c) 1996-2021     Best Case,   LLC - www bestcasecom                                                                                                       Best Case Bankruptcy
             Case 6:21-bk-15157-MH                                Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                            Desc
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Debtor   I   Robert      Nathan Reicher
Debtor   2   Suzanne       P Carter-Reicher                                                                         Case   number     (if known)

    Brief description  of the property   and line on              Current    value of the   Amount of the exemption you             claim          Specific   laws that allow      exemption
    Schedule    DB that lists this property                       portion    you own

                                                                  Copy the value from       Check      only one box for each exemption.
                                                                  Schedule NB

    Wearing       apparel
                                                                               $700.00      n                                  57@@.00             c.c.p. § 704.020Debtor
    Line from Schedule NB: 11.1                                                                                                                    claims     100%      of fair     market
                                                                                            [1              of fair market value, up to
                                                                                                      100'/'O                                      value      up to statutory             limits
                                                                                                      any applicable statutory limit


    Miscellaneous           jewelry
                                                                               $500.00      s                                5B,7zs.o              c.c.p. § 704.040Debtor
    Line from Schedule NB: 12.1                                                                                                                    claims      I 00% of fair        market
                                                                                            a         100'/oof fair marketvalue, up to             value      up to statutory             limits
                                                                                                      any applicable statutory limit


    Checking          account:     Bank     of America        -
                                                                             $1,907.00      @                                53,500.00             c.c.p. § 704.080Debtor
    9113                                                                                                                                           claims "I 00% of fair market
    Line from Schedule NB: 17.1                                                             []        100% of fair market value, up to             value up to statutory  limits
                                                                                                      any applicable statutory limit


    Checking          account:     Bank     of America        -
                                                                             $1,907.00      ,                                $i,goz.oo             42 u.s.c. § 407Debtorclaims
    9113                                                                                                                                           1 00% of fair        market       value          up
    Line from Schedule NB: 4 7.1                                                            €         100%offairmarketvalue,upto                   tostatutorylimits
                                                                                                      any applicable statutory limit


    Business  checking             account:      Union
                                                                               $109.00      ,                                   @tog.o@ c.c.p. § 704.225Debtor
    Bank - 8155                                                                                                                                    claims I 00% of fair market
    Line from Schedule NB: 17.2                                                             Cl        1 00% of fair market value, up to            value up to statutory limits
                                                                                                      any applicable statutory limit


    Joint Checking           account:       Union     Bank
                                                                            $20,519.00          n                           $20,519.00             c.c.p. § 704.120-- (Debtor
    -9500                                                                                                                                          intends      to exempt          full     fair
    Line from Schedule NB: 17.3                                                             €         100% of fair market value, up to             market value.)    Debtor claims
                                                                                                      any applicable statutory limit               100% of fair market value up
                                                                                                                                                   to statutory  limits


    Joint Checking           account:       Union     Bank
                                                                            $20,519.00          ffi                           $3,500.00            "-'-        g 704'80 Debtor
    -9500                                                                                                                                          claims      I 00% of fair         market
     Line from Schedule NB: 17.3                                                                €     1 00% of Fair market value, up to            value      up to statutory             limits
                                                                                                      any applicable statutory limit


    Joint Checking    account:  Union                 Bank
                                                                            $20,519.00          a                           $20,519.00             42 u.s.c. § 407DebtorCLAIMS
    - 9500                                                                                                                                         100%       of fair   market       value          up
    Line from Schedule NB: 17.3                                                                 €     l00%offairmarketvalue,upto                   tostatutorylimits
                                                                                                      any applicable statutory limit


     Prepaid     separate        account:      Bank    of
                                                                                 5z.@@          @                                    @11.0@        c.c.p. § 704.220Debtor
    America    EDD Debit Card - 1 1 12                                                                                                             claims 100% of fair market
    Line from Schedule NB: 17.4                                                                 €     100% of fair market value, up to             value up to statutory limits
                                                                                                      any applicable statutory limit


    Whole life insurance              policy   with
                                                                            $13,290.00          ffl                         $13,290.00              COC'fi704'00(a)DebtOr
    State Farm                                                                                                                                     claims 100% of fair market
    Beneficiary:  Spouse                                                                        €     1 00% of fair market value, up to            value up to statutory limits
     Line from Schedule NB: 31.1                                                                      any applicable statutory limit


    Whole       life insurance        policy   with
                                                                               @441.00          @                               @441.@@             c.c.p. § 704.100(a)De5tOr
     State     Farm                                                                                                                                 claims     100%      of fair     market
     Beneficiary:   Spouse                                                                      €     1 00% of fair market value, up to            value      up to statutory              limits
     Line from Schedule NB: 31.2                                                                      any applicable statutory limit




Official Form 106C                                          Schedule    C: The Property     You Claim as Exempt                                                                            page 2 of 3
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                               Best Case,LLC- www.bestcase.com                                                                                                                   BestCaseBankruptcy
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 Debtor I                 Robert Nathan Reicher
 Debtor2                  Suzanne          P Carter-Reicher                                                                        Case   number   (if known)

           Brief description of the property and line on                           Current value of the       Amount of the exemption you claim                 Specific laws that allow exemption
           Schedule NB that lists this property                                    portion you own
                                                                                   Copy the value from        Check only one box for each exemption.
                                                                                   Schedule NB

           Whole            life    insurance          policy    with   New                                                                                     c.c.p.   § 704.100(a)       Debtor
                                                                                             $326.00          H                                $326.00
           York           Life                                                                                                                                  claims    1 00%   of fair   market
           Beneficiary:                  Spouse                                                               [1   100%offairmarketvalue,upto                   value    up to statutory      limits
           Line from Schedule                    NB:   31.3                                                        any applicable statutory limit



 3.        Areyouclaimingahomesteadexemptionofmorethan$170,350?
           (Subject to adjustment on 4/01/22 and every 3 years afler that for cases filed on or affer the date of adjustment.)
           €        No

           ffl      Yes. Did you acquire                the property    covered     by the exemption      within 1,215 days before you filed this case?

                     []            No

                     a             Yes




Official         Form 106C                                                 Schedule     C: The PropertyYou         Claim   as   Exempt                                                         page    3 of 3
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                                                                                                                                                                              g   Check   if this is an
                                                                                                                                                                                  amended    filing


Official            Form 1 06D
Schedule                        D: Creditors                 Who          Have          Claims             Secured                 by Property                                                        1 2/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible      for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors             have claims     secured   by your property?

        €    No. Check          this box and submit       this form    to the court    with your other      schedules.        You have        nothing   else to report    on this form.

        N Yes.       Fill in all of the information        below.

jList                      All Secured         Claims
                                                                                                                                                                                            Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                                Co'umn
                                                                                                                                            A                    Co'umn
                                                                                                                                                                     B
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As                               Amount of claim         Value of collateral         Llnsecured
 much as possible, list the claims in alphabetical order according to the creditor's name.                                              Do not deduct the       that supports this          portion
                                                                                                                                        value of collateral.    claim                       If any
[Citibank,        N.A."                                      Describe the property that secures the claim:                                  $10,027.00                   $430,000.00                      $0.00
       Cred:lor's
               Name                                          37300      Medjool        Avenue       Palm     Desert,
       Attn: GeneMcQuade,                                    CA92211
            CEO
            7@I     East    60th     Street,                 Asof thedateyoufile,theclaimis: Checkallihat
            North                                            applyi
            Sioux      Falls,      SD   57104                a Con"ngen'
            Number, Street. City, State & Z:p Code           a Unliquidated
                                                             0   Disputed
 Who        owes    the debt?       Check one.               Nature     of lien.   Check all that apply.

 €      Debtor 1 only                                        €   An agreement       you made (such as mortgage           Or   secured
 €      Debtor 2 only                                               carloan)
 §      Debtorl     an,3 Debtor 2 only                       € Statutorylien (such as tax lien, mechanic's lien)
 € At least one of the debtorsand another                    ffl Judgment lien from a lawsuit
 N Check     it this claim          relates to a             ffi Other (including a right to offset) Abstract Jud9menf                            [Case#pScz0040']
        community    debt


 Datedebtwasincurred                    g5/2021                        Last 4 digits   of account    number        4g83




Official     Form 1 06D                                     Schedule        D: Creditors     Who     Have     Claims      Secured         by Property                                                 page     1 of 3

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 De5iOr 1           Robert              Nathan           Reicher                                                                                                              Case   number    (:Thnown)
                    First Name                                 Middle Name                                        Last Name

 De5tOr 2           Suzanne               P Carter-Reicher
                    First Name                                 Middle Name                                        Last Name



JHunt                   & Henriques                                      Describe          the    property             that      secures           the    claim:                               $0.00                   $0.00             $0.00
           Creditor's        Name



           Attorneys                  at Law
                                                                        As of the          date       you    file,      the      claim      is: Check all that
           7017         Realm           Drive                            aPPIY
           San      Jose,             CA 95119                           €     ConUngent

           Number,      Street, City, State & Zip Code                   €     Unliquidated

                                                                         €     Disputed
Who        owes      the       debt?     Check      one.                 Nature       of     lien.      Check          all that     apply.

 €     Debtor     1 only                                                 € An agreement                     you      made        (such      as mongage                Or secured
                                                                                car loan)
 €     Debtor     2 only

 N Debtor 1 and Debtor 2 only                                            €     Statutory         lien (such            as tax lien,         mechanic's              lien)

 € At least one of the debtors and another                               N Judgment               lien from            a lawsuit

 ffi Check        if this      claim     relates     to a                g Other (including                   a right          to offset)            Notice Onl7 - Attorney for Citibank, N.A. On Case
        community              debt                                                                                                                 #PSC2004083


 Date     debt    was        incurred                                               Last 4 digits of account number                                             4083


g3Matthew                        Jennings"                               Describe          the     property            that      secures           the     claim:                              $0.00             $430,000.00             $0.00
           Creditois         Name
                                                                         37300           Medjool                Avenue                Palm           Desert,
           Treasurer-Tax                    Collector                    CA 92211
           4080         Lemon            Street,         1st
                                                                         As of the         date       you     file,     the      claim      is: Check all that
           Floor
                                                                         a441Y
           Pa      Box         12005
                                                                         €     Contingent
           Riverside,                 CA 92502-2205
           Number,Street.Cihl, Slaie & Zip Code                          € Unliquidated
                                                                         CI Disputed
Who        owes        the     debt?     Check      one.                 Nature       of lien.          Check          all that     apply.

 €      Debtor    1 only                                                 []    An agreement                 you       made       (such      as mortgage               or secured
                                                                                car loan)
 €      Debtor    2 only

 ffi Debtor 1 and Debtor 2 only                                          ffl Statutory           lien (such            as tax lien,         mechanic's              lien)

 € At least One of the debtors and another                               € Judgment               lien from            a lawsuit

 ffl Check        if this      claim     relates     to a                N Other           (including         a right          to offset)            Secured                 P rOPerfV TaXeS
        community              debt


 Date     debt    was        incurred                                                Last 4 digits of account number                                            0048




       Mortgage
ERFuevnedrlnseg
           Creditor's        Name
                                                                         Describe

                                                                         37300
                                                                                           the

                                                                                         Medjool
                                                                                                     property

                                                                                                                Avenue
                                                                                                                        that     secures

                                                                                                                                      Palm
                                                                                                                                                   the     claim:

                                                                                                                                                         Desert,
                                                                                                                                                                                      $183,937.00                $430,000.00             $0.00


                                                                         CA 92211

                                                                         As of the         date       you     file,      the     claim       is:    Check all that
           Pa      Box         40724                                     a441Y
           Lansing,              Ml 48901-7924                           €     Contingent

           Number,       Street, City, Stale & Zip Code                  €     Unliquidated

                                                                         €     Disputed
 Who       owes        the     debt?      Check     one.                 Nature       of     lien.      Check          all that      apply.

 CI Debtor        1 only                                                 N An agreement                     you       made        (such      as mortgage              or secured

 0      Debtor    2 only                                                         car loan)

 a Debtor         1 and        Debtor     2 only                         CI Statutory             lien (such           as tax lien,         mechanic's              lien)

 Cl At least       one        of the debtors       and     another       []    Judgment              lien from         a lawsuit

 ffl    Check      if this      claim    relates     to a                N Other           (including           a right        to offset)            ReverSe Mo"gage
         community             debt


 Datedebtwasincurred                           jj/2gj8                               Last 4 digits of account number                                               2233



Official     Form 106D                                    Additional    Page        of Schedule                   D:     Creditors                 Who       Have           Claims   Secured     by   Property                       page 2 of 3

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  De5Or 1          Robert         Nathan          Reicher                                                                       Case number   (ifknown)
                   First Name                         Middle Name                        Last Name

  De5iOr 2         Suzanne           P Carter-Reicher
                   F:TSl Name                         Middle Name                        Last Name




           Sun      City     Palm        Desert
           Community              Asc.                          Describe the property      that   secures     the   claim:                    $0.00          $430,000.00              $0.00
           Creditor's    Name
                                                                [Notice      Only]   37300        Medjool      Avenue
                                                                Palm      Desert,    CA 92211
           38180         Del Webb
                                                               As of the date you file, the claim is: Checkall that
           Boulevard
                                                               aQPIV.
           Palm         Desert,     CA 92211                   € Contingent
           Number, Street, City. State & Zip Code               € Unliquidated
                                                                € Disputed
 Who owes the debt?                 Check one.                 Nature of lien. Check all that apply.
  € Debtor 1 only                                               N An agreement you made (such as mortgage or secured
  [1 Debtor 2 only                                                  car loan)

  a Debtor 1 and Debtor 2 only                                  Cl Statutory lien (such aS tax lien, mechanic's lien)
  € At least one of the debtors and another                     € Judgment lien from a lawsuit
  8 Check if this claim relates to a                            N Other (including a right to offset)          No"ce         On')/ - HOA Dues
        community          debt

 Date debt was incurred                  jj /20 j8                        Last 4 digits of account number                4336




    Add the dollar value of your entries in Column A on this page. Write that number here:
    If this is the last page of your form, add the dollar value totals from all pages.
    Write that number here:                                                                                                                   sl93964oo


[List                    Others     to Be Notified          for a Debt That You Already              Listed

 Llsethis pageonly if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someoneelse, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official    Form 1 06D                            Additional   Page of Schedule         D: Creditors          Who    Have Claims    Secured    by Property                       page 3 of 3

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                                                                                                                                                                      []     Check   if this is an
                                                                                                                                                                             amended     filing


Official       Form      106E/F
Schedule            E/F: Creditors                   Who     Have           Unsecured              Claims                                                                               1 2/15
Be aS complete and accurate aS pOSSible. uSe Pad 4 far creditors With PRIORITY ClaimS and Part 2 far creditors With NONPRIORITY claimsi LiSt the Other party tO
any executoiy    contracts  or unexpired leases that could result in a claim. Also list executory contracts    on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Llnexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation   Page to this page. If you have no information  to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

5List               All of Your PRIORITYUnsecuredClaims
1.    Do any creditors      have priority    unsecured   claims   against   you?

      [] NO. GO to Part 2.
      N yes,
 2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the cteditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

      (For an explanation    of each type of claim, see the instructions     for this form in the instruction    booklet.)
                                                                                                                                     Total claim           Priority                    Nonpriority
                                                                                                                                                           amount                      amount

           Employment            Development
           Department"                                                Last 4 digits   of account       number                                      $0.00                     $0.00                    $0.00
           Priority Creditor's Name
           Bankruptcy          Group        M1C92E                    When was the debt incurred?
           p.o.   Box     826880
           Sacramento,       CA 94280-0001
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
        Who incurred     the debt?     Check one.                      € Contingent
        € Debtor 1 only                                                € Unliquidated
        € Debtor 2 only                                                [1 Disputed
        N Debtor 1 and Debtor 2 only                                  Type of PRIORITY       unsecured      claim:

        € At least one of the debtors and another                      CI Domestic support obligations

        N Check if this claim is for a community           debt        N Taxes and certain other debts you owe the government
        Is the claim subject    to offset?                             [1 Claims for death or personal injurywhile '}Ou Were intoxicated
        ffl No                                                         [] Other. Specify
        € Yes                                                                                 Notice      only    - Listed       in caution,        no   known        debt




Official Form 106 E/F                                      Schedule     EIF: Creditors     Who Have Llnsecured         Claims                                                                     Page 1 of 18
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 Debtor        1         Robert          Nathan             Reicher
 De5Or         2        Suzanne                P Carter-Reicher                                                                                       CaSe       number      (if known)


                State          of     California"                                                Last4 digits of accountnumber                                                       $0.00                         $0.00                    $0.00
                   Priority    Creditor's          Name
                   Franchise                Tax       Board                                      When      was the debt        incurred?

                   Bankruptcy                   Section            MS    A340
                   Pa      Box        2952
                Sacramento,                         CA      95812-2952
                Number             Street     City State Zip Code                                As of the date       you file, the claim       is: Check        all that apply
            Who         incurred      the debt?            Check      one.                       € Contingent
                                                                                                 € Unliquidated
                                                                                                 € Disputed
            ffl Debtor 1 and Debtor                      2 only                                  Type      of PRIORITY        unsecured      claim:

            € At least one of the debtors                         and another                    € Domestic         support    obligations


            N Check            if this      claim     is for      a community       debt         N Taxes and certain other debts you owe the government
            Is the claim            subject        to offset?                                    [1] Claims for death or personal injury while you were intoxicated
            N No                                                                                 € Other. Specify
            € Yes                                                                                                             Notice only - Listed in caution,                            no   known        debt




g2List                         All of Your NONPRIORITf Unsecured Claims
 3.    Do any creditors                     have     nonpriority        unsecured     claims     against     you?

       € NO. You have nothing                            to report    in this part. Submit     this form to the court with your other schedules.


           ffl ye,

 4.    List all of your nonpriority      unsecured    claims in the alphabetical order of the creditor   who holds each claim. If a creditor has more than one nonpriority
       unsecured    claim, list the creditor separately for each claim. For each claim listed,identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority    unsecured    claims fill out the Continuation Page of
       Part 2.

                                                                                                                                                                                                                     Total   claim

                American                    Express             Bank,        FSB"                   Last4digitsofaccountnumber                          5g73                                                                         $5,330.00
                Nonpriority           Creditor's           Name
                Attn:          Kenneth               Chenault,               CEO                                                                        Opened            07/2015          Last    Active
                4315           S. 2700             West                                             Whenwasthedebtincurred?                             7/2g2j
                Salt          Lake          City,        UT 841 84
                Number             Street     City State Zip Code                                   As of the date you           file, the claim      is: Check     all that apply
                Who         incurred         the debt?         Check     one

                   €     Debtor      1 only
                                                                                                    € Contingent
                   []    Debtor      2 only
                                                                                                    € Unliquidated
                   N Debtor 1 and Debtor                     2 only
                                                                                                    € Disputed
                   €     At least one of the debtors                  and another                   Type     of NONPRIORITY            unsecured        claim:

                   N Check           if this       claim    is for a community                      € Student        loans

                debt                                                                                € Obligations arising out of a separation                    agreement     or divorce      that you did not
                Is the claim             subject         to offset?                                 report as priority claims

                   H No                                                                             € Debts to pension            or profit-sharing     plans, and other similar           debts

                   € Yes                                                                            ffl Other. Specify           Credit Card. Exact amount unknown




Official     Form 106 E/F                                                           Schedule      E/F: Creditors       Who      Have      Unsecured      Claims                                                                      Page    2 of 18

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 Debtor     1        Robert         Nathan              Reicher
 Debtor 2            Suzanne               P Carter-Reicher                                                                                       Case       number      (if known)


             American                  Express            Bank,          FSB"               Last 4 digits         of account        number          5j53                                                        $5,330.00
             Nonpriority         Creditor's        Name
             Attn:         Kenneth               Chenault,              CEO                                                                         Opened            07/2015         Last      Active
             4315          S. 2700             West                                         Whenwasthedebtincurred?                                 7/2g2j
             Salt        Lake          City,      UT     841      84
             Number           Street     City State Zip Code                                As of the date you file, the claim                    is: Check     all that apply
             Who       incurred          the debt?        Check        one.

                []   Debtor     1 only
                                                                                            € Contingent
                0    [)ebtor    2 only
                                                                                            € Unliquidated
                a [)ebtor       1 and Debtor             2 only
                                                                                            € Disputed
                €    At least one of the debtors                  and another               Type     of NONPRIORITY                unsecured        claim:

                N Check         if this        claim    is for a community                  € Student           loans

             debt                                                                           € Obligations arising out of a separation                        agreement     Or divorce     that you did not
             Is the claim          subject         to offset?                               report as priority claims

                N No                                                                        € Debts to pension                or profit-sharing     plans,     and other similar      debts

                [] Yes                                                                       8 0ther.        Specify       Credit Card. Exact amount unknown


iE3          American                  Express            Bank,          FSB"               Last4digitsofaccountnumber                               70j3                                                          $941 .00
             Nonpriority         Creditor's        Name
             Attn: Kenneth   Chenault, CEO                                                                                                           Opened           07/2014         Last      Active
             4315 S. 2700 West                                                              Whenwasthedebtincurred?                                  7/2g2j
             Salt Lake City, UT 841 84
             Number           Street     City State Zip Code                                As of the date          you file,      the claim      is: Check     all that apply
             Who       incurred          the debt?        Check        one.

                0    Debtor     1 only
                                                                                            €      Contingent
                €    Debtor     2 only
                                                                                            €      Unliquidated
                N Debtor 1 and Debtor 2 only                                                CI Disputed
                €    At least one of the debtors                  and another               Type     of NONPRIORITY                unsecured        claim:

                ffl Check       if this        claim    is for a community                  €      Student      loans

             debt                                                                           CI Obligations arising out of a separation                       agreement     or divorce     that you did not
             Is the claim          subject         to offset?                               report as priority claims

                N No                                                                        CI Debts         to pension       or profit-sharing      plans,    and other similar      debts

                € Yes                                                                        a Other. Specify              Credit        Card.        Exact       amount         unknown



IEIm         American
             Nonpriority
                                       Express
                                 Creditor's
                                                          Bank,
                                                       Name
                                                                         FSB"               Last     4 digits     of account        number           6933                                                           $941 .00

             Attn:         Kenneth               Chenault,              CEO                                                                          Opened           07/2002         Last Active
             4315          S. 2700             West                                         Whenwasthedebtincurred?                                  7/202j
             Salt        Lake          City,      UT 841 84
                Number        Street     City State Zip Code                                As of the date          you file,      the claim      is: Check     all that apply
             Who       incurred          the debt?        Check        one.

                €    Debtor     1 only
                                                                                            € Contingent
                []   Debtor     2 only
                                                                                            € Llnliquidated
                ffi Debtor 1 and Debtor 2 only                                              € Disputed
                €    At least one of the debtors                  and another               Type     of NONPRIORITY                unsecured        claim:

                N Check          if this       claim    is for a community                  € Student           loans

             debt                                                                           € Obligations           arising      out of a separation         agreement     or divorce     that you did not
                Is the claim       subject         to offset?                               report    as priority       claims

                ffi No                                                                      € Debts to pension                or prot-sharing        plans,    and other similar        debts

                €    Yes                                                                     ffl Other.      Specify        Credit Card. Exact amount unknown




Official   Form 106 E/F                                                         Schedule   E/F: Creditors         Who      Have     Llnsecured       Claims                                                       Page   3 of 18

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 Debtor     1        Robert         Nathan            Reicher
 DettOr     2        Suzanne               P Carter-Reicher                                                                                      CaSe       number      (if known)


                Bank      of     America,              N.A."                               Last4digitsofaccountnumber                               j452                                                         $7,592.00
             Nonpriority         Creditor's      Name
             ATTN:              Brian         T. Moynihan,               CEO                                                                       Opened            09/2007         Last Active
             100 North                 Tryon         Street                                When      was       the debt      incurred?             8/2019
             Charlotte,                NC      28202
             Number           Street    City State Zip Code                                As of the date you file, the claim                    is: Check     all that apply
             Who       incurred         the debt?       Check     one.

                []   Debtor     1 only
                                                                                           € Contingent
                €    Debtor      2 only
                                                                                           € Unliquidated
                N Debtor 1 and Debtor 2 only                                               € Disputed
                €    At least one of the debtors                and another                Type     of NONPRIORITY                unsecured        claim:

                ffl Check        if this     claim    is for a community                   € Student           loans

             debt                                                                          € Obligations           arising      out of a separation         agreement     or divorce     that you o:o not
             Is the claim          subject       to offset?                                report    as priority       claims

                N No                                                                       [] Debts to pension               or profit-sharing     plans.     and other similar      debts

                [1 Yes                                                                     a Other. Specify                Credit Card. Exact amount unknown


                Bank      of     America,              N.A.*                               Last4digitsofaccountnumber                               8780                                                          $7,488.00
                Nonpriority      Creditor's          Name
             ATTN:      Brian   T. Moynihan,                             CEO                                                                        Opened           1 2/2005        Last      Active
             100 North Tryon        Street                                                 When      was the debt            incurred?              07/2021
             Charlotte,      NC 28202
             Number           Street    City State Zip Code                                As of the date you file, the claim                    is: Check     all that apply
             Who       incurred         the debt?       Check     one.

                CI Debtor       1 only
                                                                                           €      Contingent
                []   Debtor     2 only
                                                                                           €      Unliquidated
                N Debtor1          and Debtor          2 only
                                                                                           []     Disputed
                []   At least one of the debtors                and another                Type     of NONPRIORITY                unsecured        claim:

                ffl Check        if this     claim    is for a community                   €      Student      loans

             debt                                                                          € Obligations           arising out of a separation              agreement     Or divorce     that you   o:o not
                Is the claim       subject       to offset?                                report    as priority     claims

                N No                                                                       € Debts to pension                Or profit-sharing      plans,    and other similar      debts

                € Yes                                                                       N Other.        Bpe,,,(y       Credit Card. Exact amount unknown


                Bank      of     America,              N.A.'                               Last     4 digits     of account        number           3055                                                          $2,567.00
             Nonpriority         Creditor's      Name
             ATTN:      Brian  T. Moynihan,                              CEO                                                                        Opened           12/2016         Last      Active
             100 North Tryon        Street                                                 When      was       the debt      incurred?              7/2021
             Charlotte,      NC 28202
             Number           Street    City State Zip Code                                As of the date you file, the claim                    is: Check     all that apply
             Who       incurred         the debt?       Check     one.

                €    Debtor     1 only
                                                                                            € Contingent
                []   Debtor      2 only
                                                                                            € Unliquidated
                a Debtor 1 and Debtor 2 only                                                € Disputed
                €    At least one of the debtors                and another                Type     of NONPRIORITY                unsecured        claim:

                N Check          if this     claim    is for a community                   € Student           loans

             debt                                                                          € Obligations           arising      out of a separation         agreement     or divorce     that you did not
             Is the claim          subject       to offset?                                report    as priority       claims

                N No                                                                       € Debts to pension                or profit-sharing      plans.    and other similar        debts

                € Yes                                                                       N Other.        Specify        Credit Card. Exact amount unknown




Official   Form 106 E/F                                                        Schedule   E/F: Creditors         Who      Have     Unsecured        Claims                                                         Page   4 of 4 8

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 Debtor     1        Robert         Nathan            Reicher
 Det)tar    2        Suzanne               P Carter-Reicher                                                                                         Case       number      (if known)



                Barclays            Bank         Delaware"                                   Last     4 digits     of account         number          9659                                                          $3,003.00
             Nonpriority         Creditor's       Name
             Attn:            President              or     CEO                                                                                       Opened 04/2016                     Last Active
            125          South         West          Street                                  When      was       the debt       incurred?             07/2021
            Wilmington,                     DE       19801
                Number        Street   City State Zip Code                                   As of the date you file, the claim                     is: Check     all that apply

            Who          incurred      the debt?            Check    one.

                €      Debtor1      only
                                                                                             CI ConUngent
                0      Debtor    2 only
                                                                                             €      Unliquidated
                ffl Debtor 1 and Debtor                   2 only                             CI Disputed
                €    At least one of the debtors                   and another               Type      of NONPRIORITY                unsecured        claim:

                N Check          if this     claim        is for a community                 €      Student      loans

                debt                                                                         €      Obligations       arising      out of a separation         agreement     or divorce     that you d:d not
                Is the claim        subject      to offset?                                  report    as priority        claims

                ffl No                                                                       [J Debts to pension                or profit-sharing     plans, and other similar           debts

                €      Yes                                                                   N Other.         Specify         Credit Card.              Exact amount                unknown


                Barclays            Bank         Delaware'                                   Last     4 digits     of account         number           3393                                                         $2,990.00
                Nonpriority      Creditor's          Name
            Attn:   President    or CEO                                                                                                                Opened           06/2015          Last      Active
            1 25 South     West  Street                                                      When       was the debt            incurred?             10/2019
            Wilmington,       DE 19801
                Number        Street   City State Zip Code                                   As of the date you file, the claim                     is: Check     all that apply

                Who      incurred      the debt?            Check    one.

                €      Debtor    1 only
                                                                                             €    Contingent
                CI Debtor        2 only
                                                                                             []     Unliquidated
                N Debtor         1 and Debtor             2 only                             CI Disputed
                €      At least one of the debtors                 and another               Type      of NONPRIORITY                unsecured        claim:

                ffl Check        if this     claim        is for a community                 €      Student      loans

                debt                                                                         €      Obligations       arising      out of a separaUon          agreement      or divorce     that you did not
                Is the claim        subject      to offset?                                  report     as priority       claims

                ffl No                                                                       €      Debts     to pension        or profit-sharing      plans, and other similar           debts

                CI Yes                                                                       N Other.         Specify         Credit Card.              Exact amount                unknown



                Barclays            Bank         Delaware"                                   Last4digitsofaccountnumber                                4002                                                          $1 ,897.00
                Nonpriority       Creditor's         Name
             Attn:  President    or CEO                                                                                                                Opened 1 U2005                     Last Active
             125 South     West  Street                                                      Whenwasthedebtincurred?                                   jj/2gj9
             Wilmington,      DE 19801
                Number        Street   City State Zip Code                                   As of the date you file, the claim                     is: Check      all that apply

                Who      incurred      the debt?            Check    one.

                €      Debtor    1 only
                                                                                             €      Contingent
                €      Debtor    2 only
                                                                                             €      Unliquidated
                a Debtor 1 and Debtor 2 only                                                 €      Disputed

                []     At least One of the debtors                 and another               Type      of NONPRIORITY                 unsecured       claim:

                N Check          if this     claim        is for a community                 €      Student       loans

                debt                                                                         €      Obligations       arising      out of a separation         agreement      or divorce     that you did not
                Is the claim        subject       to offset?                                 report     as priority       claims

                ffl No                                                                       €      Debts     to pension        or profft-sharing      plans, and other        similar     debts

                €      Yes                                                                   a Other. Specify                   Credit Card.             Exact amount               unknown




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 Debtor     1        Robert          Nathan            Reicher
 De5tOr     2        Suzanne                P Carter-Reicher                                                                                       CaSe       num5er      (if known)




GIJ             Capital
                Nonpriority
                                  Management
                                  Creditor's          Name
                                                             Services,         LP          Last     4 digits      of account         number          6272                                                              $0.00

             698 1/2 South Ogden    Street                                                 When        was the debt            incurred?

             Buffalo, NY 14206-2317
             Number           Street    City State Zip Code                                As of the date you file, the claim                      is: Check     all that apply
             Who         incurred       the debt".       Check     one.

                €      [)ebtor1     only
                                                                                           €      Contingent
                €      Debtor     2 only
                                                                                           €      Unliquidated
                N Debtor 1 and Debtor 2 only                                               €      Disputed
                CI At least        one of the debtors            and another               Type      of NONPRIORITY                 unsecured        claim:

                H Check           if this     claim    is for a community                  €      Student       loans

             debt                                                                          [1 0bligations            arising out of a separation              agreement     or divorce     that you did not
                Is the claim         subject        to offset?                             report      as priority     claims

                N No                                                                       CI Debts           to pension       or profit-sharing     plans, and other similar          debts

                0 Yes                                                                      ffl Other.         Specify      Collection              agency        for Bank         of America.



                Capital           One        Bank       (USA),       N.A."                 Last 4 digits          of account         number           3590                                                      $16,787.00
                Nonpriority       Creditor's          Name
             ATTN:     Richard   D. Fairbank,                             CEO                                                                         Opened           8/2017          LastActive
             4851 Cox Road                                                                 Whenwasthedebtincurred?                                    07/202j
             Glen  Allen,    VA 23060
             Number           Street    City State Zip Code                                As of the date you file, the claim                      is: Check     all that apply
             Who         incurred       the debt?        Check     one.

                €      Debtor     1 only
                                                                                           €      Contingent
                €      Debtor     2 only
                                                                                           €      Unliquidated
                ffi [)ebtor       1 and Debtor          2 only
                                                                                           €      Disputed
                []   At least one of the debtors                 and another               Type       of NONPRIORITY                unsecured        claim:

                a Check           if this     claim    is for a community                  €      Student       loans

                debt                                                                       €      Obligations        arising     out of a separation          agreement     ot divorce     that you did not
                Is the claim sutJect to offset?                                            report      as priority      claims

                N No                                                                       €      Debts to pension             or profit-sharing      plans, and other similar          debts

                []   Yes                                                                   ffl Other.         Specify       Credit         Card.       Exact       amount         unknown




tJi2            Citibank,
                Nonpriority
                                     N.A."
                                   Creditor's         Name
                                                                                           Last4digitsofaccountnumber                                 7613                                                        $8,879.00

             Attn: Gene   McQuade,  CEO                                                                                                               Opened           02/2018           Last Active
             701 East 60th Street, North                                                   Whenwasthedebtincurred'.                                   04/2019
             Sioux Falls, 50 57104
                Number        Street    City State Zip Code                                As of the date            you file,     the claim       is: Check     all that apply
             Who         incurred       the debt?        Check     one.

                0      Debtor     1 only
                                                                                           €      Contingent
                Cl Debtor         2 only
                                                                                           €      Unliquidated
                N Debtor          S and Debtor          2 only
                                                                                           €      Disputed
                €    At least one of the debtors                 and another               Type       of NONPRIORITY                unsecured        claim:

                a Check           }f this     claim    is for a community                  0      Student       loans

                debt                                                                        €     Obligations        arising     out of a separation          agreement      or divorce    that you did not
                Is the claim         subject        to offset?                             report      as priority      claims

                N No                                                                       []     Debts to pension             or prom-sharing        plans,    and other similar        debts

                €    Yes                                                                    ffl     ll.,e,,   Bpec(y        Credit         card.       Exact       amount         unknown




Official   Form 106 E/F                                                        Schedule   E/F: Creditors          Who      Have      unsecured        Claims                                                       Page   6 of 18

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 Debtor     1        Robert             Nathan           Reicher
 De5tOr     2        Suzanne               P Carter-Reicher                                                                                           CaSe        number      (iT known)



                Citibank,               N.A."                                                   Last4digitsofaccountnumber                               2641                                                            $2,463.00
             Nonpriority             Creditor's         Name
             Attn: Gene   McQuade,  CEO                                                                                                                  Opened            1 0/2005         Last        Active
             701 East 60th Street, North                                                        When      was       the debt      incurred?              6/2g2j
             Sioux Falls, 50 57104
             Number            Street      City State Zip Code                                  As of the date you file,              the claim       is: Check      all that apply
             Who         incurred          the debt?       Check     one.

                €    Debtor          1 only
                                                                                                €      Contingent
                €    Debtor          2 only
                                                                                                €      Unliquidated
                N Debtor             1 and Debtor         2 only
                                                                                                €      Disputed

                €    At least one of the debtors                   and another                  Type     of NONPRIORITY                unsecured         claim:

                ffl Check            if this    claim    is for a community                     €      Student      loans

             debt                                                                               € Obligations arising out of a separation                         agreement        or divorce     that you d:o not
                Is the claim           subject      to offset?                                  report as priority claims

                N No                                                                            €      Debts to pension         or profit-sharing        plans, and other similar           debts

                                                                                                                               Costco         credit        Card.          Exact       amount
                €    Yes                                                                    '          Other. Specify          411pll@yvl'l




IIil            Citibank,

                Nonpriority
                                        N.A."

                                     Creditor's         Name
                                                                                                Last     4 digits     of account        number            8224                                                           $5,784.00

             Attn:            Gene             McQuade,             CEO                         When      was       the debt      incurred?

             701 East               60th Street,               North
             Sioux             Falls,   SD 57104
                Number         Street      City State Zip Code                                  As of the date you file,               the claim      is: Check       all that apply
             Who         incurred          the debt?       Check     one.

                €      Debtor        1 only
                                                                                                €      Contingent
                €      Debtor        2 only
                                                                                                []     Unliquidated
                ffl Debtor           1 and Debtor         2 only
                                                                                                €      Disputed

                Cl At least one of the debtots                     and another                  Type     of NONPRIORITY                unsecured         claim:

                N Check              if this    claim    is for a community                     0      Student      loans

             debt                                                                               € Obligations arising out of a separation                         agreement        or divorce     that you did not
                Is the claim           subject      to offset?                                  report as priority claims

                N No                                                                            € Debts to pension                or profit-sharing       plans, and other similar          debts

                [] Yes                                                                          N Other.          Specify      Credit card. Exact amount unknown


                Department                     of Education"                                    Last     4 digits     of account        number            0804                                                          $21 ,esg.oo
                Nonpriority          Creditor's         Name
                Office          of     General            Counsel                                                                                         Opened            08/2006             Last    Active
             400 Maryland                            SW Room
                                                  Ave.                       6E353              When       was      the debt      incurred?               6/2021
             Washington,                        DC 20202-2110
                Number         Street      City State Zip Code                                  As of the date you file,               the claim       is: Check      all that apply
             Who         incurred          the debt".      Check     one.

                N Debtor             1 only                                                     €      Contingent

                Cl Debtor            2 only                                                     €      Unliquidated

                €      Debtor        1 and Debtor         2 only                                []     Disputed
                                                                                                Type      of NONPRIORITY               unsecured         claim:
                []   At least one of the debtors                   and another

                €      Check         if this    claim    is for a community
                                                                                                N      Student      loans

                debt                                                                            €      Obligations      arising      out of a separation          agreement        Or divorce      that you d:d not
                Is the claim            subject     to offset?                                  report    as priority       claims

                N      No                                                                       []     Debts     to pension       or profit-sharing       plans, and other similar              debts

                €    Yes                                                                        €      Other.     Specify

                                                                                                                                Student          loan.        Exact        amount          unknown.




0jjj(jBi   porm 106 E/F                                                          Schedule   EIF: Creditors            Who      Have     lJnsecured        Claims                                                           Page   7 of 18

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  Debtor '        Robert  Nathan Reicher
  De5tOr 2        Suzanne   P Carter-Reicher                                                                                             CaSe       number      (if known)




(EII         Discover
             Nonpriority
                                  Bank"
                               Creditor's        Name
                                                                                       Last     4 digits     of account    number          0995                                                         $7,478.00

             Attn: Roger C. Hochschild,                               CEO                                                                  Opened            1 0/2007        Last Active
             502 East Market   Street                                                  When was the debt incurred?                         6/2g2j
             Greenwood,    DE 19950
             Number        Street    City State Zip Code                               As of the date you file,           the claim      is: Check     all that apply
             Who      incurred       the debt?        Check    one.

             0      Debtor    1 only
                                                                                        € Contingent
             CI Debtor        2 only
                                                                                        € Unliquidated
             N Debtor         1 and Debtor          2 only
                                                                                        € Disputed
             € At least one of the debtors                   and another               Type     of NONPRIORITY            unsecured        claim:

             @ Check          if this    claim     is for a community                   CI Student         loans

             debt
                                                                                       € Obligations arising out of a separation                    agreement     or divorce   that you d:d not
             Is the claim         subject       to offset?                             report as priority claims

             a No                                                                      € Debts to pension            or prom-sharing       plans, and other similar          debts

             €      Yes                                                                 N Other.      Specify       Credit Card. Exact amount unknown


             Discover             Bank"                                                Last 4 digits         of account    number           5221                                                        $2,733.00
             Nonpriority       Creditor's        Name
             Attn: Roger C. Hochschild,                               CEO                                                                   Opened           08/2(H 1        Last Active
             502 East   Market   Street                                                Whenwasthedebtincurred?                              07/202j
             Greenwood,      DE 19950
             Number        Street    City State Zip Code                               As of the date you file,           the claim      is: Check     all that apply
             Who      incurred       the debt?       Check     one.

             []     Debtor    1 only
                                                                                       € Contingent
             €      Debtor    2 only
                                                                                       € Unliquidated
             N Debtor         S and Debtor          2 only
                                                                                       € Disputed
             Cl At least       one of the debtors            and another               Type     of NONPRIORITY            unsecured        claim:

             N Check          if this    claim     is for a community                  € Student           loans

             debt
                                                                                        € Obligations          arising out of a separation          agreement     or divorce    that )/Ou did not
             Is the claim         subject       to offset?                             report    as priority     claims

             N No                                                                      € Debts to pension            or profit-sharing     plans,     and other similar      debts

             €    Yes                                                                   ffi Other.     Specify      Credit Card. Exact amount unknown


             First        National          Bank        of   Omaha"                    Last 4 digits         of account    number           3956                                                      $23,385.00
             Nonpriority       Creditor's       Name
             Attn:        Clark         D. Lauritzen,           President                                                                   Opened           07/201 1        Last    Active
             1620         Dodge          Street                                        When was the debt incurred?                          8/20j9
             Omaha,            NE       68197
             Number        Street    City State Zip Code                               As of the date you file,           the claim      is: Check     all that apply
             Who      incurred       the debt?       Check     one.

             CI Debtor        1 only
                                                                                       € Contingent
             €      Debtor    2 only
                                                                                       € Unliquidated
             ffl Debtor       1 and Debtor         2 only
                                                                                       € Disputed
             €      At least one of the debtors              and another               Type     of NONPRIORITY            unsecured        claim:

             N Check          if this    claim     is for a community                  € Student           loans

             debt
                                                                                       [1 0bligations arising out of a separation                   agreement     or divorce    that you did not
             Is the claim         subject       to offset?                             report as priority claims

             ffi No                                                                    € Debts to pension            or profit-sharing      plans,    and other similar      debts

             € Yes                                                                     ffi Other.     Specify       Credit Card. Exact amount unknown




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 Debtor     1        Robert         Nathan            Reicher
 DeltOr     2        Suzanne               P Carter-Reicher                                                                                       CaSe        number      (iTknown)




EIJ             First
             Nonpriority
                           National
                                 Creditor's
                                               Bank
                                                     Name
                                                            of   Omaha"                    Last 4 digits         of account         number           4193                                                      $16,394.00

             Attn: Clark   D. Lauritzen,                            President                                                                        Opened            7/2012         LastActive
             1620 Dodge     Street                                                         When      was       the debt       incurred?              8/2019
             Omaha,     NE 68197
             Number           Streei    City State Zip Code                                As of the date you file,               the claim       is: Check      all that apply

             Who        incurred        the debt?        Check     one.

                €    Debtor     1 only
                                                                                           0      Contingent
                €    Debtor     2 only
                                                                                           CI Unliquidated
                N Debtor        1 and Debtor           2 only
                                                                                           0      Disputed
                Cl At least one of the debtors                   and another               Type     of NONPRIORITY                 unsecured         claim:

                ffi Check        if this     claim    is for a community                   €    Student        loans

             debt                                                                          €      Obligations       arising     out of a separation           agreement     or divorce     that you did not
             Is the claim          subject         to offset?                              report    as priority       claims

                ffi No                                                                     €      Debts     to pension        or profit-sharing      plans. and other similar          debts

                € Yes                                                                      ffl Other.       Specify        Credit Card.                Exact amount unknown



                Firstmark              Services                                            Last     4 digits     of account         number            2550                                                      $14,094.00
             Nonpriority         Creditor's          Name

                                                                                                                                                      Opened €Y/2007                   Last Active
             121        South          13th        Street
                                                                                           Whenwasthedebtincurred?                                    6/202j
                Lincoln,           NE       68508
             Number           Street    City State Zip Code                                As of the date you file,               the claim       is: Check      all that apply
             Who        incurred        the debt?        Check     one.

                N [)ebtor       1 only                                                     €      Contingent

                €    Debtor     2 only                                                     €      Unliquidated

                []   Debtor     1 and Debtor           2 only                              €      Disputed
                                                                                           Type      of NONPRIORITY                unsecured         claim:
                []   At least One of the debtors                 and another

                []   Check       if this     claim    is for a community
                                                                                           a      Student      loans

             debt                                                                          [1] Obligations          arising     out of a separation           agreement     or divorce     that you d:d not
             Is the claim          subject         to offset?                              report    as priority       claims

                N No                                                                       €      Debts     to pension        or profit-sharing       plans. and other similar         debts

                € Yes                                                                      0      0ther.    Specify

                                                                                                                           Student           loan.       Exact         amount         unknown.



             Internal            Revenue               Service"                            Last     4 digits     of account         number            2469                                                      $10,399.00
             Nonpriority         Creditor's          Name
             Centralized Insolvency                               Operation                Whenwasthedebtincurred?                                    2gj4
             Pa Box 7346
             Philadelphia,                    PA      19101-7346
             Number           Street    City State Zip Code                                As of the date you file,               the claim       is: Check      all that apply

             Who        incurred        the debt?        Check     one.

                []   Debtor     1 only
                                                                                           0      Contingent
                0    Debtor      2 only
                                                                                           CI Unliquidated
                N Debtor        1 and Debtor           2 only
                                                                                           €      Disputed
                € At least one of the debtors                    and another               Type      of NONPRIORITY                unsecured         claim:

                N Check          if this     claim    is for a community                   [I     Student      loans

             debt                                                                          €      Obligations       arising     out of a separation           agreement     or divorce     that you d:d not
             Is the claim          subject         to offset?                              report     as priority      claims

                ffi No                                                                     €      Debts     to pension        or profit-sharing       plans, and other similar           debts

                []   Yes                                                                   a Other. Specify                Federal Taxes owed




Official   Form IC)6 E/F                                                       Schedule   EIF: Creditors         Who      Have      Unsecured         Claims                                                       Page   9 of 18

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                     Case 6:21-bk-15157-MH                                          Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                                             Desc
                                                                                    Main Document   Page 33 of 73
 Debtor     1        Robert          Nathan           Reicher
 De5iOr     2        Suzanne               P Carter-Reicher                                                                                      Case        number       (:txnown)



                Internal         Revenue               Service"                              Last     4 digits     of account       number           2469                                                         $2,229.00
             Nonpriority         Creditor's          Name
             Centralized   Insolvency      Operation                                         Whenwasthedebtincurred?                                 20j3
             Pa Box 7346
             Philadelphia,    PA 19101-7346
             Number           Street    City State Zip Code                                  As of the date you file,              the claim     is: Check      all that apply
             Who       incurred        the debt?         Check    one.

                €    Debtor     1 only
                                                                                             €      Contingent
                €    Debtor     2 only
                                                                                             €      Unliquidated
                a Debtor 1 and Debtor 2 only                                                 €      Disputed
                €    At least one of the debtors                and another                  Type     of NONPRIORITY               unsecured       claim:

                @ Check         if this      claim    is for a community                     CI Student          loans

             debt                                                                            € Obligations arising out of a separaUon                        agreement      or divorce      that you did not
             Is the claim            subject     to offset?                                  report as priority claims

                N No                                                                         €      Debts to pension         or profit-sharing       plans, and other similar          debts

                []   Yes                                                                     ffl Other.       Specify       Federal          Taxes      owed



             JPMorgan                  Chase           Bank,      N.A.*                      Last     4 digits     of account       number           2228                                                      $804,283.00
             Nonpriority         Creditor's          Name
             Attn:          James            Dimon,         CEO                                                                                      Opened           07/07        Last      Active
             11 1 I        Polaris           Parkway                                         When      was       the debt    incurred    ?           06/j7
             Columbus,                     OH 43240
             Number           Street    City State Zip Code                                  As of the date you file, the claim                  is: Check      all that apply
             Who       incurred        the debt?         Check    one.

                €    Debtor 1 only
                                                                                             €      Contingent
                €    Debtor     2 only
                                                                                             €      Unliquidated

                @ Debtor 1 and Debtor                  2 only                                N      Disputed

             €       At least one of the debtors                and another                  Type     of NONPRIORITY               unsecured       claim:

                N Check          if this     claim    is for a community                     []     Student      loans

             debt                                                                            [] Obligations arising out of a separation                      agreement      or divorce      that you did not
             Is the claim            subject     to offset?                                  report as priority claims

                N No                                                                         €      Debts to pension         or profit-sharing       plans, and other similar          debts

                                                                                                                            Creditor          was listed on Debtor's credit
                                                                                                                            report.          Listed in caution. Amount
             [1 Yes                                                                      '          o!He' SPec"V unknown                       if any.         Validity        of debt        disputed



             JPMorgan                  Chase           Bank,      N.A.*                      Last     4 digits     of account       number           4501                                                          $5,260.00
             Nonpriority         Creditor's      Name
             Attn:          James            Dimon,         CEO                                                                                      Opened           03/2013          Last       Active
             1111          Polaris           Parkway                                         Whenwasthedebtincurred?                                 7/2g2j
             Columbus,                     OH   43240
             Number           Street    City State Zip Code                                  As of the date you file,              the claim     is: Check      all that apply
             Who       incurred        the debt?         Check    one.

             €       Debtor     1 only
                                                                                             € Contingent
             [1      Debtor     2 only
                                                                                             [] Unliquidated
                N Debtor 1 and Debtor 2 only                                                 [] Disputed
                €    Atleast     One of the debtors             and another                  Type     of NONPRIORITY               unsecured       claim:

                ffl Check       if this      claim    is for a community                     € Student           loans

             debt                                                                            € Obligations           arising out of a separation             agreement        ot divorce    that you d:d not
             Is the claim            subject     to offset?                                  report    as priority     claims

                N No                                                                         [] Debts to pension             or profit-sharing       plans, and other similar             debts

             € Yes                                                                           ffl Other. Bpec(y              Credi[ Card. EXaCt amount unknown



Official   f@rm 106 E/F                                                       Schedule   E/F: Creditors            Who      Have    Unsecured        Claims                                                         Page 10 of 4 8

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                     Case 6:21-bk-15157-MH                                         Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                                           Desc
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 Debtor     1        Robert          Nathan          Reicher
 Debtor     2        Suzanne            P Carter-Reicher                                                                                         Case       number      (ifknown)



             JPMorgan                  Chase          Bank,       N.A.*                  Last 4 digits          of account         number          4043                                                        $1 ,451 .00
             Nonpriority         Creditor's     Name
            Attn:             James         Dimon,         CEO                                                                                     Opened            10/2013         Last      Active
            1 1 Il         Polaris          Parkway                                      When        was     the debt        incurred?             07/2021
             Columbus,                    OH 43240
             Number           Street   City State Zip Code                               As of the date you file,                 the claim      is: Check      all that apply
             Who         incurred      the debt?       Check      one.

                [1 Debtor       1 only
                                                                                            €    Contingent
                [1 Debtor       2 only
                                                                                            €    Unliquidated
                N Debtor        1 and Debtor          2 only
                                                                                            €    Disputed

                €    At least one of the debtors               and another               Type        of NONPRIORITY               unsecured        claim:

                N Check         if this     claim    is for a community                     [I   Student     loans

             debt                                                                           []   Obligations       arising      out of a separation         agreement     or divorce     that you did not
                Is the claim         subject    to offset?                                  report as priority         claims

                @ No                                                                        []   Debts to pension            or profit-sharing     plans, and other similar          debts

                €    Yes                                                                    N Other.       Specify         Credit Card.                Exact amount unknown



[EJ]         JPMorgan
                Nonpriority
                                       Chase
                                 Creditor's
                                                      Bank,
                                                    Name
                                                                  N.A.*                     Last4digitsofaccountnumber                              8919                                                          $747.00

             Attn: James                    Dimon,         CEO                                                                                      Opened           03/2006         Last      Active
             1114 Polaris                   Parkway                                      Whenwasthedebtincurred?                                    g7/2g2j
                Columbus,                  OH 43240
                Number        Street   City State Zip Code                               As of the date you file, the claim                      is: Check      all that apply

             Who         incurred      the debt".      Check      one.

                €      Debtor   1 only
                                                                                            €    Contingent
                0      Debtor   2 only
                                                                                            €    Unliquidated
                ffl Debtor       S and Debtor         2 only
                                                                                            €    Disputed
                €    At least one of the debtors               and another                  Type     of NONPRIORITY               unsecured        claim:

                B Check          if this    claim    is for a community                     €    Student      loans

                debt                                                                        0    0bligations       arising      out of a separation         agreement      Or divorce    that you d:d not
                Is the claim         subject    to offset?                                  report   as priority       claims

                N No                                                                        €    Debts to pension            or profit-sharing      plans, and other similar         debts

                0    Yes                                                                    8    0ther.    53pe,,,(y       Credit Card.                Exact amount unknown



                Resurgent              Capital         Services                             Last 4 digits        of account         number             5153                                                   $22,488.00
                Nonpriority      Creditor's         Name
             Attn: Bankruptcy                                                               Whenwasthedebtincurred?                                 Opened            1/2020
                Po      Box     10497
                Greenville,               SC 29603
                Number        Street    City State Zip Code                                 As of the date you file,              the claim      is: Check       all that apply
                Who      incurred      the debt?       Check      one.

                CI Debtor       1 only
                                                                                            €    Contingent
                €      Debtor    2 only
                                                                                            €    Unliquidated
                N [)ebtor       1 and Debtor          2 only
                                                                                            €    [)isputed
                €    At least One of the debtors               and another                  Type     of NONPRIORITY                unsecured       claim:

                N Check          if this    claim    is for a community                     CI Student         loans

                debt                                                                        €    Obligations       arising      out of a separation         agreement      or divorce    that you did not
                Is the claim         subject    to offset?                                  report   as priority       claims

                N No                                                                        []   Debts to pension            or profit-sharing         plans,   and other similar      debts

                                                                                                                           12     Cross        River        Bank.       Exact       amount
                [1 Yes                                                                  '        Other.Specify unJnow(l




Official   Form 106 E/F                                                      Schedule   E/F: Creditors           Who      Have Unsecured               Claims                                                    Page 41 of 1 8

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  Debtor     1       Robert           Nathan           Reicher
  Debtor     2       Suzanne               P Carter-Reicher                                                                                           Case      number      (ifknown)




IEI          The
             Nonpriority
                           Dunning

                                    Creditor's
                                               Law

                                                    Name
                                                        Firm                                   Last     4 digits     of account        number           3956                                                              $0.00

             9619           Chesapeake           Drive                                         When      was the debt            incurred?

             San           Diego,          CA 92123
              Number          Street      City State      Zip Code                             As of the date you file, the claim                     is: Check    all that apply
             Who       incurred         the debt?         Check     one.

                 €   Debtor     1 only
                                                                                               €      Contingent
                 €   Debtor     2 only
                                                                                               €      Unliquidated
                 @ Debtor 1 and Debtor                 2 only
                                                                                               []     Disputed
              []     At least one of the debtors                 and another                   Type     of NONPRIORITY                unsecured        claim:

              ffl Check         if this     claim      is for a community                      €    Student        loans
             debt                                                                              []     Obligations      arising      out oF a separation         agreement     or divorce   that you did not
             Is the claim            subject        to offset?                                 report    as priority       claims

              N No                                                                             €    Debts to pension             or profit-sharing      plans, and other similar        debts

                                                                                                                               Attorney         for First National                  Bank   of Omaha
             0       Yes                                                                   '          o'he' S9ao'f'/ on Case#                    PSC2003956




II                                                                                             Last4digitsofaccountnumber                               4193                                                              $0.00

                                                                                               When      was       the debt      incurred?


                                                                                               As of the date you file, the claim                    is: Check     all that apply




                                                                                               []   Contingent

                                                                                               [I   Unliquidated

                                                                                               €    Disputed
                                                                                               Type     of NONPRIORITY                unsecured        claim:

             a Check            if this     claim     is for a community                       €    Student        loans
             debt                                                                              []   Obligations        arising      out of a separation         agreement     or divorce   that you   o:o not
             Is the claim            subject      to offset?                                   report    as priority       claims

             a No                                                                              €    Debts to pension             or ptofit-shating      plans,    and other similat     debts

                                                                                                                              Attorney          for First    National               Bank    of Omaha
             €       Yes                                                                   '        Other. Specify             on Case#              PSC2004193




E3           Union
             Nonpriority
                              Bank,
                                Creditor's
                                            N.A.*
                                                    Name
                                                                                               Last 4 digits         of account        number           4884                                                        $8,068.00

             Masashi                Oka,         CEO                                                                                                    Opened           08/2012        Last    Active
             400       California                Street                                        Whenwasthedebtincurred?                                  05/20j9
             San        Francisco,                CA 941 04
             Number          Street     City State Zip Code                                    As of the date you file, the claim                    is: Check     all that apply
             Who       incurred         the debt?         Check    one.

             €       Debtor     1 only
                                                                                               €    Contingent
             0       Debtor     2 only
                                                                                               €    Unliquidated
             ffl Debtor 1 and Debtor                   2 only
                                                                                               []   Disputed
             Cl At least one of the debtors                      and another               Type         of NONPRIORITY                unsecured        claim:

             N Check            if this     claim     is for a community                       €    Student        loans
             debt                                                                              €    Obligations        arising      out of a separation         agreement     or divorce   that you did not
             Is the claim            subject      to offset?                                   report    as priority       claims

             N No                                                                              €    Debts to pension             or profit-sharing      plans,    and other similar     debts

             [] Yes                                                                            8    0ther.     Specify        Credit         Card.       Exact       amount unknown




Official   Form 106 E/F                                                        Schedule   E/F: Creditors             Who     Have Unsecured             Claims                                                       Page 12 of 18
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 Debtor          1         Robert           Nathan        Reicher
 De5tOr          2         Suzanne            P Carter-Reicher                                                                                           Cafe      number      (if known)



                  Wells             Fargo        Bank,      N.A."                                  Last 4 digits      of account          number           2246                                                                 $6,7 41 .00
                     Nonpriority       Creditor's    Name
                  Attn: Charles    Scharf,     CEO                                                                                                         Opened           1 0/20al5       Last Active
                  101 North Phillips       Avenue                                               When        was the debt            incurred?              11/2018
                  Sioux  Falls, SD 57104
                  Number            Street    City State Zip Code                               As of the date            you file, the claim           is: Check     all that apply
                  Who           incurred      the debt?     Check     one.

                     [I    Debtor     1 only
                                                                                                   €   Contingent
                     €     Debtor     2 only
                                                                                                   €   Unliquidated
                      N Debtor        1 and Debtor        2 only
                                                                                                   €   Disputed
                     €     At least one of the debtors              and another                 Type        of NONPRIORITY              unsecured         claim:

                      ffl Check        if this   claim    is for a community                       CI Student      loans

                  debt                                                                             €   Obligations        arising     out of a separation          agreement      ot divorce   that you did not
                     Is the claim          subject   to offset?                                    report   as priority    claims

                      N No                                                                         €   Debts to pension             or profit-sharing      plans,    and other similar      debts

                                                                                                                                [Voluntarily              Surrendered               on 04/2019]
                     €     Yes                                                                 '       o'he' sPe'-'fV Automobile                          loan.       Exact       amount           unknown


JList                              Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified     about your bankruptcy,       for a debt that you already     listed in Parts 1 or 2. For example,   if a collection                                                         agency
   is trying to collect from you for a debt you owe to someone        else, list the original  creditor  in Parts 1 or 2, then list the collection   agency   here. Similarly,                                                         if you
   have more than one creditor     for any of the debts that you listed in Parts 1 or 2, list the additional      creditors    here. If you do not have additional    persons                                                         to be
   notified  for any debts in Parts 4 or 2, do not fill out or submit   this page.

 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditor?
 Amex                                                                                   Line4.l        or(chech one):                               [1 Part 1: Creditors          with Priority     Unsecured   Claims
 P.o.       Box            981537
                                                                                                                                                    H Part 2: Creditors           with Nonpriority      Unsecured   Claims
 EI     Paso,              TX     79998
                                                                                        Last 4 digits        of account      number


 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditor?
 Amex                                                                                   Line   4.2 or (chech one):                                  €     Part 1 : Creditors      with Priority     Unsecured   Claims
 P.o. Box 981 537
                                                                                                                                                    N Part 2: Creditors           with Nonpriority      Unsecured   Claims
 EI Paso, TX 79998
                                                                                        Last 4 digits of account             number


 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditor?
 Amex                                                                                   Line   4.3 of (chech one).'                                 €     Part 1 : Creditors      with Priority     Unsecured   Claims
 P.o.       Box            981537
                                                                                                                                                    ffl Part 2: Creditors         with Nonpriority      Unsecured   Claims
 EI     Paso,              TX     79998
                                                                                        Last 4 digits        of account      number


 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditor?
 Amex                                                                                   Line   4.4 of (Check          one).'                        €      Part 1 : Creditors      with Priority    Unsecured   Claims
 P.o.       Box            981537
                                                                                                                                                    @ Part 2: Creditors            with Nonpriority     Unsecured   Claims
 EI     Paso,              TX     79998
                                                                                        Last 4 digits        of account      number


 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditora2
 Bank of America                                                                        Line   4.5 of (Check          one):                         €      Part 1 : Creditors      with Priority    Unsecured   Claims
 Po Box 982238
                                                                                                                                                    N Part 2: Creditors            with Nonpriority     Unsecured   Claims
 EI Paso, TX 79998
                                                                                        Last 4 digits of account             number


 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditor?
 Bank of America                                                                         Line4.6        of (Check     one).'                        []     Part 1 : Creditors      with Priority    Unsecured   Claims
 Po Box 982238
                                                                                                                                                    N Part 2: Creditors            with Nonpriority     Unsecured   Claims
 EI Paso, TX 79998
                                                                                        Last 4 digits        of account      number


 Name and Address                                                                       On which        entry in Part 1 or Part 2 did you list the original                    creditor?
 Bank            of       America                                                       Line   4.7 of (Check          one):                         Cl Part 1 : Creditors          with Priority    Unsecured   Claims
 Po        Box            982238
                                                                                                                                                    N      Part 2: Creditors       with Nonpriority     Unsecured   Claims
 EI     Paso,              TX     79998
                                                                                         Last 4 digits       of account      number


Official    Form 106 E/F                                                          Schedule     E/F: Creditors         Who      Have Unsecured               Claims                                                                Page 13 of 18

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 Debtor          4      Robert           Nathan        Reicher
 Deb[Or          2      Suzanne             P Carter-Reicher                                                                            CaSe   number         (iTknown)



 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original      creditor?
 Bank        of        America,             N.A.                                 Line    4.5 ot (chech one).'                      0     Part 1 : Creditors      with Priority    Unsecured    Claims
 c/o       C T Corporation                       System
                                                                                                                                   N Part 2: Creditors           with Nonpriority     Unsecured    Claims
Agent            for     Service            of     Process
 818       West          Seventh            Street,          Suite   930
 Los       Angeles,                 CA    90017
                                                                                 Last 4 digits of account        number


 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original      creditor?
 Bank         of       America,             N.A.                                 Line 4.s of (Check one):                          € Part 1 : Creditors          with Priority    Unsecured    Claims
Attn:            Brian         T.     Moynihan,              CEO
                                                                                                                                   ffl Part 2: Creditors         with Nonpriority     Unsecured    Claims
150        North          College           Street
 NCal-028-17-06
 Charlotte,               NC        28255
                                                                                 Last 4 digits    of account      number


 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original      creditor?
 Bank         of       America,             N.A.                                 Line    4.5 of (cher*     one):                   €     Part 1 : Creditors      with Pnority     Unsecured    Claims
 Attn:           Brian         T.     Moynihan,              CEO
                                                                                                                                   N Part 2: Creditors           with Nonpriority     Unsecured    Claims
 Legal           Order         Processing
 Pa        Box         15047
 Wilmington,                     DE      19850-5047
                                                                                 Last 4 digits of account         number


 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original      creditor?
 Bank         of       America,             N.A.                                 Line    4.5 of (Check     one):                   CI Part 1 : Creditors         with Priority    Unsecured    Claims
 Attn:           Brian         T.     Moynihan,              CEO
                                                                                                                                   N Part 2: Creditors           with Nonpriority     Unsecured    Claims
 Pa        Box         5170
 Attn:           Unit      CA6-919-01-41
 Simi       Valley,            CA        93062
                                                                                 Last 4 digits    of account      number


 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original          creditor?
 Bank         of       America,             N.A.                                 Line    4.6 of (Check      one).'                 0     Part 1 I Creditors      with Priority    Unsecured    Claims
 Attn:           Brian         T.     Moynihan,              CEO
                                                                                                                                    a Part 2: Creditors          with Nonpriority     Unsecured    Claims
 Legal           Order         Processing
 Pa        Box         15047
 Wilmington,                     DE      19850-5047
                                                                                 Last 4 digits    of account      number


 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original          creditor?
 Bank         of America,                   N.A.                                 Line 4.e of (Check one):                           0 Part 1: Creditors          with Priority    Unsecured    Claims
 c/o C T Corporation    System                                                                                                      ffl Part 2: Creditors        with Nonpriority     Unsecured     Claims
 Agent for Service   of Process
 818 West Seventh    Street, Suite                                   930
 Los Angeles,   CA 90017
                                                                                 Last 4 digits    of account       number


 Name and Address                                                                On which      entry   in Part j or Part 2 did you list the original          creditor?
 Bank of America,  N.A.                                                          Line 4.6 ot <chech one):                           CI Part 1 : Creditors        with Pnority     Unsecured    Claims
 Attn: Brian T. Moynihan,                                    CEO                                                                    ffl Part 2: Creditors         with Nonpriority    Unsecured     Claims
 Pa Box 5170
 Attn: Unit CA6-919-01-41
 Simi Valley, CA 93062
                                                                                 Last 4 digits    of account       number


 Name and Address                                                                On which      entry   in Part 1 or Part 2 did you list the original          creditor?
Bank of America,  N.A.                                                            Line 4.e of (check one)'                          € Part 1 : Creditors          with Priority   Unsecured     Claims
Attn: Brian T. Moynihan,                                     CEO                                                                    N Part 2: Creditors           with Nonpriority     Unsecured    Claims
150 North College  Street
 NC1-028-17-06
 Charlotte,  NC 28255
                                                                                 Last 4 digits    of account       number


 Name and Address                                                                 On which     entry   in Part S or Part 2 did you list the original          creditor?
 Bank         of America,                   N.A.                                  Line   4.7 ot (check one).'                       []   Part 1 : Creditors       with Priority    Unsecured    Claims
 c/o C T Corporation                               System

Official    Form 106 E/F                                                   Schedule      E/F: Creditors     Who      Have   Unsecured      Claims                                                                 Page 14 of 18

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                                                                            Main Document   Page 38 of 73
 Debtor       1         Robert          Nathan        Reicher
 De5iOr          2      Suzanne             P Carter-Reicher                                                                           CaSe   number         (if hnown)


 Agent for Service                          of Process                                                                            al Part 2: Creditors          with Nonpriority     Unsecured      Claims'
 818 West Seventh                           Street, Suite       930
 Los Angeles,                       CA 90017
                                                                            Last 4 digits of account         number


 Name and Address                                                           On which entry in Part 1 or Part 2 did you list the original                 creditor?
 Bank        of      America,               N.A.                            Line    4.7 ot (check one):                           []    Part 1 : Creditors      with Priority    Unsecured   Claims
 Attn:           Brian         T.     Moynihan,         CEO
                                                                                                                                  N     Park 2: Creditors       with Nonpriority     unsecured      Claims
 Pa        Box       5170
 Attn:           Unit      CA6-919-01-41
 Simi       Valley,            CA      93062
                                                                            Last 4 digits of account           number


 Name and Address                                                           On which       entry in Part S or Part 2 did you list the original           creditor?
 Bank        of      America,               N.A.                            Line    4.7 ot (chech one):                           €     Part 1 : Creditors      with Priority    Unsecured   Claims
 Attn:           Brian         T.     Moynihan,         CEO
                                                                                                                                  ffl Part 2: Creditors         with Nonpriority     Unsecured      Claims
150        North          College            Street
 NCI-028-17-06
 Charlotte,               NC        28255
                                                                            Last 4 digits of account           number


 Name and Address                                                           On which       entry in Pari 1 or Part 2 did you list the original           creditor?
 Bank         of     America,               N.A.                            Line    4.7 ot (check one).                           CI Part 1 : Creditors         with Priority    Unsecured   Claims
 Attn:           Brian         T.     Moynihan,         CEO
                                                                                                                                  N Part 2: Creditors           with Nonptiority     Unsecured      Claims
 Legal           Order          Processing
 Pa        Box       15047
 Wilmington,                     DE     19850-5047
                                                                            Last 4 digits of account           number


 Name and Address                                                           On which       entry in Part 1 or Part 2 did you list the original               creditor?
 Barclays                Bank         Delaware                              Line    4.8 of (Check        one):                    CI Part 1 : Creditors         with Priority    Unsecured   Claims
 P.o.       Box         8803
                                                                                                                                  N Part 2: Creditors           with Nonpriority     Unsecured      Claims
 Wilmington,                     DE     19899
                                                                            Last 4 digits of account           number


 Name and Address                                                           On which       entry in Part 1 or Part 2 did you list the original               creditor?
 Barclays                Bank         Delaware                              Line    4.9 ot (check one)'                           []    Part 1I Creditors       with Priority    Unsecured   Claims
 P.o.       Box         8803
                                                                                                                                  N     Part 2: Creditors       with Nonpriority     Unsecured       Claims
 Wilmington,                     DE     19899
                                                                            Last 4 digits of account           number


 Name and Address                                                           On which       entry in Part 1 or Part 2 did you list the original               creditor?
 Barclays                Bank         Delaware                              Line 43j; of (Check one):                             € Part 1 : Creditors          with Priority    Unsecured   Claims
 P.o.       Box         8803
                                                                                                                                  ffl Part 2: Creditors         with Nonpriority     Unsecured       Claims
 Wilmington,                     DE     19899
                                                                            Last 4 digits of account           number


 Name and Address                                                           On which       entry in Part 1 or Part 2 did you list the original               creditor?
 Capital             One                                                    Line    g        of (cher* one):                      CI Part 1 : Creditors         with Priority    Unsecured   Claims
 Po Box 31293
                                                                                                                                  a Park 2: Creditors           with Nonpriority     Unsecured       Claims
 Salt Lake City,                      UT 84131
                                                                             Last 4 digits    of account       number


 Name and Address                                                           On which       entry in Part 1 ot Part 2 did you list the original               creditor?
 Chase Card Services                                                        Line    4.25     of (chech oney                       []    Part 1 : Creditors      with Priority    Unsecured   Claims
 Po Box 15369
                                                                                                                                  N Part 2: Creditors           with Nonpriority     Unsecured       Claims
 Wilmington,  DE 19850
                                                                            Last 4 digits of account           number


 Name and Address                                                            On which      entry in Pan 1 or Part 2 did you list the original                creditor?
 Chase Card Services                                                         Line   4.26     of (Check     one).'                 0     Part 1 : Creditors       with Priority   Unsecured       Claims
 Po Box 15369
                                                                                                                                   N Park 2: Creditors           with Nonpriority    Unsecured       Claims
 Wilmington,  DE 19850
                                                                             Last 4 digits of account            number


 Name and Address                                                           On which       entry in Part 1 or Part 2 did you list the original               creditor?
 Chase Card Services                                                         Line   g        of (Check     one):                   €    Part 1 : Creditors       with Priority   Unsecured       Claims
 Po Box 15369
                                                                                                                                   N Part 2: Creditors           with Nonpriority     Unsecured      Claims
 Wilmington,                     DE 19850

Official    Form 106 E/F                                              Schedule      ELF: Creditors       Who      Have    LJnsecured     Claims                                                                    Page 15 of 18

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                                                                               Main Document   Page 39 of 73
 Debtor        1       Robert            Nathan        Reicher
 De5tOr        2       Suzanne               P Carter-Reicher                                                                            CaSe   number         (il known)


                                                                               Last 4 digits of account         number


Name and Address                                                               On which       entry in Part 1 or Part 2 did you list the original          creditor?
Chase              Mortgage                                                    Line 4          of lCheck one):                       € Part S: Creditors         with Priority     Unsecured    Claims
700        Kansas              Lane
                                                                                                                                     N Part 2: Creditors         with Nonpriority      Unsecured    Claims
Monroe,                LA      71203
                                                                               Last 4 digits     of account     number


 Name and Address                                                              On which       entry in Part 1 or Pan 2 did you list the original           creditor?
 Citibank                                                                      Line   4.13     of (Check      one):                  €    Part 1 : Creditors      with Priority    Unsecured    Claims
 Po      Box          6217
                                                                                                                                     ffl Part 2: Creditors        with Nonpriority     Unsecured    Claims
 Sioux           Falls,        SD       57117
                                                                               Last 4 digits     of account     number


 Name and Address                                                              On which       entry in Part 1 or Part 2 did you list the original          creditor?
 Civil      Process                 Clerk                                      Line   4.16     ot (chech one).'                      €    Part 1 : Creditors      with Priority    Unsecured    Claims
 Office          of    the        u.s. Attorney                                                                                      N    Part 2: Creditors       with Nonpriority     Unsecured    Claims
 Room            7516,            Federal         Building
 300       North            Los        Angeles         Street
 Los       Angeles,                CA       90012
                                                                               Last 4 digits     of account     number


 Name and Address                                                              On which       entry in Part 1 or Pari2         did you list the original   creditor?
 Costco               Anywhere               Visa      Card                    Line   4. 14    of (Check      one):                  €    Part I : Creditors      with Priority    Unsecured    Claims
 Po      Box          6190
                                                                                                                                     @ Part 2: Creditors          with Nonpriority     Unsecured    Claims
 Sioux           Falls,        SD       57117
                                                                               Last 4 digits of account          number


 Name and Address                                                              On which       entry   in Part 1 or Part 2 did you list the original        creditor?
 Discover                 Financial                                            Line   g        of (Check      one).                  €    Part j: Creditors       with Priority    Unsecured    Claims
 Pob       15316
                                                                                                                                     N Part 2: Creditors          with Nonpriority     Unsecured    Claims
Wilmington,                       DE     19850
                                                                               Last 4 digits of account          number


 Name and Address                                                              On which       entry   in Part 1 ot Part 2 did you list the original        treditor?
 Discover                 Financial                                            Line   4, 18    of (Check      one).'                 0    Part 1 : Creditors      with Priority    Unsecured    Claims
 Pob       15316
                                                                                                                                     ffl Par( 2: Creditors        with Nonpnority      Unsecured    Claims
 Wilmington,                      DE     19850
                                                                               Last 4 digits     of account      number


 Name and Address                                                              On which       entry in Part 1 or Part 2 did you list the original              creditor?
 ECMC                                                                          Line   4.16     of (Check      one):                  €    Part 1 : Creditors      with Priority    Unsecured    Claims
 Pa        Box        16408
                                                                                                                                     N    Part 2: Creditors       with Nonpriority     Unsecured     Claims
 Saint         Paul,         MN         55116-0408
                                                                               Last 4 digits     of account      number


 Name and Address                                                              On which       entry in Part 1 or Pan 2 did you list the original               creditor?
 Education  Department                                                         Line 43j        ot (chechone):                        € Part 1 Creditors           with Priority    Unsecured    Claims
 Office of General  Counsel                                                                                                          @ Part 2: Creditors          with Nonpriority     Unsecured     Claims
 400 Maryland                      Ave. SW Room                  6E353
 Washington,                       DC 20202-2110
                                                                               Last 4 digits     of account      number


 Name and Address                                                              On which       entry   in Pan 1 or Part 2 did you list the original             creditor?
 First       National               Bank                                       Line   4.19     of (Check      one):                  €    Part S: Creditors       with Priority    Unsecured     Claims
 P.o.       Box         3412
                                                                                                                                      a Part 2: Creditors         with Nonpriority      Unsecured    Claims
 Omaha,                NE     68197
                                                                               Last 4 digits     of account      number


 Name and Address                                                              On which       entry   in Part 1 or Part 2 did you list the original            creditor?
 First National Bank                                                           Line   4.20     of (Check      one):                  0    Part 1 : Creditors      with Priority    Unsecured     Claims
 P.o. Box 3412                                                                                                                        N   Part 2: Creditors       with Nonpriority      Unsecured    Claims
 Omaha,                NE 68197
                                                                               Last 4 digits     of account      number


 Name and Address                                                              On which       entry in Part 1 or Part 2 did you list the original              creditor?
 First       National               Bank         of Omaha                      Line 4.19 of lCheck one):                             [) Part S: Creditors          with Priority    Unsecured    Claims
 Credit           Card Center                                                                                                        B Part 2. Creditors           with Nonpriority     Unsecured    Claims
 Attn:           Bankruptcy   Dept.

Official    Form 106 E/F                                                 Schedule     E/F: Creditors       Who        Have   Unsecured     Claims                                                                  Page 16 of 18

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 Debtor        1       Robert           Nathan          Reicher
 De5JOr          2     Suzanne               P Carter-Reicher                                                                             Case   number         (:iknown)


 P.0. Box 3331 Stop Code 3105
 Omaha, NE 68103-3331
                                                                                   Last 4 digits of account        number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original         creditor?
 First       National              Bank          of    Omaha                       Line   4."i9 ot (cher* one):                      €     Part 1 : Creditors      with Priority   Unsecured   Claims
 p.o.       Box         3412
                                                                                                                                     ffi Part 2: Creditors         with Nonpriority    Unsecured   Claims
 Omaha,                NE      68197
                                                                                   Last 4 digits    of account      number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original         creditor?
 First       National              Bank          of    Omaha                       Line   4.20 ot (chechone).'                       €     Part 1: Creditors       with Priority   Unsecured   Claims
 Credit            Card        Center
                                                                                                                                      N Part 2: Creditors          with Nonpriority    Unsecured   Claims
 Attn:           Bankruptcy                  Dept.
 p.o.       Box         3331         Stop        Code        3al05
 Omaha,                NE      68103-3331
                                                                                   Last 4 digits    of account      number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original         creditor?
 First       National              Bank          of    Omaha                       Line   4.20 of (Check      one):                   €    Part 1 : Creditors      with Priority   Unsecured   Claims
 p.o.       Box         3412
                                                                                                                                      ffl Part 2: Creditors        with Nonpriority    Unsecured   Claims
 Omaha,                NE      68197
                                                                                   Last 4 digits    of account      number


 Name and Address                                                                  On which     entry in Part1       ot Part 2 did you list the original    creditor?
 Firstmark                  Services                                               Line   4.21 of (Check         one).'               €    Part 1 : Creditors      with Priority   Unsecured   Claims
 Pa        Box         82522
                                                                                                                                      N Part 2: Creditors          with Nonpriority    Unsecured   Claims
 Lincoln,              NE      6850al-2522
                                                                                   Last 4 digits    of account      number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original         creditor?
 JPMorgan                    Chase          Bank,       N.A.                       Line   42j4 of (Check         one):                €    Part 1 : Creditors      with Priority   Unsecured   Claims
 c/o       C T Corporation                       System
                                                                                                                                      N Part 2: Creditors          with Nonpriority    Unsecured   Claims
 Agent           for      Service           of     Process
 818       West           Seventh            Street,         2nd     Floor
 Los       Angeles,                CA     90017
                                                                                   Last 4 digits    of account      number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original             creditor?
 JPMorgan                   Chase           Bank,       N.A.                       Line   4.25 of (chechone).'                        €    Part 1 : Creditors      with Priority   Unsecured   Claims
 c/o       C T Corporation                       System
                                                                                                                                      N Part 2: Creditors          with Nonpriority    Unsecured   Claims
 Agent           for      Service           of     Process
 818       West           Seventh            Street,         2nd     Floor
 Los       Angeles,                CA     90017
                                                                                   Last 4 digits    of account      number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original             creditor?
 JPMorgan                    Chase          Bank,       N.A.                       Line   4.26 of (cher* one):                        €    Part 1 : Creditors      with Priority   Unsecured   Claims
 c/o       C T Corporation                       System
                                                                                                                                      8    Part 2: Creditors       with Nonpriority    Unsecured   Claims
 Agent           for      Service           of     Process
 818       West           Seventh            Street,         2nd     Floor
 Los       Angeles,                CA       90017
                                                                                    Last 4 digits   of account      number


 Name and Address                                                                  On which     entry in Part 1 or Part 2 did you list the original             creditor?
 JPMorgan Chase Bank, N.A.                                                         Line   4.27 ot (chechone).'                        €    Part 1 : Creditors      with Priority   Unsecured   Claims
 c/o C T Corporation  System
                                                                                                                                      N Part 2: Creditors          with Nonpriority    Unsecured   Claims
 Agent for Service of Process
 8al8 West Seventh Street, 2nd Floor
 Los Angeles, CA 90017
                                                                                    Last 4 digits   of account      number


 Name and Address                                                                  On which     entry   in Part 1 or Part 2 did you list the original           creditor?
 Mufg          Union           Bank         N.a.                                   Line   4.31 ot (check one):                        €    Part 1 : Creditors      with Priority   Unsecured   Claims
 Po      Box         85643
                                                                                                                                      a Part 2: Creditors          with Nonpriority    Unsecured    Claims
 San        Diego,            CA     92186
                                                                                    Last 4 digits   of account      number


 Name and Address                                                                  On which     entry   in Part S or Part 2 did you list the original           creditor?

Official    Form 106 E/F                                                     Schedule     E/F: Creditors    Who       Have   Llnsecured     Claims                                                                Page 17 of 18

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   Debtor        1     Robert                Nathan        Reicher
   De5Or         2     Suzanne                 P Carter-Reicher                                                                                                       CaSe    num5er        (iT known)


  Navient                                                                                         Line 43§             of (Check        one):                   €      Part j: Creditors      W:th Priority   Unsecured       Claims
  Po Box 9500
                                                                                                                                                                ffl Part 2: Creditors         with Nonpriority      Unsecured      Claims
  Wilkes Barre,                    PA 18773
                                                                                                 Last 4 digits oT account                  number


  Name and Address                                                                               On which          entry in Park 1 or Part 2 did you list the original                  creditor?
  Resurgent                Capital              Services                                         Line     g            of (Check        one):                   € Part 1 : Creditors          with Priority   Unsecured       Claims
  C/o       Resurgent                  Capital           Services
                                                                                                                                                                N Part 2: Creditors           with Nonpriority        Llnsecured   Claims
  Greenville,                SC        29602
                                                                                                 Last 4 digits of account                  number


  Name and Address                                                                               On which          entry in Part 1 or Part 2 did you list the original                  creditor?
  Union Bank, N.A.                                                                               Line     4.31         of (Check        one).'                  €      Part 1 : Creditors     W:th Priority   Unsecured       Claims
  c/o Registered   Agent Solutions,                                            Inc
                                                                                                                                                                N      Part 2: Creditors      with Nonpriority      Unsecured      Claims
  Agent for Service    of Process
  1 220 S Street, Suite 150
  Sacramento,    CA 95811
                                                                                                 Last 4 digits of account                 number


  Name and Address                                                                               On which          entry in Part 1 or Part 2 did you list the original                  creditor?
  United States Dept. of Education                                                               Line     4j§          of (Check        one)'                   €      Part 1 : Creditors     W:th Priority   Unsecured       Claims
  Litigation  Support
                                                                                                                                                                ffi    Part 2: Creditors      with Nonpriority      Unsecured      Claims
  400 Maryland    Avenue, SW
  Washington,    DC 20202
                                                                                                 Last 4 digits of account                 number


  Name and Address                                                                               On which          entry in Part 1 or Part 2 did you list the original                  creditor?
  Wells          Fargo           Bank,          N.A.                                             Line     g            of (Check        one):                   € Part 1 : Creditors          with Priority   Unsecured       Claims
  c/o      CSC         - Lawyers                Inc.     Service
                                                                                                                                                                ffl Part 2: Creditors         with Nonpriority      Unsecured      Claims
  Agent          for     Service               of    Process
  251       Little       Falls         Drive
 Wilmington,                     DE      19808
                                                                                                 Last 4 digits of account                 number


  Name and Address                                                                               On which          entry in Part 1 or Park 2 did you list the original                  creditor?
 Wells           Fargo         Dealer               Services                                     Line     4,32         oT (Check        one).                   CI Part 1 : Creditors         with Priority   Unsecured       Claims
  Po       Box       71092
                                                                                                                                                                a Part 2 Creditors            with Nonpriority      Unsecured      Claims
  Charlotte,              NC       28272
                                                                                                 Last 4 digits of account                 number



jAdd                             the     Amounts               for    Each     Type     of Unsecured                   Claim

6. Total the amounts                     of certain       types        of unsecured        claims.        This     information           is for statistical      reporting      purposes        only.    28 LI.S.C.    §159. Add       the amounts    for each
   type of unsecured                     claim.

                                                                                                                                                                                                    Total   Claim
                                       6a.      Domestic             support    obligations                                                                             6a.
                                                                                                                                                                                                                            0.00
 Total
 claims
 from Part 1                           6b.      Taxes      and certain          other    debts     you     owe the government                                           6b.         $
                                       6c.      Claims         for death       or personal       injury       while     you      were     intoxicated                   6c.         $
                                       6d.      Other.     Add all other         priorRy unsecured              claims.     Write that amount           here.           6d.         $



                                       6e.      Total     Priority.       Add lines 6a through            6d.                                                           6e.         $                                       0.00



                                                                                                                                                                                                   Total    Claim
                                       6f.      Student         loans                                                                                                   6f.
                                                                                                                                                                                                                 35,783.00
 Total
 claims
 from Part 2                           6g.      Obligations arising   out of a separation        agreement or divorce   that
                                                you did not report as priority      claims
                                       6h.      Debts to pension    or profit-sharing      plans, and other similar   debts
                                       6i.      Other.     Add all other         nonpriority     unsecured             claims.    Write that amount
                                                here.                                                                                                                               $                         983,648.00

                                       6j.      Total     Nonpriority.          Add lines 6f through             6i.                                                    6j.         $                       1,019,431.00




Official    Form 106 E/F                                                                Schedule         EIF: Creditors            Who      Have Llnsecured            Claims                                                                        Page 18 of 4 8
Software Copytghl          (cl 1'l96-2021 Best Case, LLC - www bestcase com                                                                                                                                                                  Best Case Bankruptcy
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                                                                                                                                                           []   Check if this is an
                                                                                                                                                                amended    filing




Official                 Form           1 06G
Scliedule                     G: Executory                        Contracts               and        Unexpired           Leases                                                     12/15
Be as complete     and accurate as possible. If two married people are filing together,  both are equally responsible    for supplying correct
information.   If more space is needed, copy the additional  page, fill it out, number the entries, and attach it to this page. On the top of any
additional   pages, write your name and case number (if known).

1.         Do you have any executory               contracts       or unexpired      leases?
           W No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           [1 Yes. Fill In all of the information below eVen if the contacts of leases are listed On scheriure ye:property (Official Form 106 A/El).

2.         List separately   each person or company                     with whom you have the contract        or lease. Then state what each contract    or lease is for (for
           example,   rent, vehicle lease, cell phone).                 See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.



            Person       or company        with   whom      you have the contract         or lease        State what    the contract   or lease   is for
                                  Name, Number,   Street, City, State and ZIP Code

     2.1
             Name



             Number           Street

             City                                             State                  ZIP Code
     2.2
             Name



             Number            Street


             City                                             State                  ZIP Code
     2.3
             Name



             Number           Street


             City                                             State                  ZIP Code
     2.4
             Name



             Number            Street


             City                                             State                  ZIP Code
     2.5
             Name



             Number            Street


             City                                             State                  ZIP Code




Official     Form 1 06G                                      Schedule      G: Executory     Contracts   and Unexpired     Leases                                                    Page 1 of 1
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                                                                                                                                                        [0    Check    if this is an
                                                                                                                                                              amended      filing


Official             Form         1 06H
Schedule                   H: Your              Codebtors                                                                                                                           12/15


Codebtors      are people or entities who are also liable for any debts you may have. Be as complete       and accurate as possible.   If two married
people are filing together,    both are equally responsible   for supplying correct information.   If more space is needed, copy the Additional      Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional    Page to this page. On the top of any Additional      Pages, write
your name and case number (if known). Answer          every question.


      1. Do you have any codebtors?                   (If you are filing a joint case, do not list either spouse     as a codebtor.


      N No
      € Yes

      2. Within the last 8 years, have you lived in a community                         property  state or territory? (Community property         states and territories    include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico,                        Puerto Rico, Texas, Washington,   and Wisconsin.)


      € NO. GO to line 3.
      N Yes. Did your spouse, former spouse, or legal equivalent                        live with you at the time?


               Cl No
               ffl Yes.


                         In which community         state or territory      did you live?            -NONE-              . Fill in the name and current      address    of that person.



                         Name of your spouse, former spouse, or legal equivalent
                         Number. Street. City. Slaie & Zip Code


   3. In Column 1, list all of your codebtors.     Do not include your spouse as a codebtor   if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor    only if that person is a guarantor or cosigner.  Make sure you have listed the creditor   on Schedule    D (Official
      Form 106D), Schedule      E/F (Official  Form 106E/F), or Schedule  G (Official Form 106G). Use Schedule      D, Schedule E/F, or Schedule   G to fill
      out Column 2.

              Column   1: Your    codebtor                                                                                Column 2: The creditor   to whom         you owe the debt
              Name. Numbs, Street, City, Staie and ZIP Code                                                               Check all schedules that apply:


                                                                                                                          € Schedule    D, line
               Name
                                                                                                                          € Schedule    E/F, line
                                                                                                                          € Schedule    G, line

               Number                 Street
               City                                          State                                   ZIP Code




                                                                                                                          € Schedule    D, line
               Name
                                                                                                                          € Schedule    E/F, line
                                                                                                                          € Schedule    G, line

               Number                 Street
               City                                          State                                   ZIP Code




Official   Form       1 06H                                                                   Schedule     H: Your   Codebtors                                                  Page        I of 1
Soffware Copyright    (c) 1996-2021   Best Case, LLC - www beslcase   com                                                                                                  Best Case Bankruptcy
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Qjlfln!r*TJ'irCl!(a(4(i(41iiXP*1glN#T                                                                                                               .


 Debtor 4                                           Robert Nathan Reicher

 De5iOr2                                            Suzanne              P Carter-Reicher
 (Spouse,         if filing)



 UnitedStatesBankruptcyCourtforthe:                                             CENTRALDISTRICTOFCALIFORNIA

 Case number                                                                                                                                                         Check      if this is:
 (If known)
                                                                                                                                                                     €   An amended             filing

                                                                                                                                                                     €   A supplement             showing     postpetition        chapter
                                                                                                                                                                         13 income            as of the following       date:

 Official                       Form               1061                                                                                                                  MM / DD/ YYYY

 Schedulel:Yourlncome                                                                                                                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible     for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

5Describe                                           Employment
 1.        Fill      in your            employment
           information.                                                                                           Debtor     1                                               Debtor 2 or non-filing                 spouse

           If you have                  more      than one job                                                    €   Employed                                               []    Employed
           attach              a separate         page      with              Employment           status
           information                  about     additional                                                      N Not employed                                             8 Not employed
           employers.
                                                                              Occupation                          Retired                                                    Retired
            nclude part-time,   seasonal,                           or
           self-employed    work.                                             Employer's         name


           Occupation                   may include          student          EmDloYer's         addresS
           or homemaker,                       if it applies.



                                                                              How      long     employed     there?


5Give                                      Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $O in the space.                                                                            Include     your    non-filing
spouse        unless             you are separated.


If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines                                                                               below.     If you need
more       space,              attach     a separate         sheet       to this form.


                                                                                                                                                                   For Debtor      1             For     Debtor     2 or
                                                                                                                                                                                                 non-filing        spouse

           List        monthly            gross       wages,        salary,    and      commissions         (before   all payroll
 2         deductions).                   If not paid monthly,             calculate     what    the monthly     wage      would    be.                 2     $                   0.00           $                     0.00

 3.        Estimate               and      list    monthly         overtime      pay.                                                                   3,   +$b                  o.oo
                                                                                                                                                                                  0.00           +i
                                                                                                                                                                                                 -$                    O.00

 4.        Calculate               gross          Income.          Add    line 2 + line 3.




Official      Form 1061                                                                                                 Schedule          l: Your   Income                                                                          page     1
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 Debtor 1          Robert Nathan                       Reicher
 Debtor 2          Suzanne               P Carter-Reicher                                                                                                                             Case number lrfknown)



                                                                                                                                                                                       For Debtor       1                    For    Debtor        2 or
                                                                                                                                                                                                                             non-filing      spouse
           Copy      line      4 here                                                                                                                                    4.            $                    0.00             $                          0.00


 5.        List    all payroll          deductions:

                     Tax,       Medicare,          and         Social          Security       deductions                                                                 5a.           $                    0.00             $
                     Mandatory                contributions               for     retirement             plans                                                           5b.           $                    0.00             $
                     Voluntary             contributions                 for     retirement            plans                                                             5c.           $                    0.00             $
                     Required             repayments              of retirement                 fund      loans                                                          5d.           $                    0.00             $
                     Insurance                                                                                                                                           5e.           $                    0.00             $
                     Domestic             support         obligations                                                                                                    5f.           $                    0.00             $
                     Union         dues                                                                                                                                  5g.           $                    0.00             $
                     Other        deductions.             Specify:                                                                                                       5h.+          $                    0.00      +      $
 6.        Add     the      payroll       deductions.              Add          lines     5a+5b+5c+5d+5e+5f+5g+5h.                                                       6.           $                     0.00             $                          0.00

 7.        Calculate           total     monthly         take-home                pay.      Subtractline             6 from      line 4.                                 7.           $                     0.00             $                          0.00

 8.        List    all other           income      regularly             received:
           8a.       Net income                from rental          property              and     from      operating            a business,
                     profession,               or farm
                     Attach        a statement           for each              property     and business              showing        gross
                     receipts,          ordinary and necessary                          business         expenses,          and the total
                     monthly           net income.                                                                                                                                                          0.00             $
           8b.       Interest           and     dividends                                                                                                                                                   0.00             $
           8c.       Family    support    payments                         that     you,        a non-fiting         spouse,         or a dependent
                     regularly    receive
                     Include           alimony,        spousal       support,            child support,           maintenance,              divorce
                     settlement,              and property          settlement.                                                                                                                             0.00             $
           8d.       Unemployment                      compensation                                                                                                                                         0.00             $
           8e.       Social        Security                                                                                                                                                                 0.00             $
           8f.       Other        government               assistance               that    you         regularly      receive
                     Include           cash     assistance         and the value                 (if known)         of any non-cash                assistance
                     that you receive,                 such      as food          stamps        (benefits        under      the Supplemental
                     Nutrition          Assistance         Program)               or housing            subsidies.
                     Specify:                                                                                                                                            8f.           $                    0.00             $
           8g.       Pension            or retirement              income                                                                                                8g.           $                    0.00             $
           8h.       Other        monthly          income.          Specify:                                                                                             8h.+          $                    0.00       +     $

 9.        Add     all other           income.         Add       lines     8a+8b+8c+8d+8e+8f+8g+8h.



 10.       Calculate           monthly          income.           Add          line 7 +line        9.                                                               10            $                  0.00
           Add the entries              in line 10 for Debtor                   1 and Debtor              2 or non-filing          spouse.                                    I
 11.       State    all other           regular        contributions                to the expenses                  that    you     list    in Schedule            J.
           Include contributions    from                  an unmarried                  partner,        members          of your     household,             your    dependents,               your    roommates,            and
           other friends or relatives.
           Do not include              any amounts              already          included        in lines 2-10 or amounts                     that are not available                      to pay expenses          listed      in Schedule         J.
           Specify:                                                                                                                                                                                                                       11.+$                    0.00


 12.       Add     the      amount            in the    last     column           of line 10 to the amount                        in line 11.         The result          is the combined              monthly       income.
           Write that amount                  on the Summary                    of Schedules             and Statistical           Summary           of Certarn          Lrabilities        and Related       Data,         if it
           applies

                                                                                                                                                                                                                                                   Combined
                                                                                                                                                                                                                                                   monthly     income
 13.       Do you        expect          an increase             or decrease               within        the year        affer     you      file   this    fomi?
           N             No.

           CI            YeSExplain: -Debtor receives                     social security benefits (not income) in the amount of $2,329.00/mo which is
                                                       excluded by law 42 USC §407(a) and (b). Not subject to any bankruptcy or insolvency       laws
                                                       -Joint Filing Debtor receives social security benefits (not income) in the amount of $947.00/mo
                                                       which is excluded        law 42 USC     7 a and       Not su a    to an bankru       or i                                                                                                                 laws




Official     Form      1061                                                                                                         Schedule              l: Your    Income                                                                                    page     2
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                          s     -    *      *    * -      Y 1* I     k     -



 Deb'o"                               Robert           Nathan       Reicher                                                                          Check if this is:
                                                                                                                                                      []    An amended        filing
 Debtor 2                             Suzanne             P Carter-Reicher                                                                            []    A supplement showing postpetition chapter
(Spouse,          if filing)                                                                                                                                13 expenses as of the following date:


 United     States        Bankruptcy        Court      for the:     CENTRAL          DISTRICT           OF CALIFORNIA                                       MM / DD / YYYY

 Case      number
(If known)




 Official                      Form             1 06J
 ScheduleJ:YourExpenses                                                                                                                                                                                       12/15
 Be as complete    and accurate   as possible.  If two married people are filing together, both are equally                                                     responsible   for supplying correct
 information.  If more space is needed, attach another sheet to this form. On the top of any additional                                                          pages, write your name and case
 number (if known). Answer      every question.


3Describe                                 Your Household
1.         Is this        a joint        case?

           Cl No. Go to line 2.
           N Yes. Does Debtor                          2 live in a separate          household?

                           ffi No
                           € Yes. Debtor 2 must file Official Form 1 06J-2, Expenses                                  for Separate     Household    of Debtor 2.


2.         Do you have dependants?                                 N NO
           Do not list Debtor                   4 and              [] y e5.       Fill Out$hiSinformationfar             Dependent's relationship     to        Dependent's                 Does dependent
           Debtor 2.                                                             each   dependent..............          Debtor 1 or Debtor 2                   age                         live with you?

           Do not state the                                                                                                                                                                 €    NO
           dependents   names.                                                                                                                                                              €    Yes
                                                                                                                                                                                            []   No
                                                                                                                                                                                            €    Yes
                                                                                                                                                                                            €    NO
                                                                                                                                                                                            €    Yes
                                                                                                                                                                                            €    No
                                                                                                                                                                                            €    Yes
 3.        Do your expensesinclude                                             § NO
           expenses
           yourself
                      ofpeople otherthan
                    and your dependents?
                                                                               a Yes

3Estimate                                 Your Ongoing Monthly Expenses
 Estimate   your expenses    as of your bankruptcy     filing date unless you are using this form as a supplement     in a Chapter 13 case to report
 expenses    as of a date affer the bankruptcy   is filed. If this is a supplemental Schedule   J, check the box at the top of the form and fill in the
 applicable   date.

 Include expenses    paid for with non-cash    government    assistance    if you know
 the value of such assistance     and have included   it on Schedule    l: Yourlncome
 (Official Form 1061.)                                                                                                                                                 Your      expenses


 4.        The rental or home ownership     expenses    for your                                      residence.     Include    first mortgage
           payments and any rent for the ground or lot.                                                                                                4.   $                                          0.00


           If not included                in line 4:

           4a.          Real estate taxes                                                                                                                                                         342.00
           4b.          Property,         homeowner's,             or renter's      insurance                                                                                                     130.00
           4c.          Home maintenance,                    repair, and upkeep           expenses                                                                                                190.00
           4 d.         Homeowner's               association        or condominium            dues                                                                                               288.00
 5.        Additional               mortgage           payments          for your    residence,          such as home equity loans                                                                     0.00




Official     Form 106J                                                                                    Schedule    J: Your    Expenses                                                                     page 1
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 Debtor 1               Robert Nathan Reicher
 De5Or 2                Suzanne P Carter-Reicher                                                                     Case number (if known)


 6.        Utilities:
           6a.    Electricity, heat, natural gaS                                                                          6a. $                  270.00
           6b.    Water, sewer, garbage collection                                                                        6b. $                   56.00
           6c.    Telephone, cell phone, Internet, satellite, and cable services                                          6c. $                  210.00
           6d.    Other.Specify:                                                                                          6d.$                      0.00
 7.        Food and housekeeping supplies                                                                                  7. $                  800.00
 8.        Childcare and children's education costs                                                                        8. $                     0.00
 9.        Clothing, laundry, and dry cleaning                                                                             9. $                  150.00
 10.       Personal care products and services                                                                            40. $                   76.00
 11.       Medical and dental expenses                                                                                    11. $                  284.00
 12.       Transportation. Include gas, maintenance, bus or train fare.
           Donotincludecarpayments.                                                                                       12.$                    533.00
 13.       Entertainment, clubs, recreation, newspapers, magazines, and books                                             13. $                  100.00
 14.       Charitable contributions and religious donations                                                               14. $                   75.00
 15.       Insurance.
           Do not include insurance deducted from your pay or included in lines 4 or 20.
           15a. Lifeinsurance                                                                                            15a.$                    400.00
           1 5b. Health insurance                                                                                        1 5b. $                     0.00
           15c. Vehicleinsurance                                                                                         15c.$                    130.00
           't5d. Otherinsurance.Specify:                                                                                 15d.$                       0.00
 16.       Taxes. Do notinclude taxes deducted from your pay or included in lines 4 or 20.
           Specify:                                                                                                       16.$                       0.00
 47.       Installment or lease payments:
           1 7a. Car payments for Vehicle 1                                                                              1 7a.   $
           17b. CarpaymentsforVehicle2                                                                                   17b.    $
           1 7c. Other. Specify:                                                                                         1 7c.   $
           1 7d. Other. Specify:                                                                                         1 7d.   $
 18.       Yourpaymentsofalimony,maintenance,andsupportthatyoudidnotreportas
           deducted from your pay on line 5, Schedule /, Yourlncome (Official       Form 1061).                           Ia $
 19.       Other payments you make to support others who do not live with you.                                                   $
           Specify:                                                                                                       19.
 20.       Other real property expenses not included in lines 4 or 5 of this form or on Schedule                         l: Your /ncome.
           20a. Mortgages On other property                                                                              20a. $                     0.00
           20b. Real estate taxes                                                                                        20b. $                     0.00
           20c. Property, homeowner's, or renter's insurance                                                             20c. $                     0.00
           20d. Maintenance, repair, and upkeep expenses                                                                 20d. $                     0.00
           20e. Homeowner's association or condominium dues                                                              20e. $                     0.00
 21        0th(-r: Specify:               Miscellaneous          necessary          expenses                              21. +$                  266.00
           Storageunit                                                                                                        +$                   94.00
 22. Calculate your monthly expenses
     22a. Add lines 4 through 21.                                                                                                             4 394.00
           22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1 06J-2
           22c. Add line 22a and 22b. The result is your monthly expenses.                                                                    4 394.00
 23.       Calculate           your    monthly    net income.
           23a.         Copy    line 12 (your     combined      monthly   income)     from   Schedule   1.
           23b.         Copy    your    monthly   expenses      from   line 22c above.                                  '2a3ab:
                                                                                                                            ffi$                a,3940:OoOo
           23c.         Subtract your monthly expenses from your monthly income.
                        The result is your monthly net income.                                                           23C.    $             -4,394.00

 24.       Do you expect an increase or decrease in your expenses within the year after you file this form?
           For example,do you expect to finish payingfor your car loan within the year or do you expect your mongagepaymentto increaseor decreasebecauseof a
           modificationto the terms of your mortgage?
           B No.
           € Yes,                       Explain here:




Official     Form       1 06J                                                            Schedule J: Your Expenses                                             page   2
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Debtor 1                              Robert    Nathan      Reicher
                                  FitstName                             MiddleName                      Last Name

Debtor 2                          Suzanne            P Carter-Reicher
(Spouse        i[, filing)        Fi+stName                             MiddleName                      Last Name


United States Bankruptcy                    Court for the:       CENTRAL        DISTRICT   OF CALIFORNIA

Case number
[iTknown)                                                                                                                                                []   Check if this is an
                                                                                                                                                              amended    fiting




Official               Form 106Dec
Declaration                               About              an Individual                    Debtor's                Schedules                                                      12/16


If two married               people     are filing   together,   both are equally     responsible     for supplying    correct   information.

You must file this fomi whenever you file bankruptcy    schedules or amended schedules. Making a false statement, concealing                                            property, or
obtainingmoney or property by fraud in connection with a bankruptcy case can result in fines up to $260,000, or imprisonment                                              for up to 20
years, or both. 18 u.s.c. §§ 162, 1341, 1619, and 3671.




align                           Below
          Did you pay or agree to pay someone                         who is NOT an attorney        to help you fill out bankruptcy      forms?


          8           No

          []          Yes.    Name of person                                                                                           Attach Bankruptcy Pefftion Preparer's Nofice,
                                                                                                                                       Uedaration, and Signature (Official Form 119)




                   Robert   Nathan    Reicher
                   Signature of Debtor 1

                   Date                     SEP 2 9 2021                                                      Date




Official Form 1 06Dec                                                   Declaration   About   an Individual     Debtor's   Schedules

SoTbmteCopynghtlc) 1996-2021BestCase,lLC - wmv bestcasecom                                                                                                               Best Case   Bankiuptcy
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                                                                                                                                                                                     []   Check if this is an
                                                                                                                                                                                          amended      filing




Official                   Form          107
Statement                          of Financial                Affairs            for Individuals                          Filing          for Bankruptcy                                                             4/19

Be as complete     and accurate as possible. If two married                                  people are filing together, both are equally responsible                            for supplying correct
information.   If more space is needed, attach a separate                                   sheet to this form. On the top of any additional  pages,                            write your name and case
number (if known). Answer every question.


JGive                           Details About Your Marital Status and Where You Lived Before

4.         What        is your     current     marital   status?


           N          Married
           €          Not married


2.         During          the last 3 years,       have you lived       anywhere       other       than where          you live now?

           €          No

           8          Yes. List all of the places you lived in the last 3 years.                   Do not include          where you live now.

           Debtor          1 Prior    Address:                                    Dates Debtor        4                    Debtor       2 Prior Address:                                         Dates Debtor    2
                                                                                  lived there                                                                                                    lived there
           44 Baycrest               Court                                        From-To:
                                                                                                                            N Same as Debtor 1                                                   N Same as Debtor 1
           Newport              Beach,       CA 92660                             07/2007      to 9/2018
                                                                                                                                                                                                 From-To:




3.    Withinthelast8years,didyoueverlivewithaspouseorlegalequivalentinacommunitypropertystateorterritory?(Communftyproperfy
states and territorres include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,                                                         Washington     and Wisconsin.)

           €          No

           N          Yes. Make sure you fill out Schedule               H.' Your Codebtors          (Official     Form 1 06H).



aExplain                             theSources
                                              ofYourIncome
4.         Did you have any income from employment           or from operating   a business                                          during this year or the two previous             calendar     years?
           Fill in the total amount of income you received from all jobs and all businesses,                                          including part-time activities.
           If you are filing a joint case and you have income that you receive together,list                                         it only once under Debtor 1.

           €          NO

           N          Yes. Fill in the details.


                                                                   Debtor   1                                                                                Debtor   2
                                                                   Sources   of income                         Gross income                                  Sources   of income                 Gross income
                                                                   Check all that apply.                       (before deductions                and         Check all that apply.               (before deductions
                                                                                                               exclusions)                                                                       and exclusions)




Official       Form    107                                            Statement     of Financial     Affairs     for   Individuals      Filing    for   Bankruptcy                                                   page    1

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 Debtor         1       Robert         Nathan          Reicher
 De5iOr          2      Suzanne              P Carter-Reicher                                                                                                    CaSe number            lrfknown}



                                                                           Debtor     1                                                                                      Debtor      2

                                                                           Sources        of income                            Gross      income                             Sources          of income                      Gross      income
                                                                           Check      all that apply.                          (before     deductions         and            Check      all that apply.                      (before     deductions
                                                                                                                               exdusions)                                                                                    and exclusions)

 For last            calendar       year:                                                                                                        $29,978.00                  €
                                                                           N Wages,           commissions,                                                                         Wages,       commissions,                                     $0.00
 (January             1 to December               31, 2020        )                                                                                                          bonuses,         tips
                                                                           bonuses,       tips

                                                                           ffl Operating            a business
                                                                                                                                                                             €     Operating         a business



 For the calendar                   year      before      that:
                                                                           N Wages,           commissions,                                       $20,733.00                  N Wages,           commissions,                                 $197.00
 (January             1 to December               :31, 2019       )
                                                                           bonuses,       tips                                                                               bonuses,         tips

                                                                           @ Operating              a business                                                               @ Operating             a business



5.         Did you          receive         any   other     income         during     this    year      or the    two     previous         calendar       years?
           nclude          income      regardless         of whether        that income          is taxable.       Examples           of other     income       are alimony:          child    support:      Social     Security,    unemployment,
       and other             public benefit payments;      pensions; rental income:                              interest; dividends:           money collected    from lawsuits; royalties;                           and gambling        and lottery
       winnings.             If you are filing a joint case and you have income                                  that you received           together,list it only once under Debtor 1.


           List each        source          and the gross         income      from    each       source       separately.        Do notinclude          income          that you listed         in line 4.


           []        No

           N         Yes.    Fill in the details.


                                                                           Debtor4                                                                                           Debtor2
                                                                           Sources        of income                            Gross      income       from                  Sources          of income                      Gross   income
                                                                           Describe       below.                               each      source                              Describe         below.                         (before deductions
                                                                                                                               (before     deductions         and                                                             and exclusions)
                                                                                                                               exclusions)

 FromJanuaTa)/10f currentYear until Unemployment                                                                                                  522,650.00
 the date            you    filed     for    bankruptcy:



                                                                           Social      Security                                                   $18,632.00                 Social       Security                                          $7,576.00
                                                                           Benefits          (Not      Income)                                                               Benefits           (Not     Income)



 Forlast calendaryear:                                                     Social      Security                                                   $27,583.00                 Social       Security                                        $11 ,215.00
 (January1 to December31,2020)                                             Benefits          (Not      Inco    me)                                                           Benefits           (Not      Income)



                                                                           Unemployment                                                           $29;100.00



                                                                           Pension/Annuity                                                         $1,005.00



 Fari!1eCalendarYear5eforetl1ai:                                           8@(,jBl     §B(,Hlajly                                                 $27,583,00                 Social       Security                                        $11,215.00
 (January1 to December31,2019)                                             Benefits          (Not      Inco    me)                                                           Benefits           (Not      Income)



                                                                           Pension/Annuity                                                            $983.00


j2List                          Certain       PaymentsYou              Made         Before       You     Filed    for Bankruptcy
6.         AreeitherDebtorl'sorDebtor2'sdebtsprimarilyconsumerdebts?
           []        No.        Neither    Debtor     4 nor Debtor    2 has primarily   consumer     debts.                                  Consumer            debts      are defined         in 11    u.s.c. § 101(8)        as "incurred        by an
                                individual   primarily   for a personal,  family, or household   purpose."


                                During       the 90 days          before     you filed for bankruptcy,                did you pay any creditor                  a total of $6,825"            or more?
                                 CI No.             Go to line 7.

                                 CI Yes             List below        each     creditor       to whom         you paid a total of $6,825'                or more         in one or more              payments       and the total amount         you
                                                    paid that creditor. Do not include payments    for domestic                                     support         obligations,      such     as child      support     and alimony.       Also,     do
                                                    not include payments   to an attorney for this bankruptcy                                      case.
                                 ' Subject        to adjustment            on 4/01 /22 and every               3 years      after that for cases            filed     on or after     the date of adjustment.



Official Form 107                                                              Statement         of Financial        Affairs    for Individuals        Filing       for Bankruptcy                                                                    page 2

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 Debtor 1               Robert Nathan Reicher
 Debtor 2               Suzanne  P Carter-Reicher                                                                                           CaSe     number    (rfknown}




           N          Yes.     Debtor 1 or Debtor 2 or both have primarily                    consumer       debts.
                               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                                 N    No.       Go to line 7.
                                a Yes           List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                                attorney for this bankruptcy case.


            Creditor's          Name and Address                                 Dates of payment                      Total amount                   Amount you           Was this payment        for...
                                                                                                                                paid                     still owe

7.         Within 4 year before you filed for bankruptcy,      did you make a payment on a debt you owed anyone who was an insider?
           Insrders include your relatives: any general partners: relatives of any general partners; partnerships of which you are a general partner; corporations
           of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
           a business you operate as a sole proprietor. 11 u.s.c. § 101. Include payments for domestic support obligations, such as child support and
           alimony.


           ffl No
           [1] Yes. List all payments to an insider.
            Insider's         Name and Address                                   Dates of payment                      Total amount                   Amount you           Reason for this payment
                                                                                                                                paid                     still owe

8.         Within 1 year before you filed for bankruptcy, did you make any payments                                             or transfer       any property      on account      of a debt that benefited       an
           insider?
           Include payments on debts guaranteed or cosigned by an insider.


           8          No
           []         Yes. List all payments to an insider
            Insider's         Name and Address                                   Dates of payment                      Total amount                   Amount you           Reason for this payment
                                                                                                                                paid                     still owe         Include creditor's name

Jldentify                            Legal Actions, Repossessions, and Foreclosures

9.         Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative             proceeding?
           List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
           modifications, and contract disputes.

           €          NO
           H          Yes. Fill in the details.

           Case title                                                            Nature of the case                   Court or agency                                      Status    of the case
           Case number
            Citibank,           N.A.                                             Civil   - Collections                Superior   Court of California                       €     Pending
           VS.                                                                                                        County   of Riverside                                []    On appeal
            Robert Reicher                                                                                            3255       East Tahquitz             Canyon
                                                                                                                                                                           ffi   Concluded
            PSC2004083                                                                                                Way
                                                                                                                      Palm        Springs,         CA 92262
                                                                                                                                                                           Judgment/Abstract                of
                                                                                                                                                                           Judgment        on 5/13/2021


            First       National        Bank      of Omaha                       Civil   - Collections                Superior   Court of California                       N     Pending
           VS.                                                                                                        County   of Riverside
                                                                                                                                                                           []    On appeal
           Suzanne  P. Reicher                     an individual                                                      3255       East Tahquitz             Canyon
                                                                                                                                                                           €     Concluded
           PSC2004193                                                                                                 Way
                                                                                                                      Palm        Springs,         CA 92262
                                                                                                                                                                           Entry of Default        entered
                                                                                                                                                                           11/25/2020




Official       Form    107                                           Statement     of Financial   Affairs   for   Individuals      Filing   for   Bankruptcy                                                     page   3

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 Debtor 1            Robert  Nathan Reicher
 Debtor 2            Suzanne   P Carter-Reicher                                                                                   CaSe number lrfknown}


           Case title                                                             Nature of the case              Court or agency                           Status of the case
           Case number
           First National  Bank               of Omaha                            Limited     Civil   -           Superior   Court of California            N Pending
           VS.                                                                    Collections                     County   of Riverside
                                                                                                                                                            € On appeal
           Suzanne    P. Reicher                                                                                  3255 East Tahquitz Canyon
                                                                                                                                                            € Concluded
           PSC2003956                                                                                             Way
                                                                                                                  Palm Springs,  CA 92262
                                                                                                                                                            Entry of Default        entered         on
                                                                                                                                                            11/03/2020



10.     Within 4 year before you filed for bankruptcy,                             was any of your property        repossessed,     foreclosed,   garnished,      attached,   seized,     or levied?
        Check all that apply and fill in the details below.

        []        NO. GO to line 11.
           N      Yes. Fill in the information below.

           Creditor     Name and Address                                          Describe    the Property                                         Date                                 Value of the
                                                                                                                                                                                            property
                                                                                  Explain what happened
           Internal      Revenue          Service"                                2020    Refund      (Overpayment)                                08/09/2021                                $938.00
           Centralized   Insolvency   Operation
           Pa Box 7346                                                            [] Property was repossessed.
           Philadelphia,   PA 19101-7346                                          € Property was foreclosed.
                                                                                  € Property was garnished.

                                                                                  N Property was attached, seized or levied.



11.     Within 90 days before you filed for bankruptcy, did any creditor, including                                    a bank or financial   institution,   set off any amounts           from your
        accounts or refuse to make a payment because you owed a debt?
           N      No
           €      Yes. Fill in the details.

           Creditor     Name and Address                                          Describe    the action the creditor    took                      Date action was                           Amount
                                                                                                                                                   taken

12.     Within 1 year before you filed for bankruptcy,  was any of your property                                    in the possession    of an assignee     for the benefit    of creditors,        a
        court-appointed  receiver, a custodian, or another official?

           @      No
           CI     Yes

§List                    Certain     Giffs and Contributions

13.     Within        2 years before you filed for bankruptcy,                       did you give any gifts with a total value of more than $600 per person?
           H      No
           €      Yes. Fill in the details for each gift.

           Gifts with a total value of more than $600                                    Describe     the giffs                                    Dates you gave                                 Value
           perperson                                                                                                                               thegifts

           Person to Whom You Gave the Giffl and
           Address:

14.     Within        2 years before you filed for bankruptcy,                       did you give any giffs or contributions         with a total value of more than $600 to any charity?
           N      No
           €      Yes. Fill in the details for each gift or contribution.

           Giffs or contributions             to charities         that   total          Describe     what you contributed                          Dates you                                      Value
           morethan$600                                                                                                                             contributed
           Charity's Name
           AddreSS       (Number,   Street,   City,   State   and ZIP Code)




Official Form 107                                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                         page      4

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                       Case 6:21-bk-15157-MH                                       Doc 1 Filed 09/29/21 Entered 09/29/21 18:45:39                                                                                        Desc
                                                                                   Main Document   Page 53 of 73
  Debtor 1                 Robert      Nathan          Reicher
  De5tOr 2                 Suzanne            P Carter-Reicher                                                                                         CaSe number               (ifknown}



JList                          Certain Losses

15. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theff, fire, other disaster,
           or gambling?


           N          No
           []         Yes.     Fill in the details.

            Describe the property                     you lost and               Describe     any insurance               coverage         for the loss                            Date of your                         Value    of property
            how the loss occurred                                                                                                                                                  loss                                                   lost
                                                                                 Include the amount that insurance has paid. List pending
                                                                                 insurance claims on line 33 of Schedule NB: Property.

jList                          Certain        Payments         or Transfers


16. Within 1 year before you filed for bankruptcy, did you or anyone                                                else acting            on your           behalf     pay or transfer           any property          to anyone        you
           consulted           about      seeking        bankruptcy        or preparing       a bankruptcy          petition?
            nclude any           attorneys, bankruptcy              petition   preparers,    or credit counseling            agencies        for services             required    in your bankruptcy.

           €          NO

           N          Yes. Fill in the details.

            Person Who Was Paid                                                              Description          and value         of any property                                 Date payment                                  Amount    of
            Address                                                                          transferred                                                                            or transfer was                                 payment
            Email or website address                                                                                                                                                made
            Person Who Made the Payment,                              if Not You
            J. DOLING                 LAW,       PC                                          Attorney       fees,         cost      for filing        fee,     credit               Pursuant            to                        $2,685.00
            36-9'15          Cook       Street,        Suite    101                          counseling,           credit         report      and      any       other              signed        fee
            Palm           Deset't,     CA 92211                                             costs                                                                                  agreement
           jd@JDL.law



17. Within 1 year before you filed for bankruptcy, did you or anyone            else acting                                                on your behalf               pay or transfer           any property          to anyone        who
           promised    to help you deal with your creditors   or to make payments   to your                                                creditors?
           Do not include any payment or transfer that you listed on line 16.


           @          No
           €          Yes. Fill in the details.

            Person Who Was Paid                                                              Description          and value         of any property                                 Date payment                                  Amount    of
            Address                                                                          transferred                                                                            or transfer was                                 payment
                                                                                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise                                                             transfer       any property             to anyone,         other    than    property
           transferred           in the ordinary           course      of your    business      or financial        affairs?
           Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage                                                                      on your property).         Do not
           include         gifts and transfers          that you have already           listed on this statement.
           0          No

           H          Yes. Fill in the details.

           Person Who                 Received        Transfer                               Description     and value              of                         Describe  any property   or                             Date transfer       was
           Address                                                                           property    transferred                                           payments   received  or debts                           made
                                                                                                                                                               paid in exchange
            Person's           relationship           to you

            Cheryl           Lynn      Dillon                                                Real     Property            located         at 44                Received            proceeds         of                 09/2018
           44 Baycrest                 Court                                                 Baycrest        Court,         Newport                            $49,018.00; these funds
            Newport             Beach,          CA 92660                                     Beach,       CA 92660               - Sold     for                were        used         as down
                                                                                             $899,000.00.                                                      payment            for    purchase            of
            None                                                                                                                                               current       residence.



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device                                                                                         of which    you are a
           beneficiary?             (These       are often called asset-protection            devices.)
           N          No
           €          Yes. Fill in the details.

            Name of trust                                                                    Description and value of the property transferred                                                                         Date Transfer        was
                                                                                                                                                                                                                       made

Official       Form    107                                                 Statement of Financial       Affairs     for    Individuals       Fiting    for    Bankruptcy                                                                   page     5

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  Debtor 1                 Robert        Nathan         Reicher
  De5tOr 2                 Suzanne          P Carter-Reicher                                                                                                     CaSe number           (rfknown}



9List                          of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storaqe Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,                                                                                                     closed,
           sold,       moved,        or transferred?
           Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit                                                                                        unions,    brokerage
           houses, pension funds, cooperatives, associations,  and other financial institutions.
           H No
           €    Yes. Fill in the details.

            Name of Financial Institution and                                            Last 4 digits of                          Type of account or                               Date account was                               Last    balance
            AddresS (Number,Sireet,City,StateandZIP                                      accoun(number                             tnStrumem                                        CIOSed,SOld,                            before CIOSirXlOr
            Code)                                                                                                                                                                   mOVed,Or                                               transfer
                                                                                                                                                                                    transferred

21.        Do you now have, or did you have within                                   4 year before           you filed for bankruptcy,                      any safe deposit             box or other        depository       for securities,
           cash, or other valuables?


           N          No
           []         Yes. Fill in the details.

            Name of Financial    Institution                                                      Who else had access                    to      it?             Describe       the contents                                 Do you still
            AddreSS (Number, Street, City, State                  and ZIP Code)                   Address (Number, Street,               City.                                                                               have it?
                                                                                                  State and ZIP Code)


22.        Have you stored                  property       in a storage       unit or place           other    than your          home         within       1 year before            you filed     for bankruptcy?

           €          NO

           ffl        Yes. Fill in the details.

            Name of Storage                  Facility                                             Who else has or had access                                     Describe       the contents                                 Do you still
           AddreSS            (Number,      Street,   City, State and ZIP Code)                   to it?                                                                                                                     have it?
                                                                                                  AddreSS (Number, Street, City,
                                                                                                  State and ZIP Code)

            Storamerica                                                                           Debtors         are the         only                           Unused         hosusehold            items,                 CI No
            74876           42nd      Avenue                                                      persons         with      access             to                furniture,         clothing,       and
                                                                                                                                                                                                                              N Yes
            Palm           Desert,         CA 92260                                               storage        unit.                                           documents.



Jldentify                             Property You Hold or Control for Someone Else

23.        Do you hold               or control        any property        that someone             else owns?           Include         any property              you borrowed           from,     are storing         for, or hold      in trust
           for someone.


           N          No
           €          Yes.     Fill in the details.

           Owner's            Name                                                                Where       is the property?                                   Describe       the property                                                  Value
           AddreSS            (Number, Street,        City, State and   ZIP Code)                 (Number,     Street, City, State and ZIP
                                                                                                  Code)


r'?'(';iirri                    nrit*ils      About       Environmental             Information

For the purpose                    of Part 4 0, the following              definitions       apply:


ffl        Environmental law means any federal, state, or local statute or regulation     concerning   pollution,  contamination,      releases of hazardous                                                                                         or
           toxic substances, wastes, or material into the air, land, soil, surface water, groundwater,     or other medium,     including     statutes or
           regulations             controlling         the cleanup         of these      substances,           wastes,          or material.

ffl        Site means any location, facility, or property as defined                                          under      any environmental                      law, whether         you now own,            operate,     or utilize      it or used
           to own,          operate,       or utilize      it, including      disposal       sites.

N          Hazardous material means anything an environmental                                             law defines            as a hazardous                  waste,       hazardous         substance,      toxic     substance,
           hazardous            material,        pollutant,       contaminant,           or similar      term.

Report           all notices,         releases,        and proceedings              that you know             about,     regardless              of when         they occurred.




Official       Form    107                                                  Statement       of Financial       Affairs    for    Individuals           Filing    for   Bankruptcy                                                               page      6

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 Debtor 1           Robert         Nathan           Reicher
 DebOr        2     Suzanne           P Carter-Reicher                                                                                                 CaSe number           (rfknown}



24.    Has any governmental                      unit    notified         you that you may be liable              or potentially             liable    under     or in violation       of an environmental            law?


       ffi        No
       0          Yes. Fill in the details.

           Name of site                                                                     Governmental               unit                                 Environmental           law, if you                    Date of notice
           AddreSS (Number, Street, City, State and ZIP Code)                               AddreSS         (Number,     Street,     City, State and        know it
                                                                                            ZIP Code)


25.    Have you notified                 any governmental                  unit of any release         of hazardous                material?


       ffi        No
       [:l        Yes. Fill in the details.

           Name of site                                                                     Governmental               unit                                 Environmental           law, if you                    Date of notice
           Address        (Numberi Streeti Cityi State and ZIP Code)                        AddreSS         (Number,      Street,    City, State and        know it
                                                                                            ZIP Code)


26.    Have you been a party                    in any judicial            or administrative          proceeding              under     any environmental               law? Include       settlements       and orders.


       ffl        No
       CI         Yes. Fill in the details.

           Case Title                                                                       Court      or   agency                                     Nature      of the case                                     Status    of the
           Case Number                                                                      Name                                                                                                                   case
                                                                                            AddreSS     (Number,          Street,    City,
                                                                                            State and ZIP Code)


pGive                       Details      About        Your    Business         or Connections           to Any Business


27.    Within       4 years        before     you filed        for bankruptcy,           did you own a business                       or have any of the following                connections         to any business?

                  N A sole        proprietor          or self-employed           in a trade,        profession,         or other         activity,     either    full-time     or part-time

                  € A member              of a limited        liability     company       (LLC)     or limited         liability      partnership        (LLP)

                  € A partner            in a partnership

                  € An officer,           director,      or managing           executive       of a corporation

                  € An owner             of at least 5% of the voting                  or equity     securities         of a corporation

       CI         No. None        of the above          applies.          Go to Part 12.

       N          Yes.Checkallthatapplyaboveandfillinthedetailsbelowforeachbusiness.

           Business     Name                                                        Describe         the nature         of the business                         Employer   Identification            number
           Address                                                                                                                                              Do not include Social              Security number          or ITIN.
           (Number, Street, City, State       and    ZIP Code)                      Name of accountant                   or bookkeeper
                                                                                                                                                                Dates    business        existed
           The     Reicher         Company                                          Consulting                                                                  EIN:            None
           37300        Medjool          Avenue
           Palm        Desert,      CA 9221 1                                       NOne                                                                        From-TO         2008     to 1 2/2020



28.    Within 2 years before                  you filed for bankruptcy,                  did you give a financial                   statement         to anyone        about    your     business?       Include     all financial
       institutions, creditors,                or other parties.


       ffl        NO
       CI         Yes. Fill in the details              below.

           Name                                                                     Date Issued
           Address
           (Number, Street,      City, State and     ZIP Code)




Official Form 107                                                          Statement of Financial Affairs for Individuals                      Filing for Bankruptcy                                                                 page   7

Sofiware    Copynght     (c) 1906-2021    Best Case, LLC - www bestcase          com                                                                                                                                 Best Case Bankruptcy
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 Debtor 1       Robert      Nathan       Reicher
 De5iOr 2       Suzanne          P Carter-Reicher                                                                                Cafe    number      (fknown)




§Sign                Below


I have read the answers    on this Sfafemenf    ofFinancial                    Affairs  and any attachments,     and I declare                   under penalty of perjury   that           the answers
are true and correct.  I understand   that making    a false                 statement,    concealing  property,   or obtaining                   money or property    by fraud            in connection
with                      case     can result      in fines   up to $250,000,      or imprisonment             for up to 20 ypars,        or both.                          c-




 Robert fNathan Reicher                                                            Suza6ffl           P Carter-Nei6her
 Signature     of Debtor     1                                                     Signature          of Debtor    2




Did you attach      additional       pages      to YourStatement          of FinancialAffairs            forlndhtidualsFiiing           forBankruptcy           (Official   Form   107)?
ffl No
[] Yes


Did you      pay or agree    to pay someone             who   is not an attorney          to help     you fill out bankruptcy           forms?
N No
[] Yes.   Name     of Person                 . Attach   the BankruptcyPebfion         PreparetsNotlce,             Dedaraffon,     and Signature         (Official   Form 119).




OTflcial Form 107                                             Statement    of Financlal     Affairs    for Individuals   Flllng for Bankruptcy                                                             page 8

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B2030        (Form    2030)      (12/15)

                                                                        United      States      Bankruptcy                 Court
                                                                              Central     District        of California

               Robert Nathan Reicher
     In re     Suzanne  P Carter-Reicher                                                                                                    Case No.
                                                                                                     Debtor(s)                              Chapter        7


                                DISCLOSURE                   OF COMPENSATION                             OF ATTORNEY                        FOR   DEBTOR(S)

 ].      Pursuant to 11 U.S.C.             0 329(a) and Fed. Bankr. P. 2016(b), I certify             thatI   am the attorney for the above named debtor(s) and that
         compensationpaid to me within oneyearbeforethe filing                        of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalf of the debtor(s) in contemplation                   of or in connection with the bankruptcy case is as follows:

               For legal services, I have agreed to accept                                                                                                     2,685.00
               Prior to the filing         of this stateinent I have received                                                                                  2,685.00
               Balance Due                                                                                                                                          0.00

2.       The source of the compensation               paid to me was:

               N      Debtor               €     Other (specify):


3.       The source of coinpensation              to be paid to me is:

               ffi    Debtor               €     Other (specify):


         N I havenot agreedto sharethe above-disclosedcompensationwith any other person unless they are members and associates of my law finn.
         € I haveagreedto sharethe above-disclosed        compensation with a person or persons who are not members or associates of my law finn.                                               A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In retum for the above-disclosed              fee, I have agreed to render legal service for all aspects of the bankruptcy                    case, including:


         a. Analysis of the debtor'sfinancial situation,                  and rendering advice to the debtor in detennining whether to file a petition                     in bankniptcy;
         b. Preparation         and filing     of any petition,      schedules, statement of affairs and plan which may be required;
         c. Representation of the debtor at the meeting of creditors and confirmation                            hearing, and any adjoumed hearings thereof;
         d. [Other provisions as needed]
                     Attorney fees, costs for filing fee, credit counseling, credit report and any other costs pursuant                                                    to fee agreement.

6.       By agreement with the debtor(s),              the above-disclosed       fee does not include the following              service:
                      Representation           of the debtors in any loan modifications    or mortgage   loan analysis,                                dischargeability          actions,
                     judicial        lien avoidances,   relief from stay actions  or any other adversary    proceeding.

                                                                                        CERTIFICATION

       I certify that the foregoing             is a complete statement of any agreement or arrangement                                ent to me for representation        of the debtor(s)   in
 this bankruptcy proceeding.

                            SEP 2 9 2021
       Date                                                                                      Jenny L.                           . 207033
                                                                                                 Signature          A     rney

                                                                                                 J. DOLI                 W, PC
                                                                                                 36-915                 Street, Suite       101
                                                                                                 Palm Desert,           CA 92211
                                                                                                 (760)884-4444             Fax: (760)341-3022
                                                                                                 jd@JDL.law
                                                                                                 Name of law firm




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    Attoniey   or Party Nai'ne, Address, Teleplione                  & FAX                                  FOR COURT      USE ONLY
    Nos., State Bar No. & Email Address
    Jenny L. Doling, Esq. 207033
    36-915 Cook Street, Suite 101
    Palm Desert, CA 9221 1
    (760)884-4444
    207033 CA
    (760)341 -3022
    jd@JDL.law




                                                                UNITED          ST ATES             BANKRUPTCY                COURT
                                                                  CENTRAL              DISTRICT               OF CALIFORNIA


iin re:                                                                                                    ICaseNo.:
,        Robert       Nathan        Reicher                                                                ICHAPTER: '-i
         Suzanne          P Carter-Reicher
                                                                                                                            DEBTOR'S         ATTORNEY'S
                                                                                        Debtor(s).
                                                                                                                    DISCLOSURE            OF COMPENSATION
                                                                                                                        ARRANGEMENT               IIN INDIVIDUAL
                                                                                                                                    CHAPTER    7 CASE
                                                                                                                                    [LBR 2090-1(a)(3)]


1.       Compensation Arrangement.                            Pursuant to 1l u.s.c. § 329(a), FRBP 2016(b), and LBR 2090-1 (a)(3)                      and (4),
         I disclose       that:

         a. I am the attorney               for the Debtor.


         b. Compensation that was paid to me, within one year before the petition was filed, or was agreed to be paid to me, for services
            rendered or to be rendered on behalf of the Debtor in contemplation of or in connection with this bankruptcy      case, is as
               follows:

                i. For legal services,              I have agreed         to accept    €       an hourly    rate of $      or a H flat fee of $    2,685.00
                ii. Prior to filing this disclosure               I have received          $     2,685.00

                iii. The balance        due is $O.OO

2.       Source       of Compensation                 Paid     Postpetition       (Postpetition        Compensation).

         a. Already         Paid.    The source(s)            of the Postpetition       Compensation           paid to me was:

               ffl    Debtor                []      Other    (specify):


         b. To be Paid.           The source(s)             of the Postpetition       Compensation           to be paid to me is:

               N      Debtor                []      Other    (specify):


3.       Sharing      of Compensation               Paid Postpetition.


         N I have not agreed to share Postpetition Compensation with any other person                                          unless   they are members      or regular   associates   of
               my law firm within                the meaning      of FRBP     9001(10).


         € I have agreed to share Postpetition Compensation with other person or persons who are not members or regular associates                                                      of
           my law firm within the meaning of FRBP 9001(10). Attached as Exhibit A is a copy of the agreement and a list of the names                                                    of
               the people         sharing        in the Postpetition       Compensation.


4.       Limited Scope of Services. Alimited scope of appearance is permitted under LBR 2090-1(a)(3), unless otherwise required by
         the presiding judge. In return for the fee disclosed above, I have agreed to provide the required legal services indicated below in
                                        Thisformis mandatoryIt hasbeenapprovedlot usein the UnitedStatesBankruptcy
                                                                                                                 Courtfor theCentralDistnctof Califomia.
December           2015                                                                             Page 1                              F 2090-1.CH7.ATTY.COMP.DISCLSR
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         paragraph      "a", and, if any are indicated,            the additional           services    checked     in paragraph          "4.b".

         a.    Services    required   to be provided:
               i. Analysis of the Debtor's financial situation, and advice to the Debtor in determining whether to file a bankruptcy                                                                petition;
               ii. Preparation    and filing of any petition, lists, schedules and statements and any other required case
         commencement     documents;      and
               iii. Representation   of the Debtor at the initial § 341 (a) meeting of creditors.
         b.      [1 Additional       legal services            I will     provide:
                 i.      [1 Any proceeding         related to reliej from stay motions.
                 ii.     [1 Any proceeding         involving        an objection           to the Debtor's    discharge         pursuant       to 11 u.s.c.         § 727.
                 iii.    Cl Any proceeding         to determine             whether        a specific   debt is nondischargeable                under '11 u.s.c. § 523.
                 iv.     CI Reaffirmation       of a debt.
                 v.      [] Any    lien avoidance             under        Il     u.s.c.     § 522(f)
                  vi.  [1 0ther (specify):
5.        If in the future I agree to represent the Debtor in additional matters, I will complete                                       and file the Atkorney's               Disclosure    oT
          Postpetition    Compensation,    LBR form F 2016-1.4.ATTY.COMP.DISCLSR.


I                                                             DECLARATION                  OF ATTORNEY          FOR THE           oes"roz
I
          I declare under penalty or perjury that the foregoing
    for representation  of the Debtor in this bankruptcy case
                                                                                         is a complete     statement       of any agrei          .     n or arrangement               for payment     to me



:             o=t=             SEP 2 9 2021
                                                                                                                                       b
                                                                                              Signature    of attorney         for the Deb or
                                                                                                                                                          I
                                                                                                                                                          '
I
i
                                                                                              Jenny L. Doling, Esq. 207033
                                                                                              printeanameotattorney
                                                                                                                                                 .)
                                                                                                                                                's,/
                                                                                              J. [)OLING LAW, PC
                                                                                              Printed name of law firm



                                                                                 DECLARATION            OF THE DEBTOR

          I/we declare under penalty of perjury that my attorney has explained to me/us the limited scope or representation     as outlined
    above. I/we understand that I/we have paid or agreed to pay solely for the required services listed in paragraph 4a, and the additional
    services   (if any) that are checked  off in paragraph   4b above, and that I/we am representing        myself/ourselves for any other
    proceedings    unless a new agreement is reached with an atkorney.

              r:==t.              SEP 29 2021                                                 Da(e.'                                                                                          .



                R'-
              s"--
               ignature
                                  O,,,,,A
                               Debtorl                    O             ,)""'-
                                                                                    -i
                                                                                                [4(,@_
                                                                                                    !'               Join(
                                                                                                                                - r ] txLL '4J-y(i.y:-(4'Je"q.-
                                                                                              Signqturlof oebtorz(oebtor)(irappiicabie)
                                                                                                                                              iv rp
                                                                                                                                                                  -7'             ,['

                                                                                                                                                                                 "-
              Robert     Nathan Reicher                                                       Suza        P Carter-Reicher
              Printed    name of Debtor 1                                                     Printed   name of Debtor 2




                                    This kitm is mandatoiy.    It has been approved kot use in the llnMd   States Bankruptcy    Cour} lot the Central Distttct of Califomia

December2015                                                                                      Page 2                                       F 2090-1.CH7.ATTY.COMP.DISCLSR
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                                                                                                                                                                                                  []    Check if this is an
                                                                                                                                                                                                        amended       filing




Official                  Form 108
Statement                           of Intention                            for       Individuals                       Filing               Under              Chapter                   7                                    12/-15


If you are an individual                   filing     under     chapter      7, you must        fill out this form        if:
a creditors have claims secured by your property, or
N you have leased personal property and the lease has not expired.
You must            file this form with the court within 30 days after you file your bankruptcy   petition or by the date set for the meeting of creditors,
                   whichever     is earlier, unless the court extends the time for cause. You must also send copies to the creditors    and lessors you list
                   on the form

If two married             people are filing together                    in a joint   case,     both   are equally        responsible           for supplying      correct        information.              Both   debtors     must
           sign            and date the form.

Be as complete               and accurate as possible. If more space                             is needed,      attach         a separate      sheet      to this form.       On the top of any additional                    pages,
         write              your name and case number (if known).


[List                      Your     Creditors          Who      Have Secured           Claims


1. For any creditors    that you listed                        in Part 1 of Schedule             D: Creditors        Who        Have Claims        Secured       by Property          (Official        Form 106D),       fill in the
   information   below.
        Idemify      the creditor     and the property               that is collateral                What do you intend              to do with          the property        that           Did you claim the property
                                                                                                       secures a debt?                                                                        as exempt on Schedule     C?




        Creditor's          Matthew           Jennings                                                 [] Surrender the property.                                                             €        No
        name                                                                                           € Retain the property and redeem it.
                                                                                                       [1 Retain the property and enter into a                                                ffl yes
        Description        of     37300        Medjool          Avenue         Palm                          Reaffirmatron         Agreement.
        property                  Desert,           CA 9221 1
                                                                                                       H Retain the property and [explainl:
        securing      debt:                                                                             continue          making        regular         payments




        CrediOr'S           Reverse          Mortgage            Funding                               € Surrender the property.                                                              €        No
        name:                                                                                          € Retain the property and redeem it.
                                                                                                       € Retain the property and enter into a                                                 ffl yes
        Description        of     37300        Medjool          Avenue         Palm                          Reaffirmation         Agreement.
        property                  Desert,           CA 92214
                                                                                                       ffl Retain the property and [explainl:
        securing      debt:                                                                             continue          making        regular         payments




        Creditor's          Sun     City      Palm          Desert     Community                       [1] Surrender the property.                                                            €        No
        name:              Asc.                                                                        € Retain the property and redeem it.
                                                                                                                                                                                              NyB5
                                                                                                       € Retain the property and enter into a
        Description        of     [Notice           Only]     37300       Medjool                            Reaffirmation         Agreement.
        property                  Avenue            Palm       Desert,      CA 92211
                                                                                                       N Retain the property and [explainl:
Official        Form 108                                                    Statement         of Intention     for   Individuals       Filing      Under      Chapter      7                                                          page 1

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 Debtor 1        Robert        Nathan        Reicher
 De5(Or 2        Suzanne           P Carter-Reicher                                                                        CaSe number lrfknown}


    securing debt:                                                                       continue     making     regular     payments


gList                 Your Unexpired            Personal     Property        Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 4 06G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 u.s.c. § 365(p%2).

 Describe      your unexpired            personal      property     leases                                                                         Will the lease be assumed?

 Lessor's name:                                                                                                                                    0    No
 Description of leased
 Property:
                                                                                                                                                   €    Yes

 Lessor's name:                                                                                                                                    €    NO
 Description of leased
 Property:                                                                                                                                         []   Yes

 Lessor's name:                                                                                                                                    €    No
 Description of leased
 Property:                                                                                                                                         0    Yes

 Lessor's name:                                                                                                                                    €    NO
 Description of leased
 Property:                                                                                                                                         []   Yes

 Lessor's name:                                                                                                                                    CI No
 Description of leased
 Property:                                                                                                                                         []   Yes

 Lessor's name:                                                                                                                                    []   No
 Description of leased
 Property:                                                                                                                                         €    Yes

 Lessor's name:                                                                                                                                    [1   No
 Description of leased
 Property:                                                                                                                                         €    Yes




Official Form 108                                                 Statement     of Intention   for Individuals   Filing Under Chapter     7                                      page 2

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 Debtor 1          Robert    Nathan        Reicher
 De5tOr      2     Suzanne         P Carter-Reicher                                                              Cafe    number     (fknown}




§Siqn                  Below


under penaltyoJ                j     , I declarethat I haveindicatedmy intention aboutany propertyof my estatethat securesa debt and any personal



           Robert Nathan Reicher                                                                Suzad        P Carter-Reicher
           Signature   of Debtor 1                                                              Signature   or Debtor    2


           Date                    SEP 2 9 202j                                            Date                    SEP2 9 2021




Official     Form 1 08                                   Statement    of Intention   for Individuals    Filing   Under    Chapter     7                      page 3

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                                          allffi
Ql
                       @-II@              mllhfj   i@l_                         I
                                          W


lDe5tOr
     1-                        Robert Nathan Reicher                                                             I
lDebOr2 Suzanne P Carter-Reicher                                                                                 I         @1. There is no presumption         of abuse


I(Uspnoit'e"da'
    S'fta"tge's
         Bankruptcy
                  Courtfor the: CentralDistrictof California                                                     I         € 2. The calculation to determine if a presumption  of abuse
                                                                                                                                    applies will be made under Chapter 7 Means Test
  Case number                                                                                                                       Calculation (Official Form 122A-2).

                                                                                                                           € 3. The Means Test does not apply now because of
 "k'o""                                                                                                          I                  qualified military service but it could apply later.

                                                                                                                           [] Check         if this is an amended   filing
 Official              Form         1 22A          - 1
 Chapter                   7 Statement                    of Your                   Current         Monthly           Income                                                                     04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption ofAbuse Under § 707(b)(2) (Official Form 122A-lSupp) with this form.

a                      Calculate
                              YourCurrent
                                       Monthly
                                            Income
     1.    What is your marital and filing status?                  Check one only.
           € Not married.           Fill out Column A,lines        2-11.

           H Married and your spouse is filing with you. Fill out both Columns A and B,lines 2-11.
           CI Married and your spouse is NOT filing with you. You and your spouse are:
             € Living in the same household and are not legally separated. Fill out both Columns A and B.lines 2-11.
              CI Living separatelyor are legallyseparated.Fill outColumn A, lines 2-11 ; do not fill out Column B. By checking this box, you declare under
                 penaltyof perjurythatyouandyourspouseare legally separated under nonbankruptcy law that applies or that you and your spouse are
                   living apart for reasons that do not include evading the Means Test requirements.                            11 u.s.c    § 707(b)(7)(B).
      Fillin theaverage
                      monthlyincome that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 LI.S.C. §
      101(1 04). For example,if you are flling on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
      the 6 months, add the income for all6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
      spouses  ownthesamerentalproperty,       put the income from that proper§ in one column only. If you have nothing to report for any line, write $O in the space.
                                                                                                                            Column A                     Column B
                                                                                                                            Debtor 1                     Debtor 2 or
                                                                                                                                                         non-filing spouse

     2.Your
       payrollgross wages,
               deductions). salary,
                                tips,
                                   bonuses,
                                          overtime,
                                                and
                                                  commissions
                                                          (before
                                                               all$                                                                            o.oo      $             o.oo

     3.AColimlumonnyBallnsdfllmledainlnt.enance
                                payments.
                                       Do notinclude
                                                payments
                                                     from
                                                        aspouse
                                                             if $                                                                              o.oo      $             o.oo
     4.    All amounts from any source which are regularly paid for household expenses
           of you or your dependents,   including child support. Include regular contributions
           from an unmarried partner, members of your household, your dependents, parents,

           and
             roommates.
                  Include
                      regular
                          contributions
                                 from
                                    aspouse
                                        only
                                          ifColumn
                                                Bisnot$
           filled in. Do not include payments you listed on line 3.                                                                            o.oo      $             o.oo
     5.    Net income          from operating       a business,         profession,      or farm
                                                                                                      Debtor 1
           Gross receipts (before all deductions)                                             $     O-00

           Ordinaryandnecessary
                              operatingexpenses           -$ 3
           Netmonthlyincomefroma business,profession,
                                                   or farm$ 5                                              COT)Y
                                                                                                               Here-> $                        O-00      $             O-00
     6.    Net income from rental and other real property
                                                                                                      Debtor 4
           Gross receipts (before all deductions)                                             $     O-00
           Ordinary and necessary operating expenses                                       -$       O-00
           Net monthly income from rental or other real property                           $      ___OO
                                                                                                     O     COF)Y Here-> $                      O-00      $             O-00
     7.    Interest,dividends,androyalties                                                                                  $                  0.00      $             0.00




Official Form 122A-1                                                Chapter          7 Statement    of Your Current   Monthly      Income                                                 page     1
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DebtO,             Robert Nathan Reicher
Debtor2            Suzanne         P Carter-Reicher                                                                                       Case   number     (it known}



                                                                                                                                        Column       A                       Column   B
                                                                                                                                        Debtor      1                        Debtor 2 or
                                                                                                                                                                             non-filing spouse

  8.       Unemployment             compensation                                                                                                     1,950.00                $               0.00
         Do not enter the amount if you contend that the amount                               received    was a benefit        under
         the Social Security Act. Instead, list it herea

              Foryou                                                                      $                    1,950.00
              For your spouse                                                                                           0.00

  9        Pension    or retirement income.   Do not include any amount received that was a
           benefit under the Social Security Act. Also, except as stated in the next sentence,                                    do
           not include any compensation,    pension, pay, annuity, or allowance  paid by the
           United States Government     in connection  with a disability, combat-related  injury or
           disability, or death of a member of the uniformed    services. If you received any retired
           pay paid under chapter 61 of title 10, then include that pay only to the extent that it
           does not exceed the amount                   of retired pay to which you would otherwise be entitled
           iT retired under any provision               of title 10 other than chapter 61 of that title.                                                       0.00          $               0.00

  10 . Income   from all other sources   not listed above.   Specify the source and amount.
       Do not include any benefits received under the Social Security Act, payments made
       under the Federal law relating to the national emergency    declared by the President
           under the National Emergencies     Ad (50 u.s.c. 1601 et seq.) with respect to the
           coronavirus  disease 2019 (COVID-1 9); payments       received as a victim of a war
           crime, a crime against humanity,   or international  or domesticterrorism:      or
           compensation     pension, pay, annuity, or allowance    paid by the United States
           Government    in connection with a disability, combat-related    injury or disability, or
           death of a member ofthe uniformed      services. If nezssary,     list other sources on a
           separate page and put the total below..
                                                                                                                                                               0.00          $               0.00

                                                                                                                                                               0.00          $               0.00

                        Total amounts         from separate        pages,     if any.                                                                          0.00          $               0.00

  11. Calculate your total current monthly   income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.



                                                                                                                                                                                               income


                     Detemiine        Whether          the Means      Test Applies         to You


  12. Cak.ulate             your   current     monthly       income       for the year.       Follow these     steps:

           12a.    Copy your total current             monthly    income     from line 11                                                         Copy        line 11 here=>



                   Multiply    by 12 (the number           of months       in a year)                                                                                                            x        12

           1 2b. The result        is your annual        income    for this part of the form


  13. Calculate             the median        family     income    that    applies      to you.     Follow   these   steps:

           Fill in the state in which         you live.


           Fill in the number        of people         in your household.
                                                                                              ffl
                                                                                                                                                                                      13,5
           Fill in the median        family    income      for your state and size of household.
           To find a list of applicable median income amounts,     go online                           using the link specified        in the separate           instructions
           for this form. This list may also be available at the bankruptcy                            clerk's office.

  14. How          do the lines       compare?

           14a.       ffl      Line 1 2b is less than or equal to line 13. On the top of page 1, check                            box 1, There /s no presumpffon                 d abuse.
                              Go to Part 3. Do NOT fill oui or file Official                  Form 1 22A-2.
           1 4b.      €        Line I 2b is more than line 13. On the top of page 1, check                          box 2, The presumption                of abuse /s determined          by Form 122A-2.
                              Go to Part 3 and fill out Form 122A-2.


a                    Sign
                        Below
                   Bysigning
                            .:                         reundgrpena             fperjuJhattheinformationonthis$0mentandinanyJachmentsistrueandcorrect.
                                                                                       s                        l/              .-y .t     .a                                                        /)        -


 fflcial     Form 1 22A-1             '                                   Chapter       7 Stateme:nt      of Your    Curre?it      pgrithly      Income                  -                                         pag
SoTtwateCopynght (c) 1 996-2021 Best Case, LLC - 'mm bestcase mm                                                                  t/                                                                       Best Case Bankruptcy
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 Debtor 1
                 Robert         Nathan       Reicher
 Debtor 2        Suzanne           P Carter-Reicher                                                                          Case number (i{ known}


                        Robert   Nathan    Reicher                                                              Suzanne      P Carter-Reicher
                        Signature of Debtor 1                                                                   Signature   of Debtor 2


            Da'e
              xu!!y!%ffi !"
                                                                                                       o-t=                 SEP2 g 2021
                                                                                                                MM / DD / YYYY
                 IT you checked          line 14a, do NOT fill out or file Form 122A-2.

                 If you checked          line 14b, fill out Form 122A-2        and file it with this form.




Official    Form 122A-1                                             Chapter     7 Statement     of Your      Current   Monthly   Income                        page 3
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Attorney or Party Name, Address,                       Telephone           & FAX    Nos.,       FOR COURT USE ONLY
State Bar No. & Email Address
Jenny L. Doling, Esq. 207033
36-915 Cook Street, Suite 101
Palm Desert, CA 92211
(760)884-4444   Fax: (760)341 -3022
California      State     Bar Number:          207033      CA
jd@JDL.law




 CI   Debh>r(s)         appearing       without     an attorney

 Th Attorney           for Debtor


                                                                UNITED       STATES          BANKRUPTCY                   COURT
                                                                 CENTRAL            D!STRiCT          OF CALIFORNIA


 In re:
                                                                                                CASE         NO.:
                Robert Nathan Reicher
                Suzanne  P Carter-Reicher                                                       CHAPTER:7




                                                                                                                       VERIFICATION  OF MASTER

I                                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                                         [LBR 1007-1 (a)]



I
Pursuant       to LBR 1 007-at (a), the Debtor,
                                                                           Debtor(s).

                                                                or the Debtor's         attorney       if applicable,        certifies     under      penalty       or perjury    that   the
mastermailinglist of creditorsfiled in this bankruptcycase, consistingof 7 sheet(s)is complete,correct,and
consistent      with     the Debtor's       schedules        and    I/we assume           all responsibility         for                        omissi'ons.


 Date:                       SEP 2 9 2021
                                                                                                        Signature,gf           Debtor      '1


 Date:                            SEP 2 9 2021
                                                                                                         SignatuyJ/of De6to?2 (jointde6tor)) (if ap'511(5a'ble)
 Date:
                                                                                                         Signature         of Attorney          For Debtor      (if appiicable)




                           This form is optional.   It has been approved    for use in the united   States   Bankniptcy    Court for the Central    Distrk.t of Cal[omia.

December20l5                                                                                                         F 1007-l.MAILING.LlST.VERIFICATION
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                   Robert                   Nathan                Reicher
                   37300 Med3ool                                  Avenue
                   Palm             Desert,                       CA     92211



                   Suzanne                      P Carter-Reicher
                   37300                Medjool                   Avenue
                   Palm             Desert,                       CA     92211



                   Jenny                L         Doling                  Esq
                   J          DOLING                LAW            PC
                   36-915                   Cook         Street                   Suite        101
                   Palm             Desert                    CA       92211



                   American                       Express                 Bank            FSB*
                   Attn                 Kenneth                   Chenault                CEO
                   4315             S          2700        West
                   Salt             Lake              City,              UT       84184



                   Amex
                   P      o         Box          981537
                   El         Paso                  TX        79998



                   Bank             of          America
                   Po         Box           982238
                   El         Paso,                 TX        79998



                   Bank             of          America                   N     A
                   c/o         C T             Corporation                      System
                   Agent                 for        Service                of       Process
                   818         West              Seventh                 Street               Suite   930
                   Los          Angeles                           CA     90017



                   Bank             of          America                   N     A
                   Attn                     Brian             T        Moynihan                CEO
                   150         North                College                 Street
                   NC 1-        028-17                - 06
                   Charlotte,                            NC        28255
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                   Bank          of     America,                   N.A.
                   Attn:              Brian           T.        Moynihan,               CEO
                   PO      Box        5170
                   Attn:              Unit          CA6-919-01-41
                   Simi          Valley,                   CA     93062



                   Bank          of     America,                   N.A.
                   Attn:              Brian           T.        Moynihan,               CEO
                   Legal          Order              Processing
                   PO      Box        15047
                   Wilmington,                        DE        19850-5047



                   Bank          of     America,                   N.A.        *
                   ATTN:              Brian           T.        Moynihan,               CEO
                   100        North           Tryon             Street
                   Charlotte,                       NC      28202



                   Barclays                   Bank          Delaware
                   P. o.         Box         8803
                   Wilmington,                        DE        19899



                   Barclays                   Bank          Delaware*
                   Attn:              President                   or      CEO
                   125        South           West          Street
                   Wilmington,                        DE        19801



                   Capital                Management                      Services,                 LP
                   698 1/2              South              Ogden          Street
                   Buffalo,                   NY     14206-2317



                   Capital                One
                   Po      Box        312      93
                   Salt          Lake           City,             UT      84131



                   Capital                One        Bank              (USA)       ,   N. A.    *
                   ATTN:              Richard               D.      Fairbank,                  CEO
                   4851          Cox         Road
                   Glen          Allen,               VA         23060
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                   Chase            Card           Services
                   Po      Box      15369
                   Wilmington                             DE       19850



                   Chase           Mortgage
                   700       Kansas             Lane
                   Monroe                 LA         71203



                   Citibank
                   Po      Box       6217
                   Sl oux           Fa 11s                 SD          57117



                   Citibank                    N      A        *
                   Attn              Gene            McQuade,                  CEO
                   701       East          60th            Street,               North
                   Sioux            Falls,                 SD          57104



                   Civil            Process                    Clerk
                   Office            of        the         U       S     Attorney
                   Room           7516           Federal                    Building
                   300       North             Los         Angeles               Street
                   Los        Angeles,                     CA          90012



                   Costco            Anywhere                       Visa         Card
                   Po       Box      6190
                   Sioux            Falls,                 SD          57117



                   Department                        of        Education*
                   Office            of        General                  Counsel
                   400       Maryland                     Ave           SW Room           6E353
                   Washington,                            DC       20202-2110



                   Discover                  Bank*
                   Attn            Roger              C        Hochschild                  CEO
                   502       East          Market                  Street
                   Greenwood                         DE        19950
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                   Discover                    Financial
                   Pob         15316
                   Wilmington                           DE       19850



                   ECMC
                   PO         Box     16408
                   Saint              Paul,            MN         55116-0408



                   Education                      Department
                   Office                 of     General              Counsel
                   400         Maryland                   Ave         SW Room          6E353
                   Washington                           DC        20202-2110



                   Employment                         Development                   Department*
                   Bankruptcy                      Group            MIC92E
                   P      O         Box        82 6880
                   Sacramento,                          CA        94280-0001



                   First             National                    Bank
                   P      o         Box        3412
                   Omaha,                 NE      68197



                   First             National                    Bank          of   Omaha
                   Credit                 Card        Center
                   Attn                Bankruptcy                       Dept
                   P      O         Box        3331        Stop          Code       3105
                   Omaha                  NE      68103-3331



                   First             National                    Bank          of   Omaha
                   P      O         Box        3412
                   Omaha                  NE      68197



                   First             National                    Bank          of   Omaha*
                   Attn              Clark            D         Lauritzen,                 President
                   1620             Dodge          Street
                   Omaha                  NE      68197
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                   Firstmark                  Services
                   121        South          13th          Street
                   Lincoln,                NE        68508



                   Firstmark                   Services
                   PO      Box        82522
                   Lincoln                  NE       68501-2522



                   Hunt          & Henriques
                   Attorneys                  at      Law
                   7017          Realm            Drive
                   San        Jose,            CA         95119



                   Internal                Revenue                  Service*
                   Centralized                        nsolvency                     Operation
                   PO      Box       734      6
                   Philadelphia,                           PA       19101-7346



                   JPMorgan                Chase               Bank,          N     A
                   c/o        C T Corporation                              System
                   Agent           for        Service               of       Process
                   818        West         Seventh                Street                2nd     Floor
                   Los        Angeles,                    CA      90017



                   JPMorgan                Chase               Bank,          N     A     *
                   Attn              James           Dimon                 CEO
                   1111          Polaris              Parkway
                   Columbus,                   OH         43240



                   Matthew               Jennings*
                   Treasurer-Tax                           Collector
                   4080          Lemon            Street               1st        Floor
                   PO      Box       12005
                   Riverside,                      CA       92502-2205



                   Mufg          Union             Bank         N      a
                   Po      Box        85643
                   San        Diego,               CA       92186
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                   Navient
                   Po      Box        9500
                   Wilkes                 Barre,            PA      18773



                   Resurgent                   Capital                Services
                   Attn              Bankruptcy
                   Po      Box       104       97
                   Greenville,                        SC       29603



                   Resurgent                   Capital                Services
                   C/o        Resurgent                  Capital              Services
                   Greenville,                        SC       29602



                   Reverse                 Mortgage                 Funding
                   PO      Box        40724
                   Lansing,                   MI      48901-7924



                   State             of      California*
                   Franchise                   Tax       Board
                   Bankruptcy                       Section              MS A340
                   PO      Box        2 952
                   Sacramento                         CA       95812-2952



                   Sun        City           Palm          Desert           Community    Asc
                   38180             Del       Webb         Boulevard
                   Palm          Desert                  CA       92211



                   The        Dunning                 Law        Firm
                   9619          Chesapeake                      Drive
                   San        Diego                 CA        92123



                   U      S      Trustee
                   3801          University                    Avenue
                   Riverside,                       CA        92501
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                   Union           Bank,           N.A.
                   c/o      Registered                    Agent             Solutions,            Inc
                   Agent          for         Service               of      Process
                   1220          S Street,                Suite            150
                   Sacramento,                     CA         95811



                   Union           Bank,           N. A.       *
                   Masashi               Oka,       CEO
                   400      California                     Street
                   San       Francisco,                       CA         94104



                   United             States              Dept.            of         Education
                   Litigation                    Support
                   400      Maryland                Avenue,                 SW
                   Washington,                      DC        20202



                   Wells             Fargo         Bank,             N.A.
                   c/o      CSC          -    Lawyers              Inc.          Service
                   Agent           for        Service               of      Process
                   251      Little              Falls           Drive
                   Wilmington,                      DE        19808



                   Wells             Fargo         Bank,             N.A.         *
                   Attn:           Charles               Scharf,                 CEO
                   101      North             Phillips                   Avenue
                   Sioux             Falls,              SD        57104



                   Wells             Fargo         Dealer                 Services
                   Po      Box        71092
                   Charlotte,                    NC        28272
